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 EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                              (EASTERN DIVISION - BOSTON)


 KIRA WAHLSTROM,                                      Civil Case No. 1:22‐cv‐10792‐RGS

                                     Plaintiff,       PLAINTIFF’S FIRST AMENDED
                         -against-                    COMPLAINT AGAINST
                                                      DEFENDANTS FOR VIOLATIONS
 DAVID J. HOEY, LAW OFFICES OF                        OF M.G.L. c. 93A, BREACH OF
 DAVID J. HOEY, P.C., DON C. KEENAN,                  FIDUCIARY DUTY, FRAUD,
 D.C. KEENAN & ASSOCIATES, P.C. D/B/A                 CONVERSION, DEMAND FOR
 THE KEENAN LAW FIRM, P.C., AND                       ACCOUNTING, AND MONEY HAD
 KEENAN’S KIDS FOUNDATION, INC.                       AND RECEIVED

                                                      JURY TRIAL DEMANDED
                                     Defendants       ON ALL ISSUES SO TRIABLE


                                          COMPLAINT

       Plaintiff Kira Wahlstrom alleges as follows for her claims against Defendants:

                                        INTRODUCTION

       1.      In May 2009, Ms. Wahlstrom was brutally raped inside a hotel parking garage in

downtown Boston, where the same rapist had attacked and raped another woman just 12 days

earlier in the same garage. She sued the owners and management of the garage for negligence.

For more than a decade, Defendants here represented Ms. Wahlstrom and during that

representation, went to great lengths to earn her trust. Ms. Wahlstrom, in turn, entrusted

Defendants to prosecute her claims against the responsible parties and, as particularly relevant

here, to charge her fair fees and expenses. Throughout the representation, Defendants knew that

her mental state was fragile; that she had severe difficulties trusting others, including her long-

time partner and others who had been close to her; and that she was not sophisticated in legal or

financial matters.



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       2.      Defendants tried and won her case in 2015, achieving one of the largest awards

given to a sexual assault victim in Massachusetts at the time. However, their achievement is now

sullied by Ms. Wahlstrom’s recent discovery that these same attorneys deceived and betrayed

her, taking advantage of her trust and known vulnerabilities to take from her approximately one

million dollars in unearned and improper fees and unreasonable expense charges. Their wrongful

conduct also resulted in Ms. Wahlstrom being sued by another attorney who claims these same

attorneys deceptively and improperly altered their representation agreements with Ms.

Wahlstrom for their own benefit, i.e., to increase their own fees and reduce his referral fee

percentage. Defendants’ fraudulent and unethical conduct and rejection of Ms. Wahlstrom’s

request for reimbursement of the unlawful fees taken from her recovery have compelled this suit.

Plaintiff Wahlstrom herein sues for fraud, breach of fiduciary duty, money had and received and

conversion of trust monies that belonged to her and invokes M.G.L. c. 93A because the

Defendants’ conduct was unfair and deceptive in violation of that law.

                                         THE PARTIES

       3.      Plaintiff Kira Wahlstrom is an individual domiciled in the State of California.

       4.      Defendant David J. Hoey is an individual and attorney domiciled and practicing

law in the Commonwealth of Massachusetts. At all relevant times, Hoey acted on behalf of

himself as well as on behalf of Defendant Law Offices of David J. Hoey P.C.

       5.      Defendant Law Offices of David J. Hoey P.C. is a professional corporation,

wholly owned by Defendant David Hoey, organized in Massachusetts and with its principal

place of business at 352 Park Street, Suite 105, North Reading, MA 01864.

       6.      Defendant Don C. Keenan is an individual and attorney domiciled in Florida

and/or Georgia and practicing law in the State of Georgia. At all relevant times, Keenan acted on



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behalf of himself as well as on behalf of Defendant D.C. Keenan & Associates P.C. d/b/a The

Keenan Law Firm P.C., and on behalf of Defendant Keenan’s Kids Foundation, Inc.

       7.      Defendant D.C. Keenan & Associates P.C. d/b/a The Keenan Law Firm P.C. is a

professional corporation believed to be wholly owned by Defendant Don Keenan, organized in

Florida, and with its principal place of business at 148 Nassau St. N.W., Atlanta, GA 30303.

       8.      Defendant Keenan’s Kids Foundation, Inc. is a Georgia non-profit corporation

with its principal place of business at 148 Nassau St. N.W., Atlanta, GA 30303 (the same address

as Keenan Law Firm). Defendant Don Keenan is listed with the Georgia Secretary of State

Corporations Division as the CEO, CFO, Secretary, and Registered Agent for this non-profit.

Keenan’s Kids Foundation’s stated mission is charity work, community awareness, and child

advocacy all focused on child safety and at-risk children. [www.keenanskidsfoundation.com]

                                JURISDICTION AND VENUE

       9.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1332

(diversity of citizenship) because Plaintiff Wahlstrom is domiciled in California; Defendant

Hoey is domiciled in Massachusetts; Defendant Law Offices of David J. Hoey P.C. is

incorporated and has its principal place of business in Massachusetts; Defendant Don Keenan is

domiciled in Florida and/or Georgia; Defendant D.C. Keenan & Associates P.C. d/b/a The

Keenan Law Firm P.C. is incorporated in Florida with its principal place of business in Georgia;

and Defendant Keenan’s Kids Foundation, Inc. is incorporated and has its principal place of

business in Georgia. The amount in controversy exceeds $75,000 exclusive of interest and costs.

The Court also has supplemental jurisdiction under 28 U.S.C. § 1367 over the claim against

Defendant Keenan’s Kids Foundation, Inc.




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        10.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to the claims stated herein occurred within this District

as pleaded more specifically below.

                                              FACTS
        The Underlying Premises Liability Case and Fee Agreements for that Case

        11.     On May 1, 2009, Plaintiff Kira Wahlstrom was brutally raped by Jose Rivera III

in a parking garage attached to the Radisson hotel, located in downtown Boston. Rivera had just

raped another woman twelve days earlier in the same garage before he returned to the garage and

raped Ms. Wahlstrom.

        12.     The garage was owned by JPA IV Management Company, Inc. and

managed/operated by JPA I Management Company, Inc. (collectively “JPA”). After the attack

and rape of the first victim by Rivera, JPA failed to take measures to warn and failed to put in

place increased security measures to protect other garage customers, like Ms. Wahlstrom, from

the risk of a future rape.

        13.     Ms. Wahlstrom had been working at a nearby nightclub and was returning to her

car parked in the JPA garage after finishing work in the early morning hours of May 1, 2009,

with no knowledge or warning of the recent attack. She boarded the elevator and Rivera then

entered after her. When she exited the elevator on the floor on which her car was parked, Rivera

followed and attacked Ms. Wahlstrom. He grabbed her by the hair and throat and dragged her

screaming and fighting over a hundred feet to the nearby stairwell where he beat and raped her

twice. Despite her screams, no security or garage attendants came to her aid.

        14.     Just hours after Ms. Wahlstrom was attacked and brutalized, the Boston police

finally arrested Rivera at nearby Tufts Medical Center when he came to the facility at the same

time Ms. Wahlstrom was there in the emergency room for treatment for her injuries.

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       15.     When Ms. Wahlstrom was subpoenaed to testify against Rivera before the grand

jury, she contacted one of the few attorneys she knew, her then-friend, Austin O’Toole. Because

he was not qualified to handle this complex case, O’Toole referred her to an attorney who

specialized in trying premises liability cases, Defendant David Hoey.

       16.     On or about February 2, 2010, Ms. Wahlstrom entered a Contingent Fee

Agreement with Defendant Law Offices of David J. Hoey, P.C. to pursue claims for JPA’s

negligence because of its failure to warn its customers after the first attack and rape in the garage

and for its failure to implement appropriate security measures. Ms. Wahlstrom agreed with

Defendant Hoey to a contingent fee arrangement whereby he would receive payment from fees

recovered. That 2010 Contingency Fee Agreement is attached as Exhibit A and referenced and

incorporated as stated herein.

       17.     The 2010 Contingency Fee Agreement states in its opening paragraph that Ms.

Wahlstrom:

       …retains as “Attorney” the Law Offices of David Hoey, P.C. with an address of
       352 Park St., Suite 105, North Reading, MA 01864 and Austin S. O’Toole,
       Esquire with an address of 18 Tremont Street, Suite 1010, Boston, MA 02108 to
       perform the legal services referred to in Paragraph (1) below.

Exhibit A, p. 3.

       18.     The 2010 Contingency Fee Agreement further provides:

       (1) The claim, controversy, and other matters with reference to which the services are to
       be performed are: premises liability and injuries received on or about May 1, 2009 in the
       Radisson parking garage

       (2) The fee is to be paid upon recovery.

       (3) The Client is not to be liable to pay compensation otherwise than from amounts
       collected for (him) / (her) by the Attorney except as follows: none.




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       (4) Reasonable compensation on the foregoing contingency is to be paid by the Client to
       the Attorney, but such compensation including that of any associate counsel shall be the
       following percentage of the gross amount collected for the client.

               33.3% of the gross amount recovered;

       (5) The Client is to be liable to the attorney for his reasonable expenses and
       disbursements only if there is a favorable disposition of the legal matter. In the event of a
       favorable disposition, expenses and disbursements will be deducted after the contingent
       fee is calculated. The Client acknowledges and agrees that the attorney may borrow funds
       from time to time to pay certain of the costs associated with pursuing and litigating the
       case and agree that, in addition to reimbursing the attorney for the amount of such costs,
       the client also will reimburse the attorney for any interest charges and related expenses
       the attorney incurs in connection with such borrowings.

       The client acknowledges the following with respect to (his) (her) legal representation by
       the Attorney:

       a) It is understood and agreed by the Client that the Client has been referred to and that
          any fee to be paid pursuant to a matter referred to in Paragraph (1), above, is to be
          divided in part with AUSTIN S. O'TOOLE, ESQUIRE, pursuant to the applicable
          provisions of the Code of Professional Responsibility as the same is in force in
          Massachusetts as Rule 3:08 of the Supreme Judicial Court.

       b) AUSTIN S. O'TOOLE, ESQUIRE will receive periodic reports from the Attorney
          concerning the progress and disposition of the matter referred to in Paragraph (1)
          above. However, representation of the Client is to be undertaken by the Attorney and
          not the firm of AUSTIN S. O'TOOLE, ESQUIRE, personally. All questions,
          comments, inquiries and correspondence and the like concerning the legal matter
          which is the subject of this Agreement is to be directed to the Attorney and not to
          AUSTIN S. O'TOOLE, ESQUIRE, personally.
                                              * * *

       (7) This fee agreement applies to all services rendered in pursuing the above referenced
       claim, but not to matters ancillary to the above claims, such as probate court proceedings,
       guardianships and trusts or estate services, resolutions of Medicare liens and Medicaid
       claims.

       19.     After Plaintiff Wahlstrom and David Hoey, on behalf of the Law Offices of David

Hoey, P.C. (herein, “Hoey Law”), executed the 2010 Contingency Fee Agreement, Hoey sent the

agreement to referring attorney O’Toole with a referral agreement that stated: “This will confirm

that in connection with the above referenced matter [Kira Wahlstrom v. Jose Ruben Rivera, et al]


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you will receive the following referral fee should there be a recovery in this case: 33% of my fee

from the sum recovered.” O’Toole accepted Hoey’s offer and executed the referral agreement.

Ms. Wahlstrom also signed the referral agreement indicating her consent as required by the

Massachusetts Rules of Professional Conduct. A copy of that referral agreement is annexed

hereto as Exhibit B and adopted herein by reference.

       20.     On March 12, 2010, Hoey filed suit on behalf of Ms. Wahlstrom against the

owner and operator of the hotel garage, JPA, and others, for negligence in Suffolk Superior

Court titled Wahlstrom v. JPA IV Management Company, Inc. et al. No. 1084CV01022.

       21.     Prior to trial, Defendant Don Keenan of Defendant D.C. Keenan & Associates

P.C. d/b/a The Keenan Law Firm P.C. (herein, “Keenan Law”) joined Hoey as counsel on the

case. Hoey and Keenan had worked together previously in other cases. As he was not a

Massachusetts attorney, Keenan sought pro hac vice admission to appear in the Wahlstrom case

on March 13, 2015, which was allowed.

       22.     On June 11, 2015, Hoey contacted Ms. Wahlstrom stating that he needed her to

sign a new fee agreement with Don Keenan. When Ms. Wahlstrom responded in an email asking,

“What is the new fee agreement?”, Hoey replied: “I mentioned it to you one of the last couple of

visits. It’s the same fee agreement as before but with Don’s [Keenan] name since he is also

trying the case with me on July 13th. It doesn’t change your percentage or cost you more money.

I’ll show it to you next time I see you.” Attached as Exhibit C is a copy of the email chain

between Ms. Wahlstrom and Hoey adopted and incorporated herein.

       23.     It was known to Hoey at this time that not only was Ms. Wahlstrom inexperienced

in litigation and retainer agreements but that she was dyslexic and had trouble with math. Indeed,

she said so explicitly in the same email chain where Hoey directed her to sign an agreement with



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Keenan. See, Exhibit C, Email on June 11, 2015, Ms. Wahlstrom stating “I didn’t go back to

Bridgewater because I failed math, and school was very hard for me I am dislexic.” [sic].

       24.     Moreover, through their close working relationship over the prior five years

during which Ms. Wahlstrom was coping with the trauma and difficulties in recovery from the

attack and rape, she had come to particularly rely on Hoey for support and placed substantial

trust in him in his role as her advocate and protector during this time of her vulnerability.

       25.     On or around June 16, 2015, Hoey and Keenan had Ms. Wahlstrom sign another

Contingent Fee Agreement that provides that Ms. Wahlstrom retains as “Attorney” Don C.

Keenan and The Keenan Law Firm P.C. to perform legal services for her “Premises liability

claims and injuries received as a result of assault on or about May 1, 2009 in the Radisson Hotel

Boston parking lot.” Attached as Exhibit D is a copy of the 2015 Contingent Fee Agreement

referred to and incorporated as stated herein.

       26.     The 2015 Contingent Fee Agreement (Exhibit D) provided for compensation as

follows at paragraphs 4 and 5:

               (4) Reasonable compensation (including that of any referring and/or associated
       counsel) on the foregoing continency is to be paid by the Client to the Attorney [Don C.
       Keenan and The Keenan Law Firm PC], but such compensation including that of any
       associated counsel shall be the following percentage of the gross amount collected for the
       client:

               33 and 1/3 (thirty-three and one-third percent) of gross amount recovered

              The above stated percentage shall be increased by an additional Two Percent (2%)
       of gross recovery if the matter is concluded/settled after an appellate brief is filed in an
       applicable appellate court or body by the Attorney [Don C. Keenan and The Keenan Law
       Firm PC] on behalf of the Client, and an additional 5% of gross recovery Five Percent
       (5%) of gross recovery if matter is retried/concluded/settled following an appellate
       decision.

              The percentage shall be applied to the amount of the recovery not including an
       attorney’s fees awarded by a court or included in a settlement. The lawyer’s
       compensation shall be such attorney’s fees or the amount determined by the percentage


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       calculation described above, whichever is greater. The compensation determined is
       separate and independent from costs and expenses of litigation, detailed in paragraph 5.

               Referring/Associated Counsel:

              The Client understands that a portion of the compensation payable to the Attorney
       pursuant to the paragraph above shall be paid to: the Law Offices of David J. Hoey, P.C.
       and consents to this division of fees. Client understands that the Client will not be
       charged any additional legal fees.

               (5) The Client is to be liable to the attorney for his reasonable expenses and
       disbursements if there is a favorable disposition of the legal matter. In the event of a
       favorable disposition, expenses and disbursements will be deducted after the contingent
       fee is deducted. The Client acknowledges and agrees that the attorney may borrow funds
       from time to time to pay certain costs associated with pursuing and litigating the case and
       agrees that, in addition to reimbursing the attorney for the amount of such costs, the client
       also will reimburse the attorney for any interest charges and related expenses the attorney
       incurs in connection with such borrowings.

              The Attorney agrees to advance, on behalf of Client, all reasonably necessary out-
       of-pocket costs and expenses of litigation at the discretion of the Attorney. However, this
       agreement in no way obligates the Attorney to advance/lend any funds on this case. The
       Attorney may choose to do so, and may choose to cease doing so for any reason,
       whatsoever, with notice to the Client.

       27.     The 2015 Contingency Fee did not state the fee arrangement between Keenan and

Hoey nor did Defendants otherwise disclose the arrangement to Ms. Wahlstrom. Unlike the 2010

Contingency Fee Agreement, the new agreement included an appeal contingency.

       28.     David Hoey, with his law associate Krzysztof Sobczak, and Don Keenan, with his

associate Andrew Gould, tried the case that began with jury selection on July 14, 2015 and ended

with a verdict on August 11, 2015.

       29.     Defendants obtained a jury verdict of $4 million against the garage owners and

operators JPA that, with prejudgment interest and costs, resulted in a total judgment of

$6,650,829.58 in 2015.

       Defendants’ Trial Misconduct Resulting in a New Trial Motion and Appeal both
       Substantially Delaying Payment to Plaintiff Wahlstrom



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       30.     After the verdict was rendered, JPA (the garage managers/owners) filed a motion

for new trial based on attorney misconduct by Ms. Wahlstrom’s trial attorneys. The trial judge

(Associate Justice Paul D. Wilson) agreed that two of her attorneys (Hoey and his associate)

engaged in misconduct that adversely affected JPA’s substantial rights, misconduct such as

repeatedly defying court orders and arguing after court rulings, often in the presence of the jury.

As a result, the trial court allowed JPA’s motion, vacated the verdict, and ordered a new trial.

See, Wahlstrom v. LAZ Parking Ltd., LLC, No. SUCV20101022, 2016 WL 3919503 (Mass.

Super. May 19, 2016).

       31.      Ms. Wahlstrom filed a petition for interlocutory review with a Single Justice of

the Appeals Court, who allowed an immediate interlocutory appeal. All appellate matters were

successfully handled by appellate counsel, Patricia DeJuneas, aided by Attorneys Robert J.

Cordy and Ashley P. Allen. Attorney DeJuneas and her team charged a separate fee for their

successful work on the appeal.

       32.     In an appeal in the Massachusetts appellate courts, the attorney of record in the

lower court is automatically designated as the counsel of record for the appeal. In this manner,

Hoey’s name appeared on the docket for Ms. Wahlstrom’s appeal. Hoey did not file an

appearance in the Appeals Court, his name is not on Ms. Wahlstrom’s briefs, and he did not sit at

counsel table for the appellate oral argument.

       33.     DeJuneas provided regular updates on the appeal to Hoey and Keenan. Keenan

had a financial interest in the outcome of the appeal, as did Hoey. Hoey also was concerned

about his reputation as well as the Board of Bar Overseers.

       34.     Neither Hoey nor Keenan drafted or filed the interlocutory appeal application or

the appellate briefs, nor did their names or signatures appear on any of the briefs.



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       35.     Keenan did not file an appearance in the Appeals Court nor did he seek

permission to do so via a motion for pro hac vice admission. At one point, Keenan himself stated

to attorney DeJuneas, Hoey, and others that he is not an appellate lawyer, nor does he pretend to

be.

       36.     The Appeals Court first issued the Wahlstrom I opinion, on June 10, 2019,

holding that the trial judge applied the wrong legal standard in allowing a new trial and observed

in its ruling that “the purpose of an order granting a new trial motion is not to punish attorney

misconduct” and that “egregiousness of misconduct absent an effect upon the jury is not a basis

for finding the type of miscarriage of justice that warrants nullifying the jury's verdict.”

Wahlstrom v. JPA IV Mgmt. Co., Inc., 95 Mass. App. Ct. 445, 449–50, 453, 127 N.E.3d 274,

279, 282 (2019) As of the time of this opinion, appellate counsel DeJuneas had investigated and

filed a motion to disqualify the trial judge based on public statements the judge had made about

the case and these attorneys who appeared before him at the trial. The motion was still pending

in the trial court and, consequently, the Appeals Court stayed the appeal pending a decision on

the motion for disqualification.

       37.     On August 8, 2019, the Appeals Court received report from appellate counsel that

the trial judge had recused himself from the case. The Appeals Court lifted the stay and on

November 6, 2019, issued the Wahlstrom II decision. Wahlstrom II holds that, even though Hoey

and his associate engaged in misconduct during trial, a review of the record as a whole showed

“that the cumulative effect of the attorneys' misconduct does not meet the “relatively high”

burden necessary to warrant a new trial.” See, Wahlstrom v. JPA IV Mgt. Co., Inc., 96

Mass.App.Ct. 1108, 138 N.E.3d 1045 (Mass. App. 2019)




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       38.     Thus, for over the four years that the new trial order was pending due to the

misconduct of Hoey and Hoey Law that angered the trial judge, Ms. Wahlstrom was delayed in

recovering her judgment and lost use of those funds. During this time, she also suffered

emotionally with the prospect of a second trial and the accompanying time and costs that would

be involved and the prospect of publicly reliving her trauma and enduring cross-examination by

defense counsel yet again.

       Attorney’s Lien Dispute

       39.     During the pendency of the appeal, a dispute arose between Hoey and his

associate Krzysztof Sobczak over Sobczak’s payment for his work on the Wahlstrom case.

       40.     Sobczak first filed suit against Hoey and Hoey Law in Middlesex County

Superior Court. Then, on June 13, 2019, Sobczak filed a notice of lien for attorney’s fees

pursuant to Mass. G. L. ch. 221, § 50 in Ms. Wahlstrom’s premises liability case.

       41.     Sobczak had no fee agreement with Ms. Wahlstrom but pursued this lien because

of his dispute with Hoey over payment he claimed was owed to him by Hoey for his work on the

Wahlstrom trial. The dispute arose over promises that Sobczak was made by Hoey over the

former’s compensation that had nothing to do with Plaintiff Wahlstrom and were unknown to

her.

       42.     On or around June 18, 2019, Hoey – not Ms. Wahlstrom – engaged attorney Amy

Goganian of Goganian & Associates PC. The engagement agreement identifies only David Hoey

and Hoey Law as the “Client” for representation in responding to the attorney’s lien filed by

Sobczak, that Goganian was to be paid an hourly rate for her representation, and that monthly

invoices would be issued to Hoey Law. Kira Wahlstrom is not mentioned in the engagement




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agreement other than in reference to the title of the underlying case. A copy of this engagement

agreement is annexed as Exhibit E hereto and adopted herein by reference.

       43.     Amy Goganian of Goganian & Associates PC never sought or obtained a

representation agreement with Ms. Wahlstrom, nor did Ms. Wahlstrom authorize Amy Goganian

to file an appearance on her behalf. Ms. Wahlstrom did not even meet or speak to attorney

Goganian who handled these matters until over a year later in or around October 2020.

       44.     Ultimately the lien filed by Sobczak was dismissed, but not before unnecessary,

hostile and extended motion practice involving impoundment, sanctions, and reconsideration

motions and the resulting legal fees generated thereby.

       45.     It was Hoey and Hoey Law, not Ms. Wahlstrom, who directed and controlled all

litigation related to the attorney lien, including the filing of an unsuccessful motion for sanctions

and an unsuccessful motion for reconsideration of sanctions against Sobczak.

       Improper Fees Charged to Ms. Wahlstrom and Taken by Defendants from Monies
       Held in Trust for Her

       46.     After the Appeals Court decision was issued reversing the order granting a new

trial in the underlying Wahlstrom case, the insurance companies for JPA ultimately did not

pursue a further appeal.

       47.     On November 18, 2019, One Beacon (the primary insurer for JPA) wired

$1,670,336.42 to Don Keenan’s account. On November 19, 2019, Zurich American Insurance

Company (the excess insurer) wired $8,317,347.38 to Keenan’s account. Judgment was thereby

paid in full with interest totaling $9,987.683.80.

       48.     Prior to receipt of these funds, Hoey represented to the excess insurer that

Defendants assumed responsibility for the Sobczak attorney’s lien that had been filed.




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       49.      On or around December 17, 2019, Hoey arranged a wire of $4,850,000.00 from

Keenan’s account to Ms. Wahlstrom from the above-referenced judgment funds received, a sum

that was less than half of the recovery. In his email of December 17, 2019, to Ms. Wahlstrom’s

financial representative, an email on which Ms. Wahlstrom was copied, Hoey stated: “I just

authorized a wire in the amount of $4.85 million. (More to come later).” But no additional funds

were sent to Ms. Wahlstrom despite Hoey’s promise to her that they would be sent.

       50.      Thereafter, from the remaining funds sent by the insurance companies, Hoey and

Keenan, rather than the 33.33% agreed to in the fee agreement as their fee, as clearly provided

for in Exhibit D, improperly charged the following fees and improper expenses to Ms.

Wahlstrom and they took these amounts from her money that they were holding in trust from the

payments of the judgment made by the insurance carriers:

       (a) Defendants improperly took $4,025,036.50 of the $9,987.683.80 recovery as an

             attorney fee, or 40.33 % of the total recovery when they were only entitled to 33.33%

             (or $3,329,227.93), adding an additional $695,808.57 or 7% to their fee for the

             successful appeal. Defendants were not entitled to any additional fee much less to the

             $695,808.57 that they took. Neither Hoey or Keenan participated at all on the appeal

             and neither Hoey nor Keenan filed the appellate brief; neither handled any aspect of

             the appeal at all, as detailed above in paragraphs 31 to 36 of this Complaint.

             Moreover, the appeal was only required because of the trial judge’s problems with the

             conduct of their trial team (Hoey and Hoey Law) and while Ms. Wahlstrom’s

             appellate lawyers persuaded the Appeals Court to reverse the order for a new trial, it

             was unreasonable for Defendants to claim an additional recovery for the appeal in this

             circumstance where they caused it and where no agreement had been made with



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           Plaintiff Wahlstrom to pay this additional fee. Thus, Defendants improperly

           overcharged Ms. Wahlstrom $695,808.57 for their fee.

       (b) Hoey and Keenan also charged Ms. Wahlstrom the fees for appellate counsel, Patricia

           DeJuneas ($197,091.52) and Robert Cordy ($16,000), for a total of $213,091.52, in

           effect charging her twice for appellate work. The fee of DeJuneas and Cordy was

           earned and paid under their engagement agreement with Ms. Wahlstrom while Hoey

           and Keenan improperly charged an additional 7% of the recovery for appellate work

           when they had done no such work.

       (c) Defendants improperly charged to Ms. Wahlstrom $20,824.00 for attorney Richard

           Goran to appear on October 20, 2015 for Keenan’s non-party foundation, Defendant

           Keenan’s Kids Foundation, Inc. Attorney Goran’s participation in the case was

           strictly limited to defending Keenan’s Kids Foundation, Inc. and Keenan’s copyright

           for his litigation strategy manual. 1 Ms. Wahlstrom was not involved whatsoever in

           this matter, nor did she have an interest in Keenan’s ability to protect his intellectual



1
       As described in Justice Wilson’s order granting a new trial, the JPA defendants
complained “that Plaintiff's counsel followed the “Reptile” playbook at trial. As defense counsel
informed me in a pretrial Bench Memorandum, Plaintiff's counsel Mr. Keenan travels the
country teaching seminars to plaintiffs' personal injury lawyers based on his book entitled
“Reptile, The 2009 Manual of the Plaintiff's Revolution.”” Wahlstrom v. LAZ Parking Ltd., LLC,
No. SUCV20101022, 2016 WL 3919503, at *4 (Mass. Super. May 19, 2016). The JPA
defendants attached a copy of the entire book to their new trial motion which attorney Goran, for
Defendant Keenan’s Kids Foundation, sought to impound or expunge.

        Justice Wilson denied the Foundation’s motion finding that “the Reptile Manuel is
available for purchase at Amazon with only a standard copyright notice and a boilerplate
probilution [sic] in the book itself or unauthorized reproduction. In light of the easy availability
of the books at issue I conclude that the moving non-party has not adequately protected these
publications from purchase by anyone willing to pay the price change of the moving non-party or
by Amazon. Therefore I cannot make the "good cause" finding required for impoundment.” [sic]
Endorsement on Motion, 11/16/2015 in Wahlstrom v. LAZ Parking Ltd., LLC, No.
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   property. This motion benefited only Defendants Keenan and Keenan’s Kids

   Foundation and not Ms. Wahlstrom. Attorney Goran never conferred with Ms.

   Wahlstrom about the taking of this fee nor did he have a fee agreement with her. Yet,

   Defendant Keenan’s Kids Foundation had their attorney’s legal fees paid by Ms.

   Wahlstrom.

(d) Defendants improperly charged to Ms. Wahlstrom $8,432.39 for fees for Hoey’s

   long-time personal attorney, James Bolan, in connection with defending Hoey against

   the Sobczak attorney lien caused by Hoey’s dispute with Sobczak over payment for

   Sobczak’s work as described above. Bolan never conferred with Ms. Wahlstrom

   much less obtained her agreement for this charge nor was he retained by her.

(e) Defendants improperly charged to Ms. Wahlstrom at least $41,231.72 for attorney

   Amy Goganian’s fees to defend against the Sobczak lien where the fee agreement

   was between Goganian and Hoey / Hoey Law as the client obligated to pay

   Goganian’s fees. It now appears, from Hoey’s own more recent expense itemization

   summaries, that he took additional money from Ms. Wahlstrom, without her

   knowledge, to pay attorney Goganian another $31,490.10 for his dispute with

   Sobczak thereby defrauding her of that additional money.

(f) Defendants also improperly charged to Ms. Wahlstrom $2,655.00 for “constitutional

   law attorney” John Vail, even though her case did not involve any constitutional

   issues. Defendant Hoey now falsely claims Vail provided necessary consultation on

   the appeal while Keenan falsely claims that Ms. Wahlstrom approved and agreed to

   engage Vail to research and review the jury charge and other matters in the case when




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             Wahlstrom did not. Vail never conferred with Ms. Wahlstrom, nor did he seek or

             obtain a representation agreement with her.

       (g) Defendants also improperly charged to Ms. Wahlstrom $1,316.00 for attorney

             Catherine Giordano for “research and writing” when this should have been paid out

             of the agreed upon attorney fee. Defendants have falsely claimed that Ms. Wahlstrom

             approved and agreed to engage Giordano to research and review the jury charge and

             other matters in the case when she did not. Giordano never conferred with Ms.

             Wahlstrom.

       (h) Defendants also improperly charged to Ms. Wahlstrom $561.24 for the firm Lewis

             Brisbois Bisgaard & Smith LLP, a firm understood to be involved with the Sobczak

             lien dispute and other matters concerning Hoey and Hoey Law. These attorneys never

             conferred with Ms. Wahlstrom and never sought or obtained a representation

             agreement with her.

       Improper Expenses Charged to Ms. Wahlstrom and Taken by Defendants from the
       Monies Held in Trust for Her
       51.      The unjustified expenses improperly charged to Ms. Wahlstrom included a loan

from Advocate Capital to fund case costs during litigation. While Ms. Wahlstrom knew and

approved a loan to cover litigation expenses, Hoey did not tell her that the company charges

exorbitant fees and finance charges: on a principal loan of $415,761.58, Advocate Capital

charged fees totaling $238,839.29, over 50% of the principal. Additionally, Defendants’ expense

accounting does not show what the $415,761.58 covered during the litigation. The use of this

money should be subject to the accounting prayed for herein because Ms. Wahlstrom was

required to directly and separately pay all expenses, such as approved experts. Thus the need for

this large loan is suspect because Hoey informed Ms. Wahlstrom that Advocate Capital was “the


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lender for the majority, but not all, of the litigation expenses” and then he separately billed to

Ms. Wahlstrom over $800,000 more for expenses, including his internal firm costs such as office

supplies ($1,992.87), copying ($9,964.60) and postage ($3,030.36) as well as billed Ms.

Wahlstrom for media interview assistance and plaques commemorating the trial victory neither

of which she received. None of these expenses were authorized or proper.

       52.     Defendants also improperly charged Ms. Wahlstrom $51,000 to pay Win

Interactive, a litigation support firm, to develop an animation video of the attack in the garage

that Defendants planned to offer into evidence at the premises liability trial which was deemed

inadmissible. Defendants have claimed that this was an effort to prevent Ms. Wahlstrom from

having to testify about the attack at trial. Yet, admissibility of this video was clearly impossible

as a matter of evidence law, as well as completely detrimental to Plaintiff’s case were she not to

be seen by the jury describing the horrible events and details of the assault, and it is doubtful that

Defendants truly believed they could win this case without Ms. Wahlstrom testifying about the

attack and her damages. Ms. Wahlstrom was always prepared and ready to testify as she

understood she would need to do so if the case went to trial. Further, this significant expense was

undertaken for a demonstrative exhibit that had no chance to be admitted and was incurred

before establishing its admissibility.

       53.     Ms. Wahlstrom made demand for a full accounting and documentation of the

above expenses and other expenses and about the disposition of all the monies held in trust for

her by Defendants and Defendants have not yet provided a complete accounting or all backup

documentation. Ms. Wahlstrom will seek reimbursement for any additional improperly charged

expenses uncovered by such accounting when it is provided by Defendants.




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       54.     On March 27, 2020, months after receipt of payment of the judgment (in

November 2019), and after the transfer of funds to Ms. Wahlstrom (in December 2019) based on

Defendants’ assessment of fees and expenses, Hoey provided and had Ms. Wahlstrom sign an

itemization of the above fees and expenses. He then sent another copy of the spreadsheet

itemization via email, on March 29, 2020, with additional explanations for some of the charges,

stating he was seeking her approval of the expenses, and yet Hoey and Keenan were disbursing

funds from the recovery monies held in trust prior to that time in violation of the trust accounting

rules of the Commonwealth of Massachusetts applicable to attorney trust accounts. And neither

version of the Defendants’ itemization sheet stated that the “attorney fee” total calculated

included an extra 7% for the appeal paid to Keenan and Hoey.

       55.     While Ms. Wahlstrom signed off on the expenses and distributions in March

2020, she did so trusting her attorneys Hoey and Keenan (in whom she had long placed her trust

and confidence) that these were all reasonable and appropriate charges under their fee

agreements, discovering and understanding only later that certain fees and expenses charged

were improper because the fees were contrary to the limitations in the fee agreement and the

expenses were unreasonable.

       The O’Toole Lawsuit

       56.     As cited above, when Hoey was first retained by Ms. Wahlstrom in 2010, he

entered a referral agreement with attorney O’Toole (Exhibit B) under which O’Toole would

receive 33% of the fee recovered by Hoey.

       57.     On or around May 20, 2020, Hoey sent O’Toole a check for $250,000 as

O’Toole’s referral fee.




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           58.    On March 30, 2021, Attorney O’Toole filed suit against Hoey, Hoey Law and

against Ms. Wahlstrom claiming that they all failed to pay O’Toole his proper referral fee. Under

the original 2010 Contingency Fee Agreement where Hoey was to receive the 33.3% of any

recovery, O’Toole would have received a payment of over $1,000,000 from Hoey rather than

receiving $250,000. That case, entitled O’Toole v. Hoey, et al., Civil Action No. 2021-0741, is

pending in the Superior Court of Suffolk County.

           59.    O’Toole amended his complaint on February 23, 2022, keeping Ms. Wahlstrom

and Hoey as defendants while also adding Don Keenan and Keenan Law as defendants, alleging

in part:

           The Keenan/Hoey/ Wahlstrom fee agreement (Ex. B) [the 2015 Contingency Fee
           Agreement] was, according to one percipient witness, created while Keenan was
           on one of his periodic visits to Massachusetts, and Keenan’s and Hoey’s
           expressed purpose in creating it was to significantly reduce Mr. O’Toole’s fee by
           rearranging the waterfall of any fee distribution. Indeed, there was and is no other
           conceivable purpose for rearranging the funds flows so that Keenan was the lead
           attorney and doing so less than month before trial, when Keenan had already
           agreed to represent Ms. Wahlstrom and had already appeared for her months
           previously. By way of illustration and not limitation, under the original fee
           agreement (Ex. A), a $4,000,000 fee paid to Hoey would go 33.3% to O’Toole,
           resulting in a $1,332,000 fee to him. By contrast, under the ‘superseding’ fee
           agreement (Ex. B), a $4,000,000 fee paid to Keenan, 50% of which was then paid
           to Hoey, would result in a fee of only $660,000 to O’Toole (assuming, contrary to
           law and fact, that Keenan’s and Hoey’s unlawful scheme were given effect).

           60.    The “percipient witness” is Hoey’s former associate and key member of the

Wahlstrom v. JPA trial team, Krzysztof Sobczak. He provided a sworn affidavit dated February

6, 2022 that stated, to his knowledge, there was no discussion of any other purpose of the Keenan

2015 Contingency Fee Agreement other than reducing the referral fee recovery of O’Toole and

that at the time the new agreement was presented to Ms. Wahlstrom to sign, there was no

explanation of why and how it would affect how any of the attorneys would be paid. Sobczak

also states to his knowledge that Ms. Wahlstrom was not aware of the arrangement between


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Hoey and Keenan as it would not affect the total attorneys’ fees she was obligated to pay under

the terms of the new fee agreement she executed (attached as Exhibit F).

       61.      Ms. Wahlstrom did not know the specific fee arrangement between Hoey and

Keenan nor was she aware of or involved in any plan to reduce O’Toole’s referral fee from that

promised him.

       62.      As stated above, Hoey and Keenan collectively paid themselves more than 40%

of Ms. Wahlstrom’s judgment. Although Hoey initiated Ms. Wahlstrom’s premises liability case

and acted as lead counsel over five years of contentious litigation through trial, Hoey claims that

his fee totaled only $750,000. He has explained that his fee was derived not from the actual

recovery amount but from 33% of the last settlement offer ($2,250,000) made by the JPA

defendants prior to the verdict in the premises liability case.

       63.      In the O’Toole case, Ms. Wahlstrom was at first represented by attorney Amy

Goganian, the same attorney that had represented Hoey in litigating the Sobczak attorney lien.

       64.      Hoey paid the first three Goganian invoices for her time billed in the O’Toole

case from March 2021 through May 31, 2021 (totaling over $21,000) though it is uncertain the

source of funds used for these payments and this is a matter to be determined by the accounting

Wahlstrom has sought by this Complaint.

       65.      On August 30, 2021, attorney Goganian, on behalf of Ms. Wahlstrom, made a

written request that Hoey and Hoey Law pay all legal fees and expenses associated with Ms.

Wahlstrom’s defense in the O’Toole case stating “regardless of the merits of Attorney O’Toole’s

allegations … I think we can all agree that Ms. Wahlstrom should never had been put in a

position that exposed her to any claim for fees above and beyond what she has paid to date.”

Attorney Bolan initially responded to attorney Goganian that it was his understanding that Hoey



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had been reimbursing Ms. Wahlstrom for attorney fees in the O’Toole case but Ms. Wahlstrom

was neither reimbursed nor were any further invoices of Goganian paid by Hoey.

       66.     On February 16, 2022, counsel for Hoey and Hoey Law, Christine Knipper,

appeared in Suffolk Superior Court on the O’Toole case and stated: “we do agree on behalf of

my clients that Kira Wahlstrom does not belong in the case.”

       67.     Hoey and Hoey Law have not paid these fees and the Goganian bills, since

accumulated, remain outstanding. Goganian has now made demand on Ms. Wahlstrom to pay

the outstanding bills totaling over $40,000 with interest of 18% per annum.

       68.     On July 14, 2022, the Honorable Justice Peter B. Krupp of the Superior Court

granted Ms. Wahlstrom’s motion to dismiss O’Toole’s complaint while denying Keenan’s

motion to dismiss O’Toole’s claims against him and his firm. Judge Krupp’s opinion denying

Keenan’s motion to dismiss included, inter alia, the following related to O’Toole’s interference

with contractual relations claim against Keenan:

       Based on information from a "percipient witness," plaintiffs have specifically pled
       that the express intent of the 2015 Contingent Fee Agreement was to deprive
       O'Toole of his referral fee. In addition, plaintiffs have alleged improper means,
       namely the "sham" arrangement of work between Hoey and Keenan – Hoey's
       large investment of time and money in the case, while letting Keenan take the
       lion's share of the fee – all for the purpose of minimizing the fee to be paid to
       O'Toole. Such a sham transaction may rise to the level of mail or wire fraud and
       clearly amounts to actionable conduct. At this pleadings stage, plaintiffs'
       allegations demonstrate a plausible basis to believe plaintiffs will be able to show
       improper motive and means. Plaintiffs have alleged facts, not merely labels and
       conclusions.

Order, July 14, 2022, O’Toole v. Hoey, et al., Civil No. 2021-0741, Suffolk Superior Court.

       Defendants’ Willful and Knowing Misconduct

       69.     Defendants observed first-hand Ms. Wahlstrom’s vulnerability and the distress,

anxiety, and turmoil she endured throughout litigation in the underlying case because of the



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conduct, and often times, to use Hoey’s word, “heartless” antics of insurance carriers and their

defense counsel.2

       70.     However, Defendants’ conduct has unnecessarily and unreasonably further

prolonged Ms. Wahlstrom’s severe emotional distress and mired her in additional litigation

through no fault of her own. She has now realized that the very attorneys in whom she placed her

trust and confidence for the last twelve years, the attorneys on whom she relied on to protect her

and pursue just compensation for the trauma she has suffered (and continues to suffer) also took

advantage of and betrayed her.

       71.     This is not a situation of mere negligence or accounting errors. Defendants

knowingly and willfully deceived Ms. Wahlstrom into paying excessive attorneys’ fees and costs

doing so without her prior knowledge and invoking her trust that these charges were proper when

they were clearly not under the contracts these attorneys signed, their representations to Ms.

Wahlstrom, and the ethics rules. Defendants knew that not only did Ms. Wahlstrom totally trust

them, but that she was not at all knowledgeable about litigation and challenged by dyslexia and

difficulty with math, as Hoey well knew because she explained these conditions to him.

       72.     Upon receiving the judgment, and having control over the funds, Defendants kept

more than the 33.33% owed for their fee, literally stealing this extra money amounting to

$695,808.57, and thereafter using Ms. Wahlstrom’s funds to pay attorneys that represented the

interests of Hoey and Keenan rather than Ms. Wahlstrom among the other improper fees and

expenses itemized above.




2
       Ms. Wahlstrom has claims for bad faith settlement practices pending against the
insurance carriers of the JPA defendants based on their conduct during the underlying litigation.
(Wahlstrom v. Zurich, et al. Case No. 1:19-cv-12208-LTS (D. Mass) and Wahlstrom v. Zurich, et
al. Case No. 1:22-cv-10037-LTS (D. Mass))
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       73.     Defendants drafted and directed Ms. Wahlstrom to sign the 2015 Contingency Fee

Agreement with Hoey specifically representing to Ms. Wahlstrom that the agreement was the

same as the 2010 agreement but with Keenan’s name on it and that it did not change the

percentage she owed and would not cost her more money. The original 2010 Contingency Fee

Agreement provided for an attorney’s fee of 33.3% of the recovery and yet under the 2015

Contingency Fee Agreements, Defendants kept 40.33%, charging for an appeal they did

prosecute as required by the terms of the agreement for them to be entitled to this extra money.

       74.     Wahlstrom relied on her attorneys and trusted their advice and representations in

signing the fee agreement and paying the fees and expenses they itemized. As a result,

Defendants have taken funds from Ms. Wahlstrom to which they were not entitled, and their

conduct also resulted in her being named a defendant in the O’Toole case in relation to which

she has been charged more legal fees.

                                     CAUSES OF ACTION

                                            COUNT I

                  VIOLATIONS OF M.G.L. CHAPTER 93A, SECTION 9

                   (Defendants Hoey, Hoey Law, Keenan and Keenan Law)

       75.     Ms. Wahlstrom realleges each and every allegation stated in each of the

paragraphs above as if separately repleaded in full herein.

       76.     Defendants Hoey, Hoey Law, Keenan, and Keenan Law, acting together in a

coordinated effort, engaged in unfair and deceptive acts, unlawful under Section 2 of Chapter

93A, Massachusetts General Laws, through overcharging and deceiving Ms. Wahlstrom into

paying improper, unearned and excessive fees and unreasonable expenses for their representation

of her in the underlying case before the Superior Court of Suffolk County.



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       77.      Defendants took advantage of Ms. Wahlstrom’s trust in them, as her attorneys, to

deceive her into overpaying them and paying other fees and expenses she was not obligated to

pay.

       78.      As described in detail above:

       a. After Ms. Wahlstrom had agreed to and executed the 2010 Contingency Fee

             Agreement with Hoey to initiate and pursue her premises liability case, Defendants

             advised and instructed Ms. Wahlstrom to sign a second 2015 Contingency Fee

             Agreement with Keenan, which Hoey specifically represented would not change the

             percentage Ms. Wahlstrom would owe for attorney’s fees and would not cost her

             more money but was just to put Keenan’s name on the agreement since he would be

             trying the case with Hoey.

       b. Defendants then took an extra 7% for their fee under the 2015 Contingency Fee

             Agreement that was unearned as they did not prosecute the appeal for which they

             claimed this fee and the appeal itself was required because of the trial judge’s

             problems with Defendants’ trial team conduct during trial – e.g., raising subjects in

             opening statements in direct violation of a pretrial order and asking improper

             questions of witnesses including questions that violated court rulings.

       c. Defendants charged Ms. Wahlstrom for additional attorneys they engaged for their

             own purposes including charging Ms. Wahlstrom the fees for counsel that represented

             Hoey and Hoey Law on the fee dispute with Sobczak and charging Ms. Wahlstrom

             for counsel that appeared for Keenan’s non-profit foundation, Defendant Keenan’s

             Kids Foundation, to seek protection of intellectual property rights of Keenan.




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       d. Defendants charged Ms. Wahlstrom unreasonable expenses including but not limited

             to excessive loan finance charges, an inadmissible and unnecessary animation video,

             media consulting and a plaque both of which Ms. Wahlstrom never received.

       79.        Defendants’ deceptive and unfair billing for improper fees and expenses put their

own financial interest above their client and thereby violated their duties and professional

responsibility.

       80.        Defendants’ conduct by which they took unearned and improper fees and

expenses from Ms. Wahlstrom directly harmed Ms. Wahlstrom in an amount to be proved at trial

of at least $900,000 of overcharged fees and expenses and loss of use of this money.

       81.        All of the above were unfair and deceptive practices in violation of M.G.L c. 93A

and Ms. Wahlstrom is entitled to damages doubled or trebled under the statute because of the

extent of the violations and because Defendants violated their fiduciary duty to their client and

did so knowingly and willfully.

       82.        Ms. Wahlstrom served Defendants each with a demand letter pursuant to M.G.L.

c. 93A over thirty days before filing this suit and Defendants have refused to return these monies

taken through unfair and deceptive practices.

                                             COUNT II

                                BREACH OF FIDUCIARY DUTY

                     (Defendants Hoey, Hoey Law, Keenan and Keenan Law)

       83.        Ms. Wahlstrom realleges each and every allegation stated in each of the

paragraphs above as if separately repleaded in full herein.

       84.        As her attorneys, Defendants Hoey, Hoey Law, Keenan, and Keenan Law had a

fiduciary duty to Ms. Wahlstrom including a duty of loyalty and a duty of fidelity.



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       85.     Defendants breached their duty to Ms. Wahlstrom by putting their own financial

interests ahead of hers and using her trust in them to deceive her into paying unearned fees and

fees of other attorneys for which she was not obligated to pay as well as unreasonable expenses

as detailed above, knowing that all these fees and expenses were unjustified.

       86.     Ms. Wahlstrom was damaged by the loss of at least $900,000 which was in part

taken by Defendants as a fee for appellate work that was not earned as well as to pay other

attorneys for work done on behalf of Defendants and other fees and unreasonable expenses

which Ms. Wahlstrom was not obligated to pay as specified above.

       87.     Defendants’ breach of their duty to Ms. Wahlstrom directly caused her losses by

deceitfully and wrongfully using their position as her trusted counsel to take these monies from

her and she has been damaged in the amount to be proven at trial amounting to at least

$900,000.00.

                                           COUNT III

                                             FRAUD

                   (Defendants Hoey, Hoey Law, Keenan and Keenan Law)

       88.     Ms. Wahlstrom realleges each and every allegation stated in each of the

paragraphs above as if separately repleaded in full herein.

       89.     Defendants knowingly made false representations to Ms. Wahlstrom to induce her

to pay more money as follows and as detailed above.

       90.     In an email dated June 11, 2015, Defendants Hoey and Hoey Law specifically

deceived Ms. Wahlstrom into executing a new fee agreement, the 2015 Contingency Fee

Agreement, by falsely stating that the 2015 fee agreement was “the same fee agreement as before

but with Don’s [Keenan] name since he is also trying the case with me on July 13th. It doesn’t



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change your percentage or cost you more money. I’ll show it to you next time I see you.” Hoey

induced Ms. Wahlstrom to sign the fee agreement relying on this representation.

       91.     On June 19, 2015, Ms. Wahlstrom came in person to Hoey Law offices and Hoey

had Ms. Wahlstrom sign the new 2015 Contingency Fee Agreement without any further

explanation.

       92.     Yet while the original 2010 Contingency Fee Agreement provided that the 33.3%

attorney fee paid to Hoey as compensation would include “any associated counsel” and did not

name or limit such associated counsel, the later 2015 Contingency Fee Agreement, that

Defendants had Ms. Wahlstrom sign, limited associated counsel to Hoey under that section.

Hoey did not alert or explain to Ms. Wahlstrom that this change would be used to charge her for

other attorneys associated and working with their team on the case (the same way Keenan and

Hoey associated themselves though from different firms to work on this case) though he knew he

would charge her for the services of these other attorneys and thereafter, after obtaining the

recovery from the defendant insurers in the underlying case, Defendants charged to Ms.

Wahlstrom and took payment for additional attorneys.

       93.     Additionally, while the original fee agreement reflected the same percentage –

33.33% – that would be owed for attorney’s fees if there was a recovery, the new agreement

provided that the attorney’s fee would be paid to Keenan rather than Hoey and that Hoey would

receive a portion of the compensation paid to Keenan. Hoey did not disclose to Ms. Wahlstrom

that this agreement would be used by Defendants to reduce the recovery of the referring attorney,

Austin O’Toole. Defendants’ change in the fee agreement and the reduced payment to O’Toole

resulted in O’Toole filing a lawsuit claiming his fee was wrongfully reduced and suing Ms.




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Wahlstrom as one of the defendants, requiring representation, attorneys’ fees and costs for which

Ms. Wahlstrom has been billed over $40,000.

        94.     On March 27 and March 29, 2020, Hoey and Hoey Law, with the approval and

agreement of Keenan and Keenan Law, falsely represented that Ms. Wahlstrom must pay an

extra 7% of the recovery, totaling $695,808.57, in the underlying case as attorneys’ fees under

the 2015 Contingent Fee Agreement with Keenan, in addition to paying her appellate team, by

claiming that the total attorney fee owed was $4,025,036.50, when Defendants well knew they

were not entitled to the fee and had no good faith basis to believe they were entitled to or had

earned that total fee.

        95.     On or around March 27 and 29, 2020, Hoey and Hoey Law, with the approval and

agreement of Keenan and Keenan Law, falsely represented to Ms. Wahlstrom in their itemization

presented to her in person (March 27) and then by email (March 29) that Ms. Wahlstrom must

pay fees for additional attorneys when they well knew that Ms. Wahlstrom was not obligated to

pay these attorneys because they had performed work on behalf of Hoey and on behalf of

Keenan and not Ms. Wahlstrom. Specifically, Defendants falsely represented that Ms.

Wahlstrom was obligated to pay the fees for attorney Goren (counsel for Keenan’s Kids

Foundation), attorney Bolan (counsel for Hoey), and attorney Goganian (counsel for Hoey)

which totaled over $70,000. Defendants also falsely represented that Ms. Wahlstrom was

obligated to pay the fees for attorney Vail, attorney Giordano, and the firm Lewis Brisbois

Bisgaard & Smith LLP for consulting on the Sobczak/Hoey lien dispute and for “research and

writing” which totaled over $4,500 that should have been paid out of the attorney fee.




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       96.     Ms. Wahlstrom relied to her detriment on the representations and fee itemizations

of Defendants, her attorneys, who used her trust in them against her and to their own benefit to

induce her to pay for these legal fees she should not have been made to pay.

       97.     As a result of Defendants’ fraud, Ms. Wahlstrom was damaged in an amount to be

proved at trial of at least $900,000.

                                           COUNT IV

                                         CONVERSION

   (Defendants Hoey, Hoey Law, Keenan, Keenan Law, and Keenan’s Kids Foundation)

       98.     Ms. Wahlstrom realleges each and every allegation stated in each of the

paragraphs above as if separately repleaded in full herein.

       99.     As shown above, Defendants Hoey, Hoey Law, Keenan, and Keenan Law

intentionally and wrongfully exercised ownership, control and dominion over Ms. Wahlstrom’s

funds by presenting a misleading and inaccurate itemization of fees and expenses owed for the

underlying case in order to keep unearned funds for themselves and to pay other fees and

expenses that should have been paid out of Defendants own fee recovery.

       100.    Defendant Keenan’s Kids Foundation, through Keenan, intentionally and

wrongfully exercised ownership, control and dominion over at least $20,824.00 of Ms.

Wahlstrom’s funds by taking those funds to pay the attorney’s fees billed by the Foundation’s

own attorney for work performed for the Foundation and not for Ms. Wahlstrom.

       101.    Defendants knew or lacked a good faith belief that they had earned or were

entitled to take these monies from Ms. Wahlstrom.

       102.    Using their trusted role as attorneys for Ms. Wahlstrom, Defendants converted

funds from her in an amount to be proved at trial totaling at least $900,000.



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                                            COUNT V

                                DEMAND FOR ACCOUNTING

                    (Defendants Hoey, Hoey Law, Keenan and Keenan Law)

        103.   Ms. Wahlstrom realleges each and every allegation stated in each of the

paragraphs above as if separately repleaded in full herein.

        104.   Despite demand, Defendants have failed to fully account to Plaintiff for the

disposition of all the monies they received and held in trust for her from the recovery in the of

premises liability case. The itemizations, explanations, and supporting documentation provided

as of the date hereof are incomplete and inaccurate for the reasons described above.

        105.   Ms. Wahlstrom demands and is entitled to a full accounting from Defendants

including for the Advocate Capital loan they claim was used for litigation expenses in Ms.

Wahlstrom’s case.

        106.   Defendants should have maintained and retained complete records of the receipt,

maintenance, and disposition of their client’s funds and been able to render a full written

accounting upon demand in compliance with Massachusetts Rules of Professional Conduct Rule

1.15.

        107.   Defendants have failed to do so.

                                           COUNT VI

                               MONEY HAD AND RECEIVED

                            (Defendant Keenan’s Kids Foundation)

        108.   Ms. Wahlstrom realleges each and every allegation stated in each of the

paragraphs above as if separately repleaded in full herein




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       109.    As shown above, Defendant Keenan’s Kids Foundation are in possession of funds

that belong in good conscience to Ms. Wahlstrom as the Foundation had its own attorney’s fees

paid by Ms. Wahlstrom in the amount of at least $20,824.00.

       110.    Defendant Keenan’s Kids Foundation knew that the appearance of attorney

Richard Goran in Ms. Wahlstrom’s case was strictly limited to appearing on behalf of the

Foundation to defend Keenan’s copyright for his litigation strategy manual in which Ms.

Wahlstrom had no interest and received no benefit and they knew that Ms. Wahlstrom had no

obligation to pay the Foundation’s legal fees billed by its own attorney for work performed for

the Foundation.

       111.    Defendant Keenan’s Kids Foundation was unjustly enriched at Ms. Wahlstrom’s

expense and the money taken from Ms. Wahlstrom and used to pay the Foundation’s own

attorney’s fees, which should have been paid by the Foundation, should be returned to Ms.

Wahlstrom.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Kira Wahlstrom respectfully demands relief as follows:

   1. Enter judgment in favor of Plaintiff and against Defendants on each of the counts in this
      Complaint;

   2. Award compensatory damages in favor of Plaintiff and against Defendants on Count I (93A
      violations) in at least the amount of $900,000 and for these damages to be doubled or
      trebled in this Court’s discretion;

   3. Award compensatory damages in favor of Plaintiff and against Defendants on Counts II
      (breach of fiduciary duty), III (fraud), IV (conversion), and VI (money had and received)
      in at least the amounts stated above;

   4. Order Defendants to produce a full accounting under Count V;

   5. Order that Defendants pay over to Plaintiff any monies now being held by Defendants that
      belongs to her as shown by the accounting prayed for herein;



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   6. Order disgorgement of ill-gotten profits and restitution of same;

   7. Award reasonable attorneys’ fees as permitted or authorized by law;

   8. Award costs of suit herein incurred as permitted by applicable law; and

   9. Order such other and further relief at law or in equity to which the Plaintiff may be justly
      entitled.

                                          JURY DEMAND

       Plaintiff hereby demands a trial by jury on all issues so triable pursuant to Rule 38(b) of

the Federal Rules of Civil Procedure.

Dated: August 2, 2022                          Respectfully submitted,

                                               /s/ Bridget A. Zerner
                                               Bridget A. Zerner (BBO No. 669468)
                                               /s/ John J.E. Markham, II
                                               John J.E. Markham, II (BBO No. 638579)
                                               MARKHAM READ ZERNER LLC
                                               One Commercial Wharf West
                                               Boston, Massachusetts 02110
                                               Tel: (617) 523-6329
                                               Fax:(617)742-8604
                                               bzerner@markhamreadzerner.com
                                               jmarkham@markhamreadzerner.com
                                               Attorneys for the Plaintiff


                            CERTIFICATE OF SERVICE

       I hereby certify that on August 2, 2022 this document was served by electronic delivery
through the CM/ECF system on the registered participants as identified on the Notice of
Electronic Filing, which will forward copies to Counsel of Record.

        Additionally, I provided a copy of the foregoing document to attorney John O’Connor of
Peabody Arnold LLP who has informed undersigned that he is representing Defendant Don
Keenan and Defendant Keenan Law in this matter though he has not been authorized to accept
service on behalf of Keenan and Keenan Law and has not yet filed an appearance.

                                        /s/ Bridget A. Zerner
                                        Bridget A. Zerner




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From: kira wahlstrom
Sent: Thursday, June 11, 2015 9:24 AM
                                                                          EXHIBIT C - 1
To: David Hoey
Subject: RE: Case Questions

Perfect I'll be there!!!!


Sent from my MetroPCS 4G Wireless Phone




-------- Original message --------
From: David Hoey <DHoey@hoeylaw.com>
Date:06/11/2015 12:22 PM (GMT-05:00)
To: kira wahlstrom <kirawahlstrom@live.com>
Cc:
Subject: RE: Case Questions

19th is good for signature and to visit Ann.
Meet me here at office at 9

From: kira wahlstrom [mailto:kirawahlstrom@live.com]
Sent: Thursday, June 11, 2015 12:14 PM
To: David Hoey
Subject: RE: Case Questions

Oh were not meeting at your office ok then can we do like 10 am. ?I'll meet you at your office
at 9 am. I have to be back to get scarlett for 4 pm.

I remember you said that about Don I just forgot.
I went to Dean for travel management. I didn't go back to Bridgewater because I failed math,
and school was very hard for me I am dislexic. I love to work so I chose that path .

I can come by anytime to sign when is best. Do you need me to do it before the 19th or can I
do it then?

Kira


Sent from my MetroPCS 4G Wireless Phone




-------- Original message --------
From: David Hoey <DHoey@hoeylaw.com>
Date:06/11/2015 11:15 AM (GMT-05:00)
To: kira wahlstrom <kirawahlstrom@live.com>
Cc:
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Subject: RE: Case Questions
                                                                                  EXHIBIT C - 2
I mentioned it to you one of the last couple of visits. It’s the same fee agreement as before but with
Don’s name since he is also trying the case with me on July 13th. It doesn’t change your percentage or
cost you more money. Ill show it to you next time I see you.

What science?
Why didn’t go back for second semester at Bridgewater?
9am would mean we would have to leave here at 8AM. I can do that if that is best

From: kira wahlstrom [mailto:kirawahlstrom@live.com]
Sent: Thursday, June 11, 2015 11:04 AM
To: David Hoey
Subject: RE: Case Questions

What is the new fee agreement?
I went to Nauset high school in eastham. Dean college in Franklin ma associate of science
degree. And Bridgewater state for 1 semester.

19th would be best. What time do you think I'd prefer around 9 am

Kira


Sent from my MetroPCS 4G Wireless Phone




-------- Original message --------
From: David Hoey <DHoey@hoeylaw.com>
Date:06/11/2015 10:56 AM (GMT-05:00)
To: "kira wahlstrom (kirawahlstrom@live.com)" <kirawahlstrom@live.com>
Cc:
Subject: Case Questions

     1) I need you to stop by and sign the new fee agreement with DON.
     2) What high school did you graduate from and what year? What schooling did you have after
        high school? Any degrees? What school? What year?
     3) Can you meet with Ann and me on June 19 or 22nd?

David J. Hoey, Esq.
Law Office of David J. Hoey, P.C.
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North Reading, MA 01864
p: 978-664-3633 | f: 978-664-3643
dhoey@hoeylaw.com
www.hoeylaw.com
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                                                                        EXHIBIT D - 1
         MA,SSACHUSETTS CONTINGENT FEE AGREEMENT
                               (TO BE EXECUTED IN DUPLICATE)

Date:    ~----/;5~-------=-,~,_,_/;9/~
The Client(s):

IGm Wahlstrom                                   1227 Boston Road               Haverhill, MA 01835

                 (Name)                          (Street and Number)                  (City or town)

following the Court's allowance of the Pro Hae Vice admission motion, retains as "Attorney"
DON-C.-KEENAN·:imd THE KEENAN LAW FIRM. P.C. with an address of 148 Nassau St.
NW, Atlanta GA to perfo1m the legal services referred to in Paragraph (1) below. The Attorney
agrees to pe1form them faithfully and with due diligence.

(1)      The claim, controversy, and other matters with reference to which the services are to be
         performed are:
         Premises liability claims and injuries received as a result ofassault on or about May 1,
         2009 in the Radisson Hotel Boston parking lot


        The Attorney will be providing services, including legal services and consulting, to the
        Client in connection with the Claim identified in paragraph 1 above. Because the
        e:mgagement is limited to this specific undertaking, the Attorney's acceptance of this
        engagement does not involve an undertaking to provide any services to the Client or any
        of the Client's interests in any other matter unless specifically requested by the Client and
        agreed to by the Attorney in writing. After completion of this matter, changes may occur
        in pe1tinent laws or regulations that may have an impact upon your future rights and
        liabilities. Unless the Client engages the Attorney after completion of this matter to
        provide advice on future issues arising from this matter, the Attorney will have no
        obligation to provide any advice to the Client with respect to future legal developments .

        . The Client may limit or expand the scope of this engagement from time to tinfe, p1'ovided
          that the Attorney must agree in writing to any changes in the scope of the rr;;presentation.
          Except as otherwise agreed to in writing, the terms of this Agreement apply to all changes
          in the scope of engagement and to all additional engagements for the Client which the
          Attorney may undertake.                                                    ·

(2)     The contingency upon which compensation is to be paid is: recovery of damages,
        ·whether by settlement, judgment or otherwise.

(3)     The Client is not to be liable to pay compensation otherwise than from amounts collected
        for (him)/ (her) by the Attorney except as follows: If no recovery is made, the Client
        shall not owe the Attorney any sum as attorney's fees, nor shall the Client be responsible
        to reimburse the Attorney for any costs, except as provided in Sections 6, 7 and 8.


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                                                                        EXHIBIT D - 2
 (4)    Reasonable compensation (including that of any referring and/or associated counsel) on
        the foregoing contingency is to be paid by the Client to the Attorney, but such
        compensation including that of any associated counsel shall be the following percentage
        of the gross amount collected for the client:

        33 and 1/3 % (thirty-three and one-third percent) of gross amount recovered

        The above stated percentage shall be increased by an additional Two Percent (2%) of
        gross recovery if the matter is concluded/settled after an appellate brief is filed in an
        applicable appellate court or body by the Attorney on behalf of the Client, and an
        additional Five Percent (5%) of gross recovery if matter is retried/concluded/settled
        follO\ving an appellate decision.

        The percentage shall be applied to the amount of the recovery not including any
        attorney's fees awarded by a court or included in a settlement. The lawyer's
        compensation shall be such attorney's fees or the amount determined by the percentage
        calculation described above, whichever is greater. The compensation determined is
        separate and independent from costs and expenses of litigation, detailed in paragraph 5.


        Referring/Associated Counsel:
        The Client understands that a portion of the compensation payable to the Attorney
        pursuant to the paragraph above shall be paid to: the Law Offices of David J. Hoey,..P.C..
        and consents to this division of fees. Client understands that the Client will not be
        charged any additional legal fees.

 (5)    The Client is to be liable to the attorney for his reasonable expenses and disbursements if       x_
        there is afc).vorable disposition of the legal matter. In the event of a favorable disposition,
        expenses and disbursements will be deducted after the contingent fee is deducted. The
        Client acknowledges and agrees that the attorney may borrow funds from time to time to
        pay certain costs associated with pursuing and litigating the case and agrees that, in
        addition to reimbursing the attorney for the amount of such costs, the client also will
        reimburse the attorney for any interest charges and related expenses the attorney incurs in
        connection with such borrowings.

       The Attorney agrees to advance, on behalf of the Client, all reasonably necessm-y out-of-
       pock;.et costs and expenses oflitigation at the discretion of the Attorney. However, this
       agreement in no way obligates the Attorney to advance/lend any funds on this case. The
       Attorney may choose to do so, and may choose to cease doing so for any reason
       whatsoever, with notice to the Client.

(6)    In the event that the Attorney makes a recommendation regarding the pursuit of the
       claim, includingthat a claim not be pursued, or that the claim should be settled, or that
       the claim should be dismissed, and the Client refuses to accept the recommendation by
       the Attorney, the Attorney may, at its option, withdraw from representation. If the claim


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                                                                            EXHIBIT D - 3
           is in litigation, withdrawal will be subject to Court approval. Should the Attorney
           continue representation, the Client agrees to reimburse the Attorney for the amount of
           such costs, reasonable expenses and disbursements incurred thus far, and to pay all costs
           and expenses as incurred from that time forward, payable in advance.

(7)        This fee agreement applies to all services rendered in pursing the above referenced claim,
           but not to matters ancillary to the above claims, such as probate court proceedings,
           guardianships and trusts or estate services, and resolutions of Medicare liens and
           Medicaid claims.

           Pursuant to Massachusetts General Laws, any net proceeds (gross recovery less
           compensation, costs, and expenses) due to the Client at the time of settlement may, and if
           applicable, will, be subject to liens/attachment by, but not limited to, Medicare, Medicare
           Advantage Plans, MassHealth, Medicaid, Department of Revenue, Department of
           Transitional Assistance, Department of Estate Recovery, Department of Liability
           Recovery, SSI, private Health Insurance, Short Term/Long Term Disability claims, and
           medical providers, if any, that may be owed by the Client. All proper Liens will have to
           be satisfied before the balance of the settlement can be remitted to the Client.

                 Client hereby acknowledges and understands that current law and regulations regarding
                 Medicare, Medicare Advantage Plans, Medicaid or private health insurance plans
                 (healthcare providers) may require all parties involved in this matter (client,.attomey,
                 defendant, and any insurance companies) to compromise, settle, or execute a release of
                 healthcare providers' separate claim fol' reimbursement/ lien for past and future
                 payments prior to distributing any verdict or settlement proceeds. Client agrees that the
                 Attorney may take all steps in this matter deemed advisable for the handling of such
        ,·:.>/. claims, including hiring separate experts/ case workers who assist with resolving any
      ,,,: ,_ healthcare providers' reimbursement claims or liens for past and/ or future injury-related
             , . medical care. The expense of any such service shall be treated as a case expense and
                 deducted from the net recovery and shall not be paid out of th<fattomey's contingent fee
                 in this matter.

(8)       If the client terminates the attorney-client relationship before the conclusion of the case
          for any reason, the attorney may seek payment for the work done and expenses advanced.
          Whether Attorney will receive any payment for the work done before the termination,
          and the amount of any payment, will depend on the benefit for the client of the services
          perfmmed by Attorney as well as the timing and circumstances of the termination. Such
          payment shall not exceed the lesser of (i) the fair value of the legal services rendered by
          Attorney or (ii) the contingent fee to which the lawyer would have been entitled upon the
          occurrence of the contingency. 'This paragraph does not give Attorney any rights to
          payment beyond those conferred by existing law.

(9)       The Attorney may withdraw from representing the Client if withdrawal can be
          accomplished without material adverse effect on the interest of the Client, or if:




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                                                                        EXHIBIT D - 4
          (a)    the Client persists in a course of action involving the Attorney's services that the
                 Attorney reasonably believes is criminal or fraudulent;
          (b)    the Client has used the Attorney's services to perpetuate a crime or fraud;
          (c)    the Client insists upon pursuing an objective that the Attorney considers
                 repugnant or imprudent;
          (d)    the Client fails substantially to fulfill an obligation to the Attorney regarding its
                 services and has been given reasonable warning that the Attorney will withdraw
                 unless the obligation is fulfilled;
         ( e)    the representation will result in an unreasonable financial burden on the Attorney
                 or has been rendered unreasonably difficult by the Client; or
         (f)     other good cause for withdrawal exists.

(10)     The Client is responsible for payment of all of the Client's former/prior counsel's
         reasonable attorney's fees and reasonable costs and expenses and the cost of resolving
         any dispute between the Client and any other prior counsel over fees or expenses relating
         to the claim identified in paragraph (1), except if the former/prior counsel is identified as
         the referring or associated counsel in paragraph (4),

 (11)    During the course of the engagement, the Attorney shall maintain a file on the Client's
         behalf that will include both physical documents and electronically stored information
         ("the file"). The file may include either original or copies of material such as pleadings,
         transcripts, exhibits, reports, contracts, wills, certificates and other documents as are
         determined to be reasonably necessary to the representation. The file shall be and remain
         the Client's property. The Law Firm may also include in the file attorney work product,
         mental impressions and notes (collectively "work product"). The work product shall be
         and remain the property of the Attorney.

         At the termination of the engagement, if requested in writing by the Client, the Attorney
         will return to the Client all original documents that were provided. Further, for a period
         of six (6) years (unless otherwise required by the Rules of Professional Conduct or
         applicable laws) after termination or upon conclusion of the engagement, and provided
         there are no outstanding unpaid statements for fees and/or costs or expenses owed by the
         Client to the Attorney, the Client shall have the right on request to take possession of the
         file, not including the work product, unless at the conclusion of the engagement, the
         Client has requested and/or confirmed in writing, that the Attorney properly dispose all or
         parts of the file (unless otherwise required by the Rules of Professional Conduct or
         applicable laws). In either such event, the Attorney, at his/her/its expense may make and
         retain copies of all or portions of the file. If the Client does not request possession of the
         file within this time period, the Attorney will have no further responsibility for the
         retention and maintenance of the file and may at its option properly dispose of all or parts


                                                                                                            ~
         of the file without further notice to you.

(12)    The Client hereby acknowledges and confirms, by signature on this agreement, and by
                                                                                                          X 1)(..,'f::::
        initialing by all paragraphs (1-14), that the Attorney has explained the provisions of this
        agreement, where it differs from the SJC Model Form agreement, and specifically with
        the respect to responsibility for court costs and expenses of litigation. Additionally, the


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                                                                     EXHIBIT D - 5
        Client acknowledges that the Attomey has advised the Client that different fom1s of
        agreements may be available, and that the Client selects the provisions as stated herein.
        By signing below, the Client acknowledges that he or she has carefully read this
        Agreement, understands its contents, and agrees to ·be bound by all of its terms and
        conditions; that the Attorney has made no representation to the Client as to the likelihood
        of the outcome of any proceeding now pending or to be brought by or against the Client,
        and that the Client believes this Agreement to be fair and reasonable.· The Client
        understands that the Attorney cannot and does not promise or even predict that its efforts
        will be successful, and this Agreement is not based upon any such promises or
        anticipated results. Furthermore, the Client understands it is possible that the cost to the
        Client of the Attorney's work may exceed the value of whatever the Client may gain.


(13)    This Contingent Fee Agreement (6 pages, 14 paragraphs, and attachments) encompasses
        the entire agreement of the parties (the Client and the Attorney), and supersedes all
        previous understandings and agreements between the parties, whether oral or written. The
        parties hereby acknowledge and represent that said parties have not relied on any
        representation, assertion, guarantee, warranty, collateral contract or other assurance,
        except those set out in this agreement, made by or on behalf of any other party or any
        other person or entity whatsoever, prior to the execution of this agreement. This
        agreement may only be modified in writing, signed by all parties the agreement.

(14)    This agr~ement and its performance are subject to rule 1.5 of the Rules of Professional
        Conduct as adopted by the Supreme Judicial Court ("SJC") of Massachusetts. (Last
        updatedrnnd effective as of January 1, 2013) (copy attached)




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                                                      EXHIBIT D - 6
WE HAVE EACH READ, UNDERSTOOD AND AGREED TO THE ABOVE
AGREEMENT BEFORE SIGNING IT. EACH PARTY HERETO ACKNOWLEDGES
RECEIPT OF AN EXECUTED DUPLICATE OF THIS AGREEMENT.



Signatures




 DONC.KEEN
for THE KEE
(Attorney)




TIDS AGREEMENT BECOMES EFFECTIVE WHEN RETURNED TO AND SIGNED
             BY THE ATTORNEY FOR THE LAW FIRM.




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                                                                    EXHIBIT E - 1
                               ENGAGEMENT AGREEMENT
       This engagement agreement contains the terms under which Law Offices of David J.
Hoey, P.C. and its principal David J. Hoey (collectively the "Client") agree to retain Goganian &
Associates, P.C. ("the Firm") to provide, and the Firm agrees to provide, legal representation in
responding to the Attorney's Lien filed by Krzysztof Sobczak, Esq. in the matter of Kira
Wahlstrom v. Jose Ruben Rivera, III, et al., Suffolk Superior Comt Civil Action No. 2010-
01022.

1.     Consistent with Mass. R. Prof Conduct l .5(b), the Firm requires execution and delivery
       of this Agreement before it undertakes legal representation of the Client.

2.     The Firm will issue monthly invoices to Law Offices of David J. Hoey, PC for its fees on
       a time-expended basis and for all out-of-pocket expenses it incurs in its representation of
       the Client. Payment is due within 30 days. The Firm reserves the right to charge interest
       on any overdue payments at the rate of 18% per annum.

3.     The Client acknowledges that it is impossible to determine in advance the specific
       amount .of time or expense that will reasonably be needed to provide it with proper
       representation in connection with the above-described matter, that the total amount of
       fees and expenses cannot accurately be predicted, and that no estimate of the total amourit
       of fees and expenses has been made.

4,     All time devoted by the Firm to the above-described matter, including among other things
       time devoted to meetings, conferences, telephone calls, paper and electronic
       correspondence, factual and legal research and analysis, preparation for and participation
       in mediations and other alternative dispute resolution proceedings, settlement
       negotiations, and reasonably necessary travel will be billed on an hourly basis in
       multiples of tenths ofan hour.

5.     Hourly billing rates will be as follows:

              Amy E. Goganian                 $300/hour

              Associates                      $225/hour

              Paralegals                      $90/hour

       The Firm anticipates that Amy E. Goganian will bear primary responsibility for handling
       the above-described matter, but the services of others may be used in circumstances
       where the Firm judges that by doing so representation of equal quality can be provided at
       lower cost to the Client. The hourly rates quoted in this paragraph are subject to change
       upon 30 days advance written notice.
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                                                                      EXHIBIT E - 2
6.      The Client agrees to pay all out-of-pocket expenses reasonably incurred on its behalf in
        connection with the above-described matter, including among other things automobile
        mileage expense at the federally-approved rate, parking charges, tolls, other reasonable
        travel expenses, mediators' fees and charges, investigative expenses, experts' and
        consultants' fees, on-line research charges, copying charges, delivery and/or courier fees,
        and extraordinary postage expense. The Firm will not retain any technical expert,
        consultant, or outside investigator without first obtaining the Client's approval.

7,      Subject to the provisions of any applicable court rules and subject to the provisions of the
        Massachusetts Rules of Professional Conduct, the Client may at any time, with or without
        cause, discharge the Firm and the Film may at any time, with or without cause, terminate
        its representation of the Client.

8.      The Firm's representation of the Client is limited to the above-described matter. The
        Client acknowledges that the Firm does not represent it in connection with other matters
        in which it is or may become involved.


        Law Offices of David J. Hoey, P.C.                   Goganian & Associates, P.C.



                /,/
               ~& -
        By: DF,'Esq.                                                         a i n, Esq.
        352 P rk Street, Suite 105                           144 Gould tr t,     te 202
        North Reading, MA O1864                              Needham, MA 02494
        Tel: (877) 529-4639                                  Tel: (781) 433-9812




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                    CONFIDENTIAL INFORMATION -ATTORNEY CLIENT PRIVILEGED
                                                                            EXHIBIT F - 1
                        COMMONWEALTH OF MASSACHUSETTS
SUFFOLK, ss                                           SUPERIOR COURT DEPARTMENT
                                                      CIVIL ACTION NO. 2184CV00741


                                                     )
AUSTIN O'TOOLE, and THE LAW OFFICES                  )
OF AUSTIN SCOTT O'TOOLE, P.C.,                       )
                                                     )
                       Plaintiff                     )
                                                     )
V.                                                   )
                                                     )
DAVID HOEY AND THE LAW OFFICES                       )
OF DAVID HOEY, P.C., AND                             )
KIRA WAHLSTROM,                                      )
                                                     )
                       Defendants                    )



                          AFFIDAVIT OF KRZYSZTOF SOBCZAK




        I, Krzysztof Sobczak, am an att,;n;n~y'-licensed to practice law in the Commonwealth of
                                     1
Massachusetts. I have been in acti_v~:
                                . ·. ,,-,
                                          practice and in good standing in the Commonwealth of

Massachusetts since 2011. Pi-ior'to my admission to the Massachusetts bar, I graduated from

Boston College Law School with a J.D. in 2010, having previously received M.S. from Boston

University in 2013,-and B.S. from Massachusetts Institute of Technology in 2000. I make these

averments based on my personal knowledge and recollections:


       ;L      In 2014 I started to work at and for the Law Offices of David J. Hoey, P.C.




       2.      While working for Hoey Law, among other cases, I worked on the matter of Kira

Wahlstrom v. Rivera et al, C.A. 1084-cv-O 1022 (Suffolk), having first filed my appearance in
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                                                                         EXHIBIT F - 2
 said case in April 2014. The Wahlstrom matter was a major premises liability case that derived

 from an attack that Kira suffered in the Radisson Boston parking garage. The case tried in July

and August, 2015 resulting in jury verdict for the Plaintiff. As a result of pleadings that Mr. Hoey

filed in that case subsequently, it is a matter of public record that on November 18, 2019, Ms.

Wahlstrom recovered $9,987,683.80.


        3.      I was part of the trial team that successfully tried the Wahlstrom case. I was

involved in all phases of the preparation for the trial and examined or cross-examined many of

the witnesses. I also drafted many of the pre-trial and in-trial motions and was involved with

nearly every aspect of preparing the case for trial.


        4.     During the time that we were preparing the case for trial, I was frequently in

contact with Kira. I also was in frequent contact with the third member of the trial team,

Attorney Don C. Keenan of Atlanta, as well as his associate, Attorney Andrew Gould. It is a

matter of public record that on March 13, 2015, a motion to admit Attorney Keenan pro hac vice

was filed in the Wahlstrom case, a motion that the court allowed.


       5.      During the time that I worked at Hoey Law, it was customary for Attorney

Keenan, on Attorney Hoey's request, to become involved in certain cases where the damages

appeared to be significant. Hoey very seldom tried cases on his own and preferred to settle them

or if they were to be tried, sought other counsel to try them with him or for him.


       6.      When Hoey would hire Keenan into a case, the portion of the attorney fee that

was recovered that Keenan was to paid upon successful resolution varied, and escalated

depending upon the extent of Keenan's involvement in the case. When Keenan consulted on a

case, his usual fee was 30% of all the attorney's fees recovered. When Keenan tried a case with




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                                                                            EXHIBIT F - 3
 Hoey (the highest level of involvement), Keenan was entitled to higher percentage. I have seen

 copies the contract between Hoey and Keenan in the Wahlstrom case, and it called for 40% or

 50% percent of all attorneys' fees to be due to Keenan. To the best ofmy recollection, at the time

Hoey hired Keenen to help on the Wahlstrom case the client, Kira Wahlstrom was not aware of

this arrangement, as it would not affect the total attorneys' fees either way.


        7.       Throughout the time that I worked at Hoey Law, Hoey maintained a recording

system that taped certain important calls on cases, including conference calls to and from

Keenan. When there was an important call about a case, the conversation was usually taped.

After the recordings were made, Hoey would send them out to a commercial service for

transcription.


        8.       Before the trial of the Wahlstrom case, there were multiple discussions about the

division of the potential attorney's fee, once and when the case is successfully resolved, as I was

also promised a portion of the attorneys' fees recovered on the case, and since Hoey had taken

the Wahlstrom case on referral from attorney Austin O'Toole, he also was potentially due a

portion of the attorneys' fees. In discussions with Keenan where I was present, Hoey described

the referral fee agreement as one in which O'Toole was entitled to one third of Hoey's fee. Given

that O'Toole w~s to get one-third of the fee in the case, and Keenan was to get 50% of the fee,

that would potentially leave Hoey with a very small fee for five years of work and a very

substantial outlay of costs.


        9.       Initially, Hoey though that he might not have to pay O'Toole because the BBO

had ordered that O'Toole be suspended from the practice of law for six months, and looked into

this, including potentially hiring outside counsel, to determine whether or not O'Toole would

need to be paid out of this case.


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                                                                            EXHIBIT F - 4
                     CONFIDENTIAL INFORMATION-ATTORNEY CLIENT PRIVILEGED


         10.    I was not directly privy to whatever advice Hoey was given, but in any event the

 conclusion was made that O'Toole would need to be paid the referral fee. However, in order to

 reduce what O'Toole would be potentially paid, Hoey decided that Kira should sign a new fee

 agreement directly with Keenan on which Hoey would become the referring attorney, thus

 whatever fee O'Toole would be due would be only from the Hoey portion and not the full·

 attorneys' fees amount. However, both the original and the new contingent fee agreement that

 the client (Kira Wahlstrom) as presented indicated that she would be paying on¢ fixed amount
                                                                                -·~,   '', ~~:   ,-,




 for attorneys' fees and all involved and associated attorneys would be paid out of that fee. To

illustrate their thinking, if Hoey was paid the full fee, then O'Toole Would get one third of that

amount. However, under this new scheme, if the full fee was paid directly to Keenan, O'Toole
                                                            ·.
would not get any part of that portion of the fee. Instead, tfroole would only get one third of the

portion of the fee allocated to Hoey, in other w9rds, one-third of 50% or 60% of the fee, rather

than one third of 100% of the fee if it were paid t~ Hoey.


         11.    To my recollection aqd Isn6wledge, there was no discussion of any other purpose
                                   ':s. ,)'';~•--~,


of the new fee agreement otlier than.reducing O'Toole's recovery. There were also no

conversations about poss}bl,y informing O'Toole about the situation or inviting him to discuss the
                     ·,

situation. Nor was there any explanation to Kira as to why the new fee agreement was being

presented t9 her and how that would affect how any and all attorneys would get paid. Indeed, at

the titne thafthe discussions were taking place in May and June 2015 (just before the Wahlstrom

ti:fa}
    :,
    ,·
       was scheduled to begin), Keenan had already entered his notice of appearance for Kira

;nionths earlier. The fee agreement between Keenan and Hoey dividing Hoey's fee with Keenan

had also been signed many months before the Keenan/Wahlstrom agreement.




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                                                                             EXHIBIT F - 5
        12.      To my recollection and knowledge there was no discussion at this time about

reducing or reallocating the percentage of the recovery that would go to Hoey or Keenan. There

was also nothing that changed about the allocation of Hoey's and Keenan's responsibilities in the

case once the new agreement was signed. We continued preparing for trial just as we had, and

the relative responsibilities all stayed the same. Based on discussions that I was a part of, the

only purpose of the new fee agreement between Kira and Keenan was to ensure that there was

more money for Hoey and less money for O 'Toole.


        13.     After we obtained a successful jury verdict on the case, multiple post trial motions

ensued, and additional attorneys, including appellate attorneys were brought onboard to the team.

        14.     While this case was pending on appeal, in or around January 2017, with advice

and consultation from attorney Keenan, I ended my employment with Hoey Law, and thus client

choice of counsel letters were to be sent to all the pending active cases in which I had an

appearance, which included the Wahlstrom. case.


        15.     Hoey generally refused to send such letters out, and specifically with regard to

this case, on January 22, 2017, Hoey send me a copy of a January 20, 2017 letter he sent to the

Plaintiff, informing Kira Wahlstrom that with her permission and consent, Sobczak will remain

on this case until its conclusion.


        16.    On January 24, 2017 Plaintiff Kira Wahlstom confirmed to me that she wants to

retain me to stay on the case, thus authorizing and ratifying in writing my continued employment

on the matter, now under my own firm, as an associated lawyer under the terms of the last active

fee agreement she signed on this case.




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                                                                                  EXHIBIT F - 6
           17.   However, after Hoey-Sobczak relationship deteriorated further, upon information

and belief, Hoey subsequently pressured certain client to discharge me, and on March 6, 2017 I

received a letter from attorney DeJuneas (who was brought into the case after the verdict to assist

with the post trial motions (and had an appearance on the case since 2015) with an alleged note

from the Plaintiff, dated in 2007 asking me to withdraw from the case to assist with the appeal,

but not relieving me as her counsel.


           18.   Around this time I also heard from Attorney Keenan, who learI1ed that Hoey also

owed a portion of the potential legal fee on this case to me, asking that I only communicate with

him via his counsel, as we were now at potential conflict over pqrtions of the legal fee.

                                                               ..
                                                                ,

           19.   Having learned that the Plaintiff was allegedly relieving all her "trial" counsel as

part of the appeal strategy, I filed my notice of witl;iclrfwal with the Court.


           20.   On June 10, 2019, the Appeals Court essentially reversed the trial court's order,

correcting several of the false allegations 'in the trial_court's 2016 order and restoring the jury

verdict.


       21.       Thus, on June 11, 2019, following the Appeals Court decision in this matter, I

filed an attorney's }ien pursuant to Mass. G. L. ch. 221, sec. 50, to put the various parties on

notice of my claim, which at this point would be on the basis of quantum meruit for the 1200

plus houtson worked on this case.


       22.       As of the date of this affidavit, my attorney's fees dispute is a live controversy.


       Signed and sworn under the pains a n d a , y ~


                                               ~Krcysziof Sobczak
                                                             ~~,

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  EXHIBIT B
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  EXHIBIT C
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                              (EASTERN DIVISION – BOSTON)


 KIRA WAHLSTROM,

                             Plaintiff,
                                                     Civil No. Civil No. 1:22-cv-10792-RGS
                    -against-

 DAVID J. HOEY, LAW OFFICES OF
 DAVID J. HOEY, P.C., DON C. KEENAN,
 D.C. KEENAN & ASSOCIATES, P.C.
 D/B/A THE KEENAN LAW FIRM, P.C.,
 AND KEENAN’S KIDS FOUNDATION,
 INC.
                       Defendants.


       PLAINTIFF KIRA WAHLSTROM’S RESPONSE TO THE FIRST SET OF
     INTERROGATORIES BY DEFENDANT D.C. KEENAN & ASSOCIATES, P.C.
                      D/B/A THE KEENAN LAW FIRM

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Local Rule 26.1,

Plaintiff Kira Wahlstrom (“Plaintiff”) herein responds to the First Set of Interrogatories by

Defendant D.C. Keenan & Associates, P.C. d/b/a The Keenan Law Firm, P.C. (“Keenan”).

       Ms. Wahlstrom responds with the information available to her now and will supplement

as appropriate as more information is developed during discovery including after receiving

document production from Defendants and any other appropriate third-parties and after the

taking of depositions.

                           RESPONSES TO INTERROGATORIES

   1. State your name, address, date of birth, place of employment, and job title.

Response:

       Name: Kira Wahlstrom
       Address: 5375 Sunny Ridge Place, Paso Robles, California 93446
       Date of Birth: 11/29/1973

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       Place of Employment: N/A
       Job Title: N/A

   2. Regarding the 2010 Contingency Fee Agreement that is attached to your amended
      complaint, state whether: (1) you read it in full before you executed it; and (2)
      whether you ever discussed its terms with Don Keenan or any other Keenan
      employee.

Response:

       I read the agreement before I executed it after conferring with David Hoey.

       I never discussed the 2010 Contingency Fee Agreement with Don Keenan or anyone
from his firm.

   3. If you did discuss the terms of the 2010 Contingency Fee Agreement with Don
      Keenan or a Keenan employee, state; (1) the approximate date/timeframe of each
      such discussion; and (2) everything that you said and everything said to you.

Response:

       Not applicable.

   4. If you ever discussed the 2010 Contingency Fee Agreement with David Hoey or any
      Hoey employee, state: (1) the approximate date/timeframe of each such discussion;
      and (2) everything that you said and everything David Hoey said to you.

Response:

        My memory is that David Hoey mailed the 2010 Contingency Fee Agreement to me and
that we then discussed the agreement on the phone. It would have been right around the time
before it was executed on or around February 2, 2010. I do not have a specific memory of the
exact date(s) of the discussions nor do I have a specific memory of what was said.

   5. Regarding the 2015 Contingent Fee Agreement that is attached to your amended
      complaint, state: (1) whether you ever discussed its terms with Don Keenan and/or
      Andrew Gould and/or David Hoey and/or Krzysztof Sobczak; and/or anyone else
      from their respective firms; and (2) if so, the approximate date/timeframe of each
      such discussion; and (3) everything that you said and everything that was said to
      you.

Response:

       I discussed the terms of the 2015 Contingent Fee Agreement with David Hoey before I
signed it. I did not discuss the new agreement with Don Keenan or anyone else from either law
firm before I signed it.




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        On June 11, 2015, after David Hoey had emailed saying he needed me to stop by to sign
a new fee agreement, I asked him via email “What is the new fee agreement?” And he
responded: “It’s the same fee agreement as before but with Don’s name since he is also trying
the case with me on July 13th. It doesn’t change your percentage or cost you more money.”
Thereafter, I went in to Hoey’s office to sign the agreement and he reiterated then the same thing
that the new agreement did not change anything for me and that I would not be paying any more
in fees rather that the agreement only added Don Keenan to the agreement so that he could
represent me in the case and at trial.

   6. State whether: (1) you ever exchanged emails, texts, or voicemail messages with Don
      Keenan, Andrew Gould, David Hoey, Krzysztof Sobczak, and/or anyone else from
      their respective firms regarding the 2015 Contingent Fee Agreement; (2) if so, the
      approximate date/timeframe and the substance of everything you said and
      everything that was said to you; and (3) whether the messages/communications still
      exist.

Response:

        I have exchanged emails, texts, and voicemails with David Hoey. Regarding
communicating about the 2015 Contingent Fee Agreement, I have the email chain that is
attached to my Amended Complaint as Exhibit C in which he said to me on June 11, 2015: “It’s
the same fee agreement as before but with Don’s name since he is also trying the case with me
on July 13th. It doesn’t change your percentage or cost you more money. Ill show it to you next
time I see you.” If I locate additional emails or texts that specifically address the 2015
Contingent Fee Agreement in my possession, I will produce them.

      I did not text or email with anyone else from these two law firms specifically about the
2015 Contingent Fee Agreement to my memory.

   7. If you contend that the provisions of the 2015 Contingent Fee Agreement regarding
      increasing the compensation of counsel by up to 7% following an appeal, and
      referred to in paragraph 26 of your amended complaint, are not binding on or
      enforceable as against you, describe in detail all facts and evidence in support of
      that contention.

Response:

       The 2015 Contingent Fee Agreement specifically provides (emphasis added):

       The above stated percentage shall be increased by an additional Two Percent (2%)
       of gross recovery if the matter is concluded/settled after an appellate brief is filed in an
       applicable appellate court or body by the Attorney [Don C. Keenan and The Keenan Law
       Firm PC] on behalf of the Client, and an additional 5% of gross recovery Five Percent
       (5%) of gross recovery if matter is retried/concluded/settled following an appellate
       decision.




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       Don Keenan and The Keenan Law Firm did not file the appellate brief on my behalf or
otherwise handle the appeal as appellate counsel. Keenan did not seek to get admitted before the
appellate court, he did not write the brief, or handle the oral argument. Thus, Keenan and Keenan
Law were not entitled to take an additional fee for appellate work (which they did not provide)
under the terms of the 2015 Contingent Fee Agreement.

        The fee agreement I had with the law firm of Patty DeJuneas made clear that I was
paying her and her firm to handle the appeal. And I agreed to pay for Robert Cordy to assist with
the appeal as well. I was never told that I would also have to pay Keenan (and Hoey) for this
appeal on top of paying the appellate attorneys, nor does the 2015 Contingency Fee Agreement
require me to do so.

       I am aware of Don Keenan himself acknowledging in an email that he was not appellate
counsel. On April 15, 2016, Don Keenan stated in reply to an email from DeJuneas:

       Y'all know me so my first reaction is to attack and hit 'em hard. However I'm not an
       appellate lawyer, don't pretend to be, don't see the world through the POV of an
       appellate lawyer.

       So since we've got a very good appellate lawyer, one who has impressed me, I would
       suggest we listen to her and do what she says.

       Papa Don

       This email is included in my document production.

   8. Regarding the itemization and spreadsheet referred to in paragraph 54 of your
      amended complaint, state whether: (1) you read them both in full; (2) you ever
      discussed either of them with Don Keenan, Andrew Gould, or anyone else (other
      than David Hoey) associated with Keenan & Associates, P.C.; and (3) if so,
      everything that you said and everything that was said to you.

Response:

       On March 27, 2020, Hoey provided me an itemization falsely representing that all the
fees and expenses taken from my recovery were properly charged and owed by me. Hoey
induced me to sign off on the expenses knowing that I trusted him and his representations that
these expenses were appropriate and required under our fee agreement.

        On March 29, 2020, Hoey emailed the spreadsheet itemization again falsely representing
that the fees and expenses charged to me were proper and not fully explaining all the charges in
the line items, knowing that I trusted him and his representations that these expenses were
appropriate and required under our fee agreement.

   9. If you contend that you were harmed or damaged by delays associated with the
      appeal from the $4 million judgment referred to in paragraph 29 of your amended
      complaint, describe in detail all facts and evidence in support of contention,
      itemizing all alleged damages and losses.
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Response:

        During the appeal, I continued to struggle financially and had to take out a loan to
support myself which David Hoey secured for me. While I was able to pay back the loan
ultimately after the recovery, my financial struggles during the appeal were distressing along
with the prospect that I might have to go through a second trial and the accompanying time and
costs that would be involved and the prospect of publicly reliving my trauma and enduring cross-
examination by defense counsel again.

   10. Regarding the “misconduct” alleged in paragraph 30 of your amended complaint,
       state: (1) exactly what actions and behavior that you consider to be “misconduct”;
       and (2) all actions and behavior, if any, on the part of Don Keenan and/or Andrew
       Gould and/or other Keenan employee that you allege was “misconduct.”

Response:

       This paragraph does not refer to my opinion. It first refers to the “misconduct” alleged by
JPA in their motion for new trial, as paragraph 30 first states “After the verdict was rendered,
JPA (the garage managers/owners) filed a motion for new trial based on attorney misconduct by
Ms. Wahlstrom’s trial attorneys.” One should refer to their motion papers for their arguments as
to what was argued to be misconduct and the motion papers should already be in the possession
of Keenan.

        This paragraph then states “The trial judge (Associate Justice Paul D. Wilson) agreed that
two of her attorneys (Hoey and his associate) engaged in misconduct that adversely affected
JPA’s substantial rights, misconduct such as repeatedly defying court orders and arguing after
court rulings, often in the presence of the jury. As a result, the trial court allowed JPA’s motion,
vacated the verdict, and ordered a new trial.” And cites to Wahlstrom v. LAZ Parking Ltd., LLC,
No. SUCV20101022, 2016 WL 3919503 (Mass. Super. May 19, 2016).

        The Memorandum Decision and Order granting the new trial motion specifically found
misconduct by David Hoey and Krzysztof Sobczak as could easily be determined by an attorney
by just reading the order. As to Keenan, the order only stated:

       Before addressing the specific issues, however, I will briefly comment on the complaint
       by the JPA Defendants that Plaintiff's counsel followed the “Reptile” playbook at trial.
       As defense counsel informed me in a pretrial Bench Memorandum, Plaintiff's counsel
       Mr. Keenan travels the country teaching seminars to plaintiffs' personal injury lawyers
       based on his book entitled “Reptile, The 2009 Manual of the Plaintiff's
       Revolution.”7 Mr. Keenan teaches that plaintiffs' lawyers should appeal to the primitive,
       reptilian portions of jurors' brains, which will cause them to decide cases based on a
       subconscious desire to protect themselves and their loved ones from the danger posed by
       the allegedly negligent behavior of any defendant. The “Major Axiom” of the book,
       Mr. Keenan states at its outset, is this: “When the Reptile [apparently a reference to a
       primitive part of the juror's subconscious] sees a survival danger, even a small one, she
       protects her genes by impelling the juror to protect himself and the community.” Id. at 8.


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       I mention this argument at the outset because the new trial motion of the JPA Defendants
       is sprinkled with references to particularly inflammatory portions of Mr. Keenan's book,
       coupled with alleged examples of how Plaintiff's counsel allegedly put Mr. Keenan's
       Reptile theory into practice at this trial. Both before and at trial, I paid little attention to
       Mr. Keenan's philosophy, instead focusing on particular actions of Plaintiff's counsel
       without considering whether they were products of that philosophy. I will take that
       approach in this Memorandum of Decision as well, and will mention the Reptile theory
       no more.

Wahlstrom v. LAZ Parking Ltd., LLC, No. SUCV20101022, 2016 WL 3919503, at *4 (Mass.
Super. May 19, 2016), rev'd sub nom. Wahlstrom v. JPA IV Mgmt. Co., Inc., 96 Mass. App. Ct.
1108, 138 N.E.3d 1045 (2019)

       I am not an attorney, judge or legal expert and cannot otherwise personally give an
opinion on what qualifies as attorney “misconduct.” All I know is that the trial judge granted a
new trial motion finding that my attorneys had engaged in misconduct during trial.

   11. If you contend that David Hoey, Krzysztof Sobczak, or anyone else employed by
       David Hoey or his firm was an agent, representative, or servant of Keenan, describe
       in detail all facts and evidence in support of that contention.

Response:

        David Hoey, to my understanding, acted on behalf of Don Keenan by providing to me the
2015 Contingency Fee Agreement and inducing me to sign it. See my response to No. 5 above
which is adopted and incorporated here. Hoey also, to my understanding, acted with and/or
behalf of Keenan in advising me of the expenses that were required to be paid out of my
recovery (including the fees paid to an attorney representing Keenan’s own foundation) which
funds Keenan then released from his trust account for payment of these claimed expenses.

   12. Regarding the fees charged by Patricia DeJuneas and Robert Cordy for their
       appellate work as referred to in paragraph 50(b) of your amended complaint, state:
       (1) whether you ever disputed the reasonableness of their charges totaling
       $213,091.52; (2) if so, the approximate date/timeframe and substance of all
       communications regarding that issue; and (3) whether you now dispute the
       reasonableness of the DeJuneas/Cordy charges.

Response:

       I did not raise any dispute with the reasonableness of the charges by Patty DeJuneas or
Robert Cordy for their handling of my appeal and I do not dispute the reasonableness of the fees
they charged now.

   13. If you contend that any actions or conduct of Keenan, including Don Keenan or
       Andrew Gould, was unfair or deceptive and caused you harm or damages, describe
       in detail all facts and evidence in support of that contention, itemizing all alleged
       damages and losses.


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Response:

       As specifically detailed in the allegations in my Amended Complaint, which I adopt and
incorporate herein, Keenan and Keenan Law, acting together with Hoey and Hoey Law in a
coordinated effort, engaged in unfair and deceptive acts, unlawful under Section 2 of Chapter
93A, Massachusetts General Laws, through overcharging and deceiving me into paying
improper, unearned and excessive fees and unreasonable expenses for their representation in my
premises liability case.

         After I agreed to and executed the 2010 Contingency Fee Agreement with Hoey to
initiate and pursue my premises liability case, I was advised and instructed by Hoey, to my
understanding with the agreement of and on behalf of Keenan, to sign the second 2015
Contingency Fee Agreement with Keenan named as the attorney on my case, which Hoey
specifically represented would not change the percentage I would owe for attorney’s fees and
would not cost me more money than the prior agreement but was just to put Keenan’s name on
the agreement since he would be trying the case with Hoey.

        While 2015 Contingency Fee Agreement stated that an extra fee would be charged if
Keenan handled any appeal (by actually filing the appellate briefs), Keenan did not handle my
appeal or file the appellate briefs yet still took an extra 7% for his fee ($695,808.57) that was
unearned. Keenan never told me that he would be taking this fee in addition to me having to pay
for separate appellate counsel. Attorney DeJuneas will be able to further speak to this and her
handling the appellate work.

        Keenan and Hoey charged me for additional attorneys I now know they engaged for their
own purposes. They charged me significant fees for Amy Goganian’s handling of the Sobczak
lien which I later learned was litigated in a manner at the direction of and to the benefit of Hoey,
including litigating unnecessary issues that only served Hoey’s purposes and not mine,
specifically Hoey’s defense against Sobczak claiming Hoey owed Sobczak more for the work
performed on my case.

      I was charged for counsel that appeared for Keenan’s non-profit foundation, Defendant
Keenan’s Kids Foundation, which involved seeking protection of intellectual property rights of
Keenan, not my interests or rights.

       Keenan and Hoey charged me for Hoey’s long-time personal attorney, James Bolan, in
connection with defending Hoey against the Sobczak attorney lien caused by Hoey’s dispute
with Sobczak over payment for Sobczak’s work as described above. Bolan never conferred with
me much less obtained my agreement for this charge nor did I retain Bolan as my own counsel.

        Keenan and Hoey improperly charged me $2,655.00 for “constitutional law attorney”
John Vail, even though the case did not involve any constitutional issues that I am aware of.
Hoey has claimed Vail provided necessary consultation on the appeal while Keenan has claimed
that I approved and agreed to engage Vail to research and review the jury charge and other
matters in the case when I did not. I never conferred with Vail nor did I ever enter an agreement
for him to represent me or provide legal services for me.


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       Keenan and Hoey also charged me $1,316.00 for attorney Catherine Giordano for
“research and writing” when this should have been paid out of the agreed upon attorney fee.
Keenan and Hoey have claimed that I approved and agreed to engage Giordano to research and
review the jury charge and other matters in the case when I did not.

       Keenan and Hoey charged me $561.24 for the firm Lewis Brisbois Bisgaard & Smith
LLP, a firm I understand to be involved with the Sobczak lien dispute and other matters
concerning Hoey and Hoey Law. These attorneys never conferred with me and I did not retain
them.

         Keenan and Hoey induced me to agree to hiring Win Interactive, a litigation support firm,
to develop an animation video of the attack in the garage that they planned to offer into evidence
at the premises liability trial which was deemed inadmissible. I was charged $51,000 for this
video that could not be used at trial. Keenan and Hoey have claimed that this was an effort to
protect me from having to testify about the attack at trial. I was always prepared and ready to
testify as I understood I would need to do so if the case went to trial. While I am not a lawyer, it
is now my understanding that this significant expense was undertaken for a demonstrative
exhibit that had little to no chance of being admitted and the cost was incurred before
establishing its admissibility. I also understand that I could not have succeeded in my premises
liability case if I did not testify to what happened to me.

        In addition, Hoey did not fully disclose his arrangement with Advocate Capital which he
used to fund case costs during litigation. While I knew and approved a loan to cover litigation
expenses, Hoey did not tell me that the company charges exorbitant fees and finance charges: on
a principal loan of $415,761.58, Advocate Capital charged fees totaling $238,839.29, over 50%
of the principal. Additionally, the expense accounting provided to me does not show what the
$415,761.58 covered during the litigation. Hoey has not fully accounted for all the litigation
costs and the need for this large loan is suspect because Hoey informed me that Advocate Capital
was “the lender for the majority, but not all, of the litigation expenses” and then he separately
billed me over $800,000 more for expenses, including his internal firm costs such as office
supplies ($1,992.87), copying ($9,964.60) and postage ($3,030.36) as well as billed me for media
interview assistance and plaques commemorating the trial victory neither of which I did not
receive. And Keenan released funds from my recovery to pay all the expenses claimed by Hoey.

         Finally, the decision of Keenan and Hoey to replace the 2010 Contingency Fee
Agreement with the 2015 Contingency Fee Agreement that they had me sign and the reduced
payment they then paid to referral attorney Austin O’Toole is what caused me to be sued by
O’Toole. O’Toole’s allegations made clear that in no way did O’Toole think I was the one who
came up with the plan for a second fee agreement rather he specifically alleged that Keenan and
Hoey devised an unlawful scheme to reduce the referral fee that O’Toole could collect from
Hoey. O’Toole in part based his allegations on statements of Sobczak that said the purpose of the
new agreement was to reduce O’Toole’s fee. Moreover, Judge Krupp of the Superior Court made
it clear that he thought it was inexcusable that neither Hoey nor Keenan took action to get me out
of that case sooner. Rather, my current counsel had to fully litigate a motion to dismiss to obtain
a dismissal.



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       As I stated in my Initial Disclosures, based on currently known information and
documentation, my damages are the following along with the loss of use of the funds that should
have been provided to me back in 2019:

       1. $695,808.57 taken for the appeal which was unearned
       2. $20,824.00 for attorney Richard Goran to appear and litigate on behalf of the
           Keenan’s Kids Foundation, Inc.
       3. $8,432.39 for fees for Hoey’s attorney, James Bolan
       4. $72,721.82 for attorney Amy Goganian’s fees to defend against the Sobczak lien
           under the fee agreement between Goganian and Hoey
       5. $2,655.00 for fees of attorney John Vail
       6. $1,316.00 for fees of attorney Catherine Giordano
       7. $561.24 for the firm Lewis Brisbois Bisgaard & Smith LLP
       8. $623.70 That’s Great News
       9. $51,000 to pay Win Interactive for animation video
       10. $40,406.95 for attorney Goganian’s fees in the O’Toole case
       11. $238,839.29 for Advocate Capital charges

       Total: $1,133,188.96

   14. If you contend that any actions or conduct of Hoey, including David Hoey or
       Krzysztof Sobczak, was unfair or deceptive and caused you harm or damages,
       describe in detail all facts and evidence in support of that contention, itemizing all
       alleged damages and losses.

Response:

       Hoey’s conduct includes all the matters specified above in response to No. 13 which I
adopt and incorporate herein.

   15. Regarding the allegations in paragraph 94–95 of your amended complaint that
       David Hoey/Hoey Law made false representations to you “with the approval and
       agreement of Keenan and Keenan law,” describe in detail all facts and evidence in
       support of the allegation that there was “approval” by Keenan.

Response:

        Keenan received the recovery money paid by the insurance carriers to his trust account.
He was thus responsible for proper distributions. Therefore, Keenan was fully aware – or should
have made himself aware – of the expenses being charged by Hoey and to the extent that Keenan
distributed funds from his trust account to Hoey to pay expenses itemized by Hoey, Keenan
approved of those expenses.

   16. If you contend that you have no obligation to defend and/or indemnify Keenan
       pursuant to the terms of the 2015 Contingent Fee Agreement, describe in detail all
       facts and evidence in support of that contention.


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Response:

       Please see the order of Judge Stearns entered at Dkt. No. 42.

   17. If you contend that Keenan’s actions caused you to be sued by Austin O’Toole and
       therefore caused you harm or damages for which you seek to recover in this suit,
       describe in detail all facts and evidence in support of that contention, itemizing all
       alleged damages and losses.

Response:

        Keenan’s actions are described above in response to No. 13 which I adopt and
incorporate herein along with the pleadings filed in the O’Toole case and the arguments made at
the hearings on my motion to dismiss and Keenan’s motion to dismiss which are all in the
possession of and known to Keenan and his counsel. Keenan actually argued in the O’Toole case
that paragraph 10 of the 2015 Contingency Fee Agreement – that Hoey on Keenan’s behalf had
me execute – made me liable for O’Toole’s claims and then Keenan had the audacity to assert
counterclaims against me in this case and claim the same and attempt to cover himself for his
own wrongdoing. Fortunately, this was promptly resolved by the dismissal of the counterclaims
in the Order entered by Judge Stearns in this case on December 6, 2022 at Dkt. No. 42.

   18. If you contend that you were required to obtain medical care, psychological care,
       counseling, or other treatment due to the actions or conduct of the Defendants,
       identify by name and address all such providers.

Response:

       None.

   19. Identify by name and address all witnesses or other persons with any knowledge
       relating to the events and claims in your amended complaint.

Response:

       As identified in my Initial Disclosures:

       1. Kira Wahlstrom – c/o counsel at Markham Read Zerner, One Commercial Wharf
          West, Boston, MA 02110, (617)-523-6329

            Knowledge of: the underlying premises liability case, her trauma and difficulties in
            recovery from the attack and rape including trust issues; legal representation by David
            Hoey and Don Keenan; the fee agreements that Hoey and Keenan had her execute;
            the referral agreement between Hoey and O’Toole; her understanding of fees and
            expenses; the representations made by Hoey and Keenan as to fees and expenses
            owed in the underlying premises liability case; her trust in Hoey and Keenan and her
            reliance on them during their representation; the appeal in the underlying case and her
            appellate counsel; her understanding of the Krzysztof Sobczak lien dispute between
            Sobczak and Hoey and Hoey’s retention of Goganian & Associates; being sued by

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   O’Toole, distress caused by that suit, and Hoey’s initial payment of legal fees; her
   discovery that she was misled by Hoey and Keenan as to fees and expenses.

2. David J. Hoey – Law Office of David J. Hoey, P.C. – 352 Park Street, Suite 105,
   North Reading, MA 01864 – (978)-664-3633

   Knowledge of: his and his law firm’s representation of Kira Wahlstrom in premises
   liability case; of the 2010 Contingent Fee Agreement, Referral Agreement with
   O’Toole, and the 2015 Contingent Fee Agreement; his fee arrangement with Keenan
   under the 2015 Contingent Fee Agreement; the purpose of the 2015 Contingent Fee
   Agreement; referral fee payment to O’Toole; the Advocate Capital loan, charges and
   fees and what the loan was used to pay; litigation over the attorney lien filed by
   Krzysztof Sobczak and his retention of Goganian & Associates; all expenses and fees
   billed and paid from the recovery in the underlying premises liability case and
   representations made to Ms. Wahlstrom as to fees and expenses.

3. Don C. Keenan – D.C. Keenan & Associates – d/b/a - The Keenan Law Firm – 148
   Nassau Street, N.W., Atlanta, GA 30303 – (404)-523-2200

   Knowledge of: his and his law firm’s representation of Kira Wahlstrom in premises
   liability case; of the 2010 Contingent Fee Agreement, Referral Agreement with
   O’Toole, and the 2015 Contingent Fee Agreement; his fee arrangement with Hoey
   under the 2015 Contingent Fee Agreement; the purpose of the 2015 Contingent Fee
   Agreement; referral fee payment to O’Toole; his direction and control over Keenan’s
   Kids Foundation / Keenan Trial Institute / Keenan Edge; intellectual property rights
   of Keenan’s Kids Foundation / Keenan Trial Institute / Keenan Edge; all expenses
   and fees billed and paid from the recovery in the underlying premises liability case
   and representations made to Ms. Wahlstrom as to fees and expenses.

4. Austin O’Toole – Law Offices of Austin O’Toole, P.C. - 18 Tremont St, Boston, MA
   02108 - (617) 263-1000.

   Knowledge of 2010 Contingent Fee Agreement, Referral Agreement with Hoey,
   payment received for referral, and his lawsuit filed against Hoey, Keenan, and
   Wahlstrom.

5. Krzysztof Sobczak – Sobczak Law - 58 Winter Street, Ste. 400, Boston, MA 02108 –
   617-669-6972.

   Knowledge of: his representation of Kira Wahlstrom in premises liability case; of the
   2010 Contingent Fee Agreement, Referral Agreement with O’Toole, and the 2015
   Contingent Fee Agreement; the fee arrangement between Keenan and Hoey under the
   2015 Contingent Fee Agreement; the purpose of the 2015 Contingent Fee Agreement;
   representations made to Ms. Wahlstrom about the 2015 Contingent Fee Agreement
   and fees and expenses; the relationship between Hoey and Keenan; his attorney lien



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   and dispute with Hoey over payment in the underlying premises liability case and the
   litigation over the lien.

6. Patricia DeJuneas– DeJuneas Law LLC, One Commercial Wharf West, Boston, MA
   02110 - (617) 529-8300

   Knowledge of: Ms. Wahlstrom’s appeal and the work she and her team performed
   including drafting and filing a petition for interlocutory review, drafting and filing the
   appellate briefs, arguing the appeal, and communications with Hoey and Keenan
   concerning the appeal.

7. Robert J. Cordy – McDermott Will & Emery LLP, 200 Clarendon Street, Floor 58,
   Boston, MA 02116-5021 – 617-535-4033

   Knowledge of the work performed for Ms. Wahlstrom’s appeal.

8. Ashley P. Allen - Law Office of A.P. Allen, 19 Hemlock Road, Boxford,
   Massachusetts 01921 (617) 925-7888

   Knowledge of the work performed for Ms. Wahlstrom’s appeal.

9. Amy Goganian – Goganian & Associates, P.C. – 144 Gould Street, Suite 202,
   Needham, MA 02494 – (781)-433-9812

   Knowledge of: being retained by Hoey to handle the attorney lien dispute with
   Sobczak; communications with Hoey on strategy and litigation of the Sobczak lien;
   billings for the Sobczak lien dispute; being retained to represent Ms. Wahlstrom in
   O’Toole case; her communications with Hoey and with James Bolan regarding Hoey
   paying Goganian’s fees for the O’Toole case; billings in the O’Toole case.

10. Richard Goren – 225 Friend Street, Boston, MA 02110

   Knowledge of his representation of Keenan’s Kids Foundation, billings, and payment
   of fees in the amount of $20,824.00.

11. James Bolan - Brecher, Wyner, Simons, Fox & Bolan, P.C. – 189 Wells Avenue,
    Newton, MA, 02459 – (617) 614-1500

   Knowledge of: representing Hoey; new trial motion and order in Wahlstrom premises
   liability case; Board of Bar Overseers concern re new trial order; Sobczak lien
   dispute; the O’Toole dispute; receipt of $8,432.39 for fees billed to Ms. Wahlstrom.

12. John Vail – John Vail Law, PLLC – 1025 Thomas Jefferson Street, NW Suite 810,
    Washington, DC 20007 – (202) 589-1300




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            Knowledge of receiving $2,655.00 for “constitutional law advice” billed to Ms.
            Wahlstrom.

       13. Catherine Giordano – PO Box 412 – North Reading, MA 01864 – (978) 276-0645

            Believed to have knowledge of receiving the amount of $1,316.00 for “research and
            writing” as billed to Ms. Wahlstrom.

       14. Andromedia Sweeney – 5375 Sunny Ridge Place, Paso Robles, California 93446

            Knowledge of Ms. Wahlstrom’s reaction when she realized that her attorneys Hoey
            and Keenan deceived her and overcharged her, taking fees to which they were not
            entitled and charging unreasonable expenses.


   20. As to each expert witness that you intend to consult and/or call at trial, state the
       expert’s name and address, the subject matter on which the expert is expected to
       consult or testify, the substance of the facts as to which the expert is expected to
       consult or testify, the substance of the opinions that the expert is expected to
       express, and a summary of the grounds for all such opinions.

Response:

        Objection as premature as of this time. Pursuant to Judge Stearns’ Scheduling Order at
Dkt. No. 25: “If a party intends to utilize an expert, they must file a notice on the docket no later
than 2/9/23, in order for the court to consider whether an expert is appropriate and, if so, to alter
the existing schedule.” Ms. Wahlstrom will comply with the Court’s Order.




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Date: December 20, 2022                    /s/ Bridget A. Zerner
                                           Bridget A. Zerner (BBO #669468)
                                           Markham Read Zerner LLC
                                           One Commercial Wharf West
                                           Boston, MA 02110
                                           Tel: (617) 523-6329
                                           Fax: (617) 742-8604
                                           bzerner@markhamreadzerner.com
                                           Counsel for Plaintiff Kira Wahlstrom


                           CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2022, this document was served by electronic mail
on counsel of record using the email addresses registered on the CM/ECF system.

                                    /s/ Bridget A. Zerner
                                    Bridget A. Zerner




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  EXHIBIT D
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                                                                 Page 1
                  UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

                                   C.A. NO.:    1:22-cv-10792-RGS



    KIRA WAHLSTROM,

                Plaintiff,

    V.

    DAVID J. HOEY, LAW OFFICES OF DAVID J.

    HOEY, P.C., DON C. KEENAN, D.C.

    KEENAN & ASSOCIATES, P.C. D/B/A THE

    KEENAN LAW FIRM, P.C., AND THE KEENAN'S

    KIDS FOUNDATION,    INC.

                Defendants.                                               I

                                                                          I




                                                                          ;
           AUDIOVISUAL DEPOSITION OF KIRA WAHLSTROM



          Wilson Elser Moskowitz Edelman & Dicker LLP
                                                                              i

                  260 Franklin Street, 14th Floor

                     Boston, Massachusetts 02110



                         January 31, 2023

                       9:56 a.m. - 3:17 p.m.



               JENNIFER M. VAILLANCOURT, CSR, RPR


                  Dunn Reporting Services,      Inc.
                           617-422-0005
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                APPEARANCES                                                             INDEX PAGE
         ON BEHALF OF THE PLAINTIFF:
           BRIDGET A. ZERNER, ESQ.
                                                                               AUDIOVISUAL DEPOSITION OF KIRA WAHLSTROM
                                                                                      EXAMINATION       RE-EXAMINATION
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           617 523 6329                                                        BY MS ZERNER     233
           Bzemer@markhamreadzemer.com
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     3             interrogatories                                         4             THE VIDEOGRAPHER: We are on the record.
     4                                                                     5     This is the videotaped deposition of Kira Wahlstrom.
     5    (Original exhibits retained by Ms. Knipper.)                     6              My name is Cameron Dunn. The court reporter
     6                                                                     7     is Jennifer Vaillancourt. We are both from the firm
     7                                                                     8     of Dunn Reporting Services Incorporated located in
     8                                                                     9     Woburn. Massachusetts.
     9
                                                                      10                 This deposition is taken on behalf of the
10
                                                                      11         defendants in the matter of Kira Wahlstrom Versus
11
                                                                      12         David J. Hoey, Law Offices of David J. Hoey, et al mn
12
                                                                      13         the United States District Court for the District of
13
                                                                      14         Massachusetts, Civil Action Number 122, dash, CV.
14
                                                                      15         dash, I 0792. dash, RGS.
15
16                                                                    16                 Today's date is January 31st, 2023. The
17                                                                    17         time is 9:57 a.m. We are currently at the offices of
18                                                                    18         Wilson Elser, 260 Franklin Street, Boston,
19                                                                    19         Massachusetts 02110.
20                                                                    20                  Counsel will now state their appearances,
21                                                                    21         and the court reporter will administer the oath.
22                                                                    22                  MS. ZERNER: Good morning. Bridget Zerner
23                                                                    23         of Markham Read Zerner for the plain ti ff Kira
24                                                                    24         Wahlstrom.




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                                                Page 6                                                        Page 7
 1          MS. KNIPPER: Good morning. Christine               1           MS. ZERNER: Yes.                                 I
 2   Knipper with Wilson Elser for the defendants David        2           MS. KNIPPER: And witness will read and
 3   Hoey and Law Offices of David J. Hoey.                    3   sign?                                                    I
 4          MR. LIBERTY: Good morning. John Liberty            4          MS. ZERNER: Yes. We'll see.
 5   for David J. Hoey and Law Offices of David J. Hoey.       5          MS. KNIPPER: Okay.                             l
 6          MR. O'CONNOR: Jack O'Connor for Don Keenan         6          MS. ZERNER: We'll talk to her if she wants
 7   and Keenan Law Firm.                                      7   to do that.
 8          MR. TAYLOR: William Taylor for Keenan's            8          MS. KNIPPER: All right.                        l
 9   Kids Foundation.                                          9      Q. Where do you live, ma'am?
10          KIRA WAHLSTROM, the witness, having been          10      A. In California.
11   satisfactorily identified and duly sworn by the Notary   11      Q. Okay. And do you live at the same address
12   Public, was examined and testified as follows:           12   that you lived at when you answered the interrogatory
13          EXAMINATION                                       13   answers in this case?
14          BY MS. KNIPPER:                                   14      A. Yes.
15      Q Good morning, Ms. Wahlstrom.                        15      Q. And when did you move to California, month
16      A. Good morning.                                      16   and year?
17      Q. Can you please state your name for the             17      A. Month and year, in -- in July technically, I      i
18   record                                                   18   guess, of 2020.
19      A. Kira Wahlstrom.                                    19      Q. And where did you live before you moved to
20          MS. KNIPPER: Ms. Zerner, all objections,          20   California?
21   except as to form, reserved until the time of trial?     21      A. Haverhill, Massachusetts.
22          MS. ZERNER: Agreed.                               22      Q. And how long had you lived in Haverhill?
23          MS. KNIPPER: Motions to strike reserved           23      A. Oh, boy. I -- 16 years maybe.
24   until the time of trial'                                 24      Q. At the same address?

                                                Page 8                                                        Page 9
 1       A. No, different addresses.                           1      Q. -- we have a clear record. In addition, I'm
 2       Q. And do you currently work?                         2   not the most eloquent person in the world, so if you
 3       A. No.                                                3   do not understand one ofmy questions, let me know,
 4       Q. When was the last job that you held?               4   and I will do my best to rephrase it. Otherwise. I
 5       A. In 2019.                                           5   will assume that you have understood what I asked.
 6       Q. And where was that?                                6   Fair?
 7       A. At Target.                                         7      A. Yeah.
 8       Q. In Massachusetts?                                  8      Q. Okay. But just please wait until I'm
 9       A. Yes.                                               9   completely done before you start answering, and I, in
10       Q. And you've testified before; is that              10   turn, will try to do the same.
11    correct?                                                11      A. Okay.
12       A. 1 have.                                           12      Q. Thank you, ma'am.                               1!
13       Q. And you've been deposed before; is that --        13          And how long did you work at Target?
14       A. I have.                                           14      A. I started there in 2015, so for four years
15       Q. -- correct?                                       15   just about.
16            MS. ZERNER: If! could just --                   16      Q. And prior to that, where did you work?
17       Q. Just one thing, if you could please wait          17      A. During the same time, I've worked at
18    until I'm fully done with --                            18   different night clubs and I worked at a school.
19       A. I know. It's a bad habit.                         19      Q. And what was the school?
20            MS. ZERNER: And you just did it again.          20      A. Hill View Montessori Charter Public School.
21       Q. -- with my question, I know you're going to       21      Q. And why did you quit working at Target in
22    anticipate what I'm going to say, but -- on a lot of    22   20192
23    the questions, but please wait so that --               23      A. Because I was going to move to California.
24       A. Uh-huh.                                           24      Q. When did you make the plan to move to




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                                                 Page 14                                                    Page 15
 1      A. 2009, May 2009 I believe.                           1   Exhibit Number 2 the February 20 IO fee agreement that
 2      Q. And prior to you receiving the 20 IO fee            2   you signed?
                                                                                                                            I
 3   agreement with David's law firm, had you met with         3      A. (Witness viewing document.) Yes.
 4   David'                                                    4      Q. And did you read it before you signed it?
 5      A. Prior to signing it?                                5      A. (Witness viewing document.) Yes.
 6      Q. Yes.                                                6      Q. And if you go to paragraph 5 on the first
 7      A. Yes.                                                7   page.                                                    I
 8      Q. And where had you met with David?                   8      A. (Witness viewing document.) Okay.
 9      A. At his office.                                      9      Q. Do you see that?
10      Q. And how many times had you met with David?         10      A. (Witness viewing document.) Yes. I see it.
                                                                                                                            1
11      A. I think only once, but I don't remember            11      Q. And did you understand at the time that you
12   exactly.                                                 12   would be responsible for reasonable expenses in
13      Q. But it's your memory that you met with him         13   relation to your case, is that correct, if there was a
14   at least once.                                           14   recovery?
15      A. Yes. before -- yeah, before I signed it.           15      A. If there was a recovery, yes.
16      Q. Was Austin there when you met with David'          16      Q. Okay. And you understood at the time that
17      A. The first -- yeah, I believe he was.               17   your lawyer could borrow money to finance the case; is
18      Q. And was that at Austin's office or David's         18   that correct
19   office?                                                  19      A. Yes.
20      A. No, David's office.                                20      Q. Okay. And you also understood that you were
21          MS. KNIPPER: We can mark this as 2.               21   responsible for reimbursement of any interest charge
22          (Exhibit-2, 2010 Contingent fee agreement,        22   or related expenses in relation to the financing of
23   marked for identification.)                              23   your case; correct
24      Q. Do you recognize what's in front of you as         24      A. Yes.


                                                 Page 16                                                     Page 17
 1      Q. And let me show you what we'll mark as              1      A. Yes.                                             I
 2   Exhibit Number 3.                                         2      Q. And did you understand, at the time you
 3         (Exhibit-3, 2015 Contingent fee agreement,          3   signed this agreement, that you would be responsible
 4   marked for identification.)                               4   for reimbursement of interest charges and related
 5      Q. And I've put in front of you what we've             5   expenses incurring -- incurred in relation to
 6   marked as Exhibit Number 3. Do you recognize this         6   financing the case?
 7   document as the agreement that you signed in June 2015    7      A. Yes.
 8   and the fee agreement with Don Keenan and his firm"       8      Q. Now, when did you first meet Attorney
 9      A. (Witness viewing document.) Yes.                    9   Keenan?
10      Q. And going to paragraph 5. it's on the second       10      A. I don't remember the year. but it was before
11   page, this paragraph makes you responsible for           11   --I met him at a hotel. David -- he was in town for
12   expenses and disbursements if there's a favorable        12   something, and I met -- David had me come to the hotel
13   decision; is that correct?                               13   where he was speaking, and I met him there, 1 think is
14          MS. ZERNER: Objection.                            14   the first time I met him before trial, and I don't --
15          Go ahead.                                         15      Q. Where --
16      A. (Witness viewing document.) Yes.                   16      A. I'm sorry.
17      Q. Did you understand that if there was a             17      Q. Go ahead. Finish your answer.
18   favorable disposition in the legal matter, that you      18      A. And then I--I didn't see him again until
19   would be responsible for reasonable expenses and         19   trial.
20   disbursements'?                                          20      Q. And --
21     A.   Yes.                                              21      A. I don't remember the year.
22      Q. And did you understand, at the time you            22      Q. Okay. Was that in 2014 or 2015? You don't
23   signed this agreement, that the attorney could finance   23   remember.
24   the case and borrow funds to finance the case"           24      A. I have no idea. I really don't remember,




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                                               Page 18                                                      Page 19
 1   but it was before trial.                                  1     A.     I know. I'm sorry.
                                                                                                                            I
 2      Q. II were to represent to you that you met            2     Q.     -- with me and let me finish.
 3   him in February 2015 at a DoubleTree Hotel, would that    3     A.     I know. I'm so sorry.
 4   comport with your memory?                                 4     Q.     Thank you.
 5      A. Well, I know I met him at a hotel. I--I             5          And as a result of that meeting, did you
 6   don't think -- I don't remember if it was the             6   make a decision that you wanted to bring Mr. Keenan on
 7   DoubleTree. It was --[ thought it was, like, in           7   board?
 8   Woburn. but I'm not -- I don't-- I really don't           8      A. It was suggested to me by David that it was
 9   remember.                                                 9   a good move for my case and that it -- that's -- it
10      Q. And did you meet with him alone at the time?       10   was something we should do. so, yes.
11      A. I don't remember. I think -- I thought             11      Q. And you agreed to that.
12   David was there and -- and -- yeah.                      12      A. I agreed to that.                                  I

13      Q. After -- do you remember David introducing         13      Q. Okay. And that was before -- a few months
14   you to Mr. Keenan?                                       14   at least before you signed the tee agreement; correct?
15      A. Yeah. I remember him introducing me at             15      A. It was before I signed the fee agreement,
16   the -- at the hotel. He was there with me.               16   yes.
17      Q. And after you were introduced, do you              17      Q. Now, when you signed the fee agreement, do         :
18   remember if you met with Mr. Keenan alone?               18   you remember where you were located, the 2015
19      A. I don't remember if! was alone. I thought          19   agreement'?
20   we all sat at a table.                                   20      A. The 2015 agreement I believe I went in to
21      Q. You can't say either way as you sit here --        21   David's office to sign it.
22      A. I can't say either way.                            22      Q. Do you know that for certain?
23      Q. -- today.                                          23      A. Yes, I...
24          If you could please bear --                       24      Q. Do you know if you met with David or Kris


                                               Page 20                                                      Page 21
 1   Sobczak?                                                  1   day that's reflected on the agreement or on another
 2      A. I believe it was David.                             2   day?
 3      Q. Do you remember what day of the week it was?        3      A. I--I believe I signed it on the 6-19
 4      A. No.                                                 4   because I signed it in the blue ink. so I signed it on
 5      Q. Do you remember if it was on the day that           5   the day that I--I would imagine. I wouldn't write a
 6   you signed it?                                            6   different date I don't think.
 7      A. What do you mean? I'm sorry. I don't                7      Q. And is that your signature on the 6-19-2015?
 8   understand if it was on the day I signed it.              8      A. (Witness viewing document.) On the last
                                                                                                                            ]
 9      Q. If you could look at the last page, there's         9   page?
10   your signature on your -- on the last page of Exhibit    10      Q. No, on the date 6-19-2015.                         I
11   Number 3.                                                11      A. (Witness viewing document.) ls this my
12      A. (Witness viewing document.) Right.                 12   writing?
13      Q. ls that your signature?                            13      Q. Yes. ma'am.
14          Okay. And that's blue -- blue ink; correct        14      A. (Witness viewing document.) I -- it could
15      A. (Witness viewing document.) Correct.               15   be. I would imagine it is. It almost looks a little
16      Q. Okay. And if you look at the top of the            16   bit like David's, but I don't know. I don't know if I
17   first page, there are two dates.                         17   wrote the date or not.
18      A. (Witness viewing document.) Right.                 18      Q. Okay. And did you initial on the right-hand
19      Q. Do you remember on which day -- well do you        19   side at each one of the paragraphs where initials
20   see the day of 6-19-20152                                20   appear?
21      A. (Witness viewing document.) Uh-huh.                21      A. (Witness viewing document.) Yes. I did.
22      Q. Is that a yes?                                     22      Q. And which one is your initial?
23      A. Yes. Sorry.                                        23      A. (Witness viewing document.) The one in the
24      Q. ls it your memory that you signed it on that       24   blue ink.

                                                         --

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 1       Q. Was -- when you initialed this, was the DC       1   11th, yes.
 2   -- DCK initial below that already there?                2      Q. Okay. Did you know when you received this
 3       A. I believe it was already there.                  3   particular e-mail whether or not David had actually
 4       Q. Before you signed it, had you seen a copy of     4   read the agreement?
 5   this?                                                   5      A. If -- I'm sorry. If David had read the
 6       A. When I went in to the office to sign it is       6   agreement?
 7   the first time I saw a copy of it.                      7      Q. Yes.
 8       Q. And did you read it before you signed it?        8      A. I don't-- I don't know.
 9       A. I did look it over, and David had explained      9      Q. You don't know; correct?
10   it to me in an e-mail, so ...                          10      A. Right.                                         I
11       Q. At the time that you signed it, you read it     11      Q. Okay. And did you ask him any questions
12   over; is that correct?                                 12   when you met at the office with whoever you met with
13       A. I looked it over. I don't remember if I         13   about the fee agreement?
14   read every paragraph, but I believe I--I did.          14      A. I don't remember if I did. I know that I
15       Q. And the e-mail that you're referring to is      15   asked him here, but I--I don't know if we talked
16   the e-mail that you attached to your complaint; is     16   about it when I signed it at the office.
17   that correct                                           17      Q. And, as you sit here today, is it your
18       A. Yes.                                            18   memory that it was David Hoey, not Kris Sobczak that
19       Q. And it's an e-mail dated June 11, 2015. Is      19   you met with?
20   that the e-mail chain you're referring to              20      A. I--I believe it was David to my memory.
21       A. I don't remember if that was the date.          21      Q. Can you say that with certainty?
22       Q. If you look at the Exhibit Number I, it's       22          MS. ZERNER: Asked and answered.
23   Exhibit C2.                                            23      A. Yeah. I don't -- that's all.
24       A. (Witness viewing document.) Oh, so June         24      Q. Can you say it with certainty?


                                             Page 24                                                      Page 25
 1      A. From what I remember, I thought it was David      1          Did you meet with Kris Sobczak?
 2   that I met with, yes.                                   2     A.    I-- there were times I met with Kris, yes.
 3      Q. Prior to going to the office to sign this         3     Q.    Okay. And you met with him alone.
 4   agreement, your case had been ongoing since 20 IO;      4     A.     I'm sure I did, yes.
 5   correct"?                                               5     Q.     Okay. And -- Strike that.
 6      A. Correct.                                          6          Were you aware, prior to your first meeting
 7      Q. And Sobczak had worked on your -- Kristopher      7   with Mr. Keenan, of his focus group work on your case?
 8   Sobczak or Krzysztof Sobczak -- do you know who that    8      A. I can't -- I don't know if I -- David could
 9   is, by the way?                                         9   have told me about it, but I don't remember. I can't
10       A. Yes.                                            10   recall that right now.
11       Q. Okay. When did he start working on your         11      Q. You can't say either way.
12   case?                                                  12      A. Yeah.
13      A. I--I do not know a date.                         13      Q. It's possible that David could have told you
14       Q. Okay. Had it been more than a year?             14   about it; correct?
15       A. I, honestly, don't know when he started         15      A. But I don't remember, yeah.
16   working at David's office and when he started on my    16      Q. Did you have an understanding as to why Don
17   case. That I don't have any knowledge of.              17   Keenan was brought on the case
18       Q. Had you met him on a number of occasions        18      A. I-- David told me it was a good addition to
19   before the trial'?                                     19   my team and that he was a great lawyer and that it       ld
20       A. Yes.                                            20   would benefit us.                                        i
21       Q. And when you went to David's office from        21      Q. Do you remember anything else as to why
22   time to time --                                        22   David -- what David expressed to you as to why he
23       A. Did I--                                         23   would come on board?
24       Q. -- did you meet on the case?                    24      A. Other than he was good for the case, I mean,




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                                               Page 26                                                       Page 27
 1   not -- I don't think so, not to my memory.                1      Q. Okay. Do you have any reason to believe, as
 2      Q. Do you remember that prior to Mr. Keenan            2   you sit here today, that an offer above 450 had been    I
 3   coming on board the last offer that was made by the       3   made before Don Keenan came on board'?
 4                                                             4
                                                                                                                           I
     defendants was $450,000 on your case?                            A. I have no knowledge. I don't know a
 5      A. I don't remember. I don't have a memory for         5   timeline on that. if Don was involved or not.
 6   when the amounts were.                                    6          MS. KNIPPER: lfwe can mark this as the           I
 7      Q. Do you remember what was last offered prior         7   next exhibit.
 8   to trial by the defendants?                               8          (Exhibit-4, September 20, 2014 e-mail chain,
                                                                                                                         1!
 9      A. I don't remember the exact amount. no.              9   marked for identification.)
10      Q. Was it less than 2 million?                        10      Q. Do you have in front of you Exhibit Number
11      A. I thought it was about 2 million, but I            11   4
12   really don't remember right now the timeline of          12      A. (Witness viewing document.) Yes.                I
13   amounts.                                                 13      Q. And do you see that this is an e-mail from
14      Q. And do you remember if -- there was a              14   Kris Sobczak to various attorneys dated September 10,
15   mediation at a particular point in time in your case;    15   2014?
16   is that correct?                                         16          Do you see that at the top?
17      A. I believe there was more than one. I was           17      A. (Witness viewing document.) Yes.
18   never at them, so I don't have --                        18      Q. Okay. And it attaches a letter if you turn
19      Q. Okay.                                              19   to the second page.
                                                                                                                          1
20      A. -- a memory of -- of them exactly.                 20      A. (Witness viewing document.) Okay. Yes.
21      Q. Did you understand what offers -- at the           21      Q. Okay. And the letter on the second page is
22   time, you understood what offers had been exchanged at   22   dated September 10, 201 4. Do you see that?
23   the mediation from your counsel; correct?                23      A. (Witness viewing document.) I do.
24      A. Yes. David explained them to me.                   24      Q. And it references rejecting a 450.000 dollar


                                              Page 28                                                        Page 29
 1   joint offer of settlement. Do you see that?               1      A. The other side, is that what we're talking
 2      A. (Witness viewing document.) Yes, I do.              2   about"
 3      Q. Does this refresh your recollection that as         3      Q. Yes. meaning the other side winning.
 4   of late 2014 the offer on the table from the              4      A. I'm sure we did have a conversation about
 5   defendants was 450?                                       5   it. We talked about a lot of things. I'm sure we had
 6      A. (Witness viewing document.) Yes, I see that.        6   a conversation at one point that there was always the
 7      Q. Do you remember having any discussions with         7   possibility that we didn't win, and that...
 8   David at around this letter or after, before              8      Q. And you understood that you could lose;
 9   Mr. Keenan came on, about what needed lo happen for       9   correct?
10   purposes of your trial and securing a verdict for you    10      A. Yeah. Yeah.
11      A. David and I talked a lot about my case and         11      Q. When you signed Exhibit Number 3. you
12   what needed to happen. yes, and. like I said. bringing   12   understood that David was going to -- David's firm was
13   Don on, he told me was a good thing to do, so that's     13   going to receive a portion of the fee; is that
14   what we did.                                             14   correct?
15      Q. But besides a good thing to do, as you sit         15      A. Yes.
16   here today, do you know what he expressed to you --      16      Q. And when you signed Exhibit Number 2, you
17      A. I don't remember --                                17   understood that Mr. Austin O'Toole was going to
18      Q. Do you remember what he expressed to you?          18   receive a portion of the fee: is that correct?
19      A. Sorry. I don't remember the exact                  19      A. Yes.
20   conversation. no.                                        20          MS. KNIPPER: Okay. lfwe can mark this as
21      Q. Did you ever have a conversation with David        21   Exhibit Number 5.
22   before -- before you agreed for Don to come on the       22          (Exhibit-5, February 2, 2010 letter, marked
23   case about the possibility of a defense verdict in the   23   for identification.)
24   case"                                                    24      Q. Do you recognize Exhibit Number 5?




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                                                                                         (Pages 30 to 33)
                                              Page 30                                                       Page 31
 1      A. (Witness viewing document.) Yes.                    1      A. I don't remember.
 2      Q. And what do you recognize it to be?                 2      Q. Now, what was your understanding in 20 IO and
 3      A. It was I guess -- I don't know how to               3   in 2015 of who would pay the expenses if you lost?
 4   explain it, but a referral fee thing for Austin.          4      A. My understanding of that would be --I--I
 5      Q. And it's your signature at the bottom.              5   guess I assumed David's law firm.
 6      A. (Witness viewing document.) Yes.                    6      Q. Meaning they would just eat it; right?
 7      Q. And it's dated 2 -- is that 2-16-2010?              7      A. I mean, I guess I didn't really think -- sit
 8      A. (Witness viewing document.) That's what I           8   and think about it 'cause I didn't really want to
 9   believe it says, yes.                                     9   lose. so -- but my understanding from that is that.
10      Q. Okay. And is the date on the bottom                10   yes, David's law firm would cover it.
11   right-hand corner next to your signature, is that your   11      Q. And you understood at the time both in 2010
12   handwriting?                                             12   and 2015 and after that David's office was advancing
13      A. (Witness viewing document.) I believe so.          13   money on your behalf for your case; correct?
14   yes. It looks like --                                    14      A. Yes.
15      Q. And where were you --                              15      Q. And he did that for the appeal as well;               I:
16      A. -- min.                                            16   correct?
17      Q. Sorry.                                             17      A. Yes.                                                  I
18      A. Sorry. It looks like mine.                         18      Q. Did you ever ask him at any point in time
19      Q. Okay. And where were you when you signed           19   how much the case was costing Attorney Hoey's firm?
20   this letter?                                             20      A. I don't know ifwe had any real conversation
21      A. I have no memory of that. I don't know if I        21   about it. I know that it was costing him money, but I
22   was at home or at David's office.                        22   can't remember ifwe sat down and had conversations
23      Q. Do you know if you signed it at the same           23   about the exact cost of anything.
24   time that you signed Exhibit Number 2?                   24          I don't believe we did. I know it was


                                              Page 32                                                       Page 33
 1   expensive and I know he had to take out a loan, but I     1     A.    Yes.
 2   don't think we ever went into detail about anything.      2     Q.    WIN Interactive was being retained; correct?
 3      Q. And you couldn't afford to advance the              3          MS. ZERNER: Objection.
 4   funds; correct?                                           4      Q. You understood that WIN Interactive -- WIN
 5      A. No.                                                 5   Interactive was retained; correct?
 6      Q. When you -- did you ever have an                    6      A. Yes.
 7   understanding up until the time of trial what David's     7      Q. And you understood that they were working on
 8   firm was paying from their own pocket versus what was     8   your case; correct?
 9   being financed?                                           9          MS. ZERNER: Objection.
10      A. No.                                                10          Vague.
11      Q. Did you understand that it was a mixture of        11      Q. Did you understand that WIN Interactive was
12   both?                                                    12   working on your case
13      A. Yes.                                               13      A. I understood they made a video. I don't
14      Q. And you understood that what was being             14   know if I would consider it working on my case, but I
15   financed, if you lost, Attorney Hoey's firm or           15   don't know if that's the right terminology, but, yes.
16   Mr. Keenan's firm would be responsible for it.           16   I know they made a video.
17      A. Looking back on that, yes, I know that. Was        17      Q. When was the first time that you learned of
18   that a thought process at the time? No.                  18   WIN Interactive's assistance on your case?
19      Q. You didn't consider it.                            19      A. I don't remember if it was David or Kris
20      A. No.                                                20   that told me about a video.
21      Q. But you knew that work was getting done on         21      Q. ls it your testimony that besides them doing
22   your case; correct?                                      22   a video that that's -- knowing that they were doing a
23      A. Yes.                                               23   video, that's your only knowledge of their involvement
24      Q. Experts were being retained; correct?              24   on the case?




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                                                                                         (Pages 34 to 37)
                                              Page 34                                                       Page 35
 1      A. I knew about the video being made, and I            1      Q. Okay. It's your memory that he was there
 2   went in to-- when they were there, to tell them what      2   when you met with the folks from WIN Interactive.
 3   happened to me so that they could make the video, but     3      A. Yes.
 4   other than that involvement, I don't know if they were    4      Q. What was your understanding at the time as
 5   doing anything else on the case, if that's the            5   to why the animation was being created?
 6   question. I don't understand -- understand if that        6      A. I don't know if! was ever told that but --
 7   was what you were asking.                                 7   or I just assumed. but I-- it was in case, I guess, I
 8      Q. What was your participation in the creation         8   couldn't testify or I wasn't able to get on the stand.
 9   of the animation                                          9      Q. And did David or Don explain that to you or
10      A. I explained to them how I was raped and what       10   both?
11   happened to me and the rest of the attack.               11      A. Don I never spoke to. I met him that one
12      0. And how long did you meet with WIN                 12   time and then I didn't see him again till trial, but
13   Interactive?                                             13   David would have been my contact. Maybe Kris would
14      A. I have no recollection of time.                    14   have told me. I don't know, but mostly David was my
                                                              15                                                            I
15      0. Was it more than an hour, more than two                 contact.
16   hours"                                                   16      Q. But somebody told you; correct?
17      A. I don't remember.                                  17      A. Yes.
18      Q. Was it more than over one-day period?              18      Q. Okay. Did you ever ask questions about why
19      A. No. It was one time that I recall.                 19   it may be necessary?
20      Q. And do you remember who you met with9              20      A. I don't remember our conversation exactly
                                                                                                                            ':
21      A. No clue. I know Kris was there, but I don't        21   about it.
22   know the people from WIN-- sorry -- the interactive.     22      Q. So they could have told you, but you don't
23      Q. And meaning Kris was Kris Sobczak; correct?        23   remember. as you sit here today --
24      A. Yes. Sorry.                                        24      A. Right.


                                              Page 36                                                        Page 37
 1     Q.    -- correct?                                       1   don't have a recollection of talking about it in
 2          Okay. And do you remember describing to the        2   detail.
 3   folks from WIN Interactive in as much detail as           3      Q. Did you understand that it could be
 4   possible what had happened to you?                        4   challenged by JPA and the other folks on the defense
 5      A. Do I remember what I said or do I remember          5   side?
 6   doing it?                                                 6      A. I don't know if-- I don't know if I have --
 7      Q. No. Do you remember the process, that you           7   knew that. I didn't --
 8   described it to them in as much detail as possible?       8      Q. It's possible that you were told.
 9      A. I believe I did. I tend to block those              9      A. I--I don't know. As I--I really don't
10   things out when I'm doing it. so, yes, I know I          10   know. as I sit here, and I don't -- didn't under --
11   described my rape in detail to them. That's all I can    11   yeah, I mean. I knew it was being made. I knew that
12   say to it.                                               12   it might be used in court.
13      0. And did you review the animation to verify         13      Q. Did you ask how much it would cost'.'
14   its accuracy                                             14      A. No, I did not. I don't think I did.
15      A. I've never seen the animation.                     15      Q. But you knew that somebody was paying for it
16      Q. Did you understand that it served a purpose        16   and it was your lawyer's team; right?
17   outside of trial?                                        17      A. Yes. I knew David's firm was paying for it.
18      A. I--I don't know that. I don't have an              18   Well, I assumed.
19   answer for that.                                         19      Q. Do you have any understanding as to whether
20      Q. David, Kris, or somebody could have                20   it was -- well, strike that.
21   explained it to you from your lawyer's team, but. as     21           You were prepared for -- to testify at
22   you sit here today, you don't remember.                  22   trial; correct?
23      A. Right. I mean, I just knew it was in case I        23      A. Yes.
24   couldn't get on the stand, but other than that, I        24      Q. And you met with counsel to prepare you for




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                                                                                         (Pages 38 to 41)
                                              !?age 38                                                     !?age 39
 1   trial; correct?                                           1   that.
 2      A. Yes.                                                2       Q. Did you ever raise concerns about having to
 3      Q. How many times did you meet?                        3   testify?
 4      A. Oh, I don't know. A lot. I couldn't tell            4       A. I was nervous and scared to testify, but
 5   you.                                                      5   it's what I had -- was supposed to do, I mean.
 6      Q. And they went through direct. potential             6       Q. Did you ever express that you didn't want to
 7   cross questions. They did all of that with you;           7   testify?
 8   right?                                                    8       A. I didn't want to testify, but I knew I had
 9       A. Yes.                                               9   to.
10      Q. Okay. Do you know how they prepared for            10       Q. And you understood that your team was going
11   your preparation?                                        11   to try to do everything possible to get the case to
12      A. I believe they -- I believe David told me          12   verdict and to get a good outcome for you: correct?
13   they did practices also just like I was doing.           13       A. Correct.
14      Q. And it's your testimony, as you sit here           14       Q. And you saw them do it; correct?
15   today. that you never reviewed the animation to verify   15       A. Yes.
16   its accuracy.                                            16       Q. Now, at some point case goes to trial.
17      A. Correct.                                           17   Verdict comes down. Judge Wilson throws out the
18      Q. Did you ever raise concern -- well, strike         18   verdict. Do you remember that?
19   that.                                                    19       A. Yes.
20           Was Mr. Keenan there when you were being         20       Q. Okay. Appeal ensues. Do you remember that?
21   prepared for -- to testify at trial?                     21       A. Yes.
22      A. Yes, yes, when he was there, I mean. I             22       Q. Okay. The appeal is successful; correct?
23   didn't -- preparing at the hotel. we prepared at the     23       A. Yes.
24   hotel; we prepared at Suffolk Law, he was there for      24       Q. Okay. And then the insurers for the


                                              Page 40                                                      !?age 41
 1   defendants wire the funds to Don Keenan's office. Do      1      A. No.
 2   you remember that?                                        2      Q. Do you remember when it was?
 3      A. Yes.                                                3      A. I want to say it was mid-December. but I
 4      Q. Okay. And you don't dispute that the funds          4   don't remember the exact day.
 5   were wired to Don Keenan's office; correct?               5      Q. It was in what?
 6      A. Yeah. No. I don't dispute that.                     6      A. December of 20 -- 2019.
 7      Q. Okay. And you don't dispute that Attorney           7      Q. Do you remember getting an Excel spreadsheet
 8   Hoey's firm did not get the 9-plus million from the       8   from David outlining the various expenses via e-mail?
 9   insurance carriers for the defendants; correct?           9      A. Yes.
10         MS. ZERNER: Objection.                             10      Q. Do you remember, as you sit here today. if
11      A. Yeah.                                              11   you met with David to go over the expenses before or
12         MS. ZERNER: Go ahead.                              12   after you received that Excel spreadsheet?
13      A. I mean, I know it was wired to Don.                13      A. Before.
14      Q. Okay.                                              14      Q. So you met with him before, and it's your
15      A. I mean, I didn't -- that wasn't, like, a           15   testimony that you received the Excel spreadsheet
16   thought process.                                         16   after.                                                  '
17      Q. And when did you learn of that?                    17      A. Via e-mail, yes.
18      A. I guess right after it was wired or while it       18          (Exhibit-6, March 29, 2020 e-mail, marked
19   was wired David told me.                                 19   for identification.)
20      Q. And at some point in time, you sat down with       20      Q. Do you have Exhibit 6 in front of you?
21   David, correct. and went over the expenses?              21      A. (Witness viewing document.) Yes. I do.
22      A. Yes.                                               22      Q. It's an e-mail dated March 29, 2020. Do you
23      Q. Okay. Do you remember what day of the week         23   see that?
24   that was'?                                               24      A. (Witness viewing document.) Yes.




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                                                                                         (Pages 42 to 45)
                                               Page 42                                                      Page 43
 1      Q. And it's from David to you; is that correct?        1      Q. Okay. And, by the way, do you see it says
 2      A. (Witness viewing document.) Yes.                    2   before the bottom "We are actively pursuing fees and
 3      Q. And that's your e-mail address at the time.         3   costs against Sobczak Associates with this frivolous
 4      A. (Witness viewing document.) Yes.                    4   lien." Do you see that?                              I
 5      Q. Is this still your e-mail address today?            5      A. (Witness viewing document.) I do.
 6      A. (Witness viewing document.) Yes.                    6      Q. You understood, as of then certainly, that
 7      Q. Okay. And attached -- obviously, we printed         7   Mr. Sobczak was asserting a lien against you.
                                                                                                                        1i
 8   this -- attached is four pages of an Excel                8      A. That's what l was told, yes.
 9   spreadsheet. Do you see that?                             9      Q. Okay. And you understood that that lien was
10      A. (Witness viewing document.) Yes.                   10   in your case. your underlying case.
11      Q. And, obviously, because it's printed, it           11      A. I was -- I was told there was a lien against
12   doesn't print the way Excel would show on your           12   my -- my money in the case.
13   computer. Do you understand that?                        13      Q. Okay. And you understood that he was making
14      A. (Witness viewing document.) Yes.                   14   that claim against you; right?
15      Q. Okay. Do you remember receiving this at the        15      A. Yes.
16   time --                                                  16      Q. Now, let me show you what we'll mark as
17
18
        A. Yes. I'm sorry.
        Q. -- it was sent to you?
                                                              17   Exhibit Number 7.                                      :
                                                              18          (Exhibit-7, March 29, 2020 e-mail, marked
19      A. Yes.                                               19   for identification.)                                   I
20      Q. Yes. Okay.                                         20      Q. Now, before we go to Exhibit Number 7. you
21           And did you open the Excel spreadsheet?          21   see in the e-mail David says "If you have any
22      A. Yes.                                               22   questions or dispute any of the expenses, please let
23      Q. And did you read it?                               23   me know"?
24      A. (Witness viewing document.) Yes.                   24      A. (Witness viewing document.) This is on 6.


                                               Page 44                                                      Page 45
 1      Q. Yes, ma'am. Do you see that?                        1   copy for signature. question mark?" Do you see that?
 2      A. (Witness viewing document.) Yes.                    2      A. (Witness viewing document.) l do.
 3      Q. Okay. Did you ask him any questions after           3      Q. Okay. And then he says "or you can always
 4   you got this e-mail?                                      4   stop by the office. I'm the only one here." Do you
 5      A. No.                                                 5   see that?
 6      Q. Okay. Did you raise any concerns about any          6      A. (Witness viewing document.) I do.
 7   of the expenses that were outlined in the spreadsheet?    7      Q. And then you respond "Oh, I could use an
 8      A. No, at this time, I did not.                        8   outing. I'll come by this week." Do you see that?
 9      Q. Okay. And looking at Exhibit Number 7, do           9      A. (Witness viewing document.) I do.
10   you have it in front of you?                             10      Q. And then David responds to that "Thanks."
11      A. (Witness viewing document.) I do.                  11      A. (Witness viewing document.) I do.
12      Q. And -- can l see the witness's Exhibit             12      Q. Do you see that Okay.
13   Number 7?                                                13           Does this refresh your recollection that you
14          For the record, th is reattaches what was         14   went to his office to go over the accounting sheet
15   marked as Exhibit Number 6, but looking at the top       15   after -- on or after March 30h, 2020?
16   page of Exhibit Number 7 it's an e-mail chain; is        16      A. (Witness viewing document.) Yes. And, to be
17   that correct?                                            17   honest, I thought I did it before then, so I thought
18      A. (Witness viewing document.) Yes.                   18   we went over it first.
19      Q. And you respond on March 30th to David's           19          MS. KNIPPER: Ifwe could mark this as
20   March 29. 2020 e-mail. Do you see that?                  20   Exhibit Number 8.
21      A. (Witness viewing document.) l do.                  21           (Exhibit-8. Spreadsheet, marked for
22      Q. And then David responds to you, and he says        22   identification.)




                                                                                                                       -
23   do you -- after thank you, he says "Can you sign off     23      Q. Do you recognize Exhibit Number 8 as being a
24   on it from your location or should I send you a hard     24   printout of the Excel spreadsheet that you were
                                                                                                                              I




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                                                                                        (Pages 46 to 49)
                                             Page 46                                                       Page 47
 1   e-mailed on March 29, 2020?                              1      A. (Witness viewing document.) I thought we had          I
 2      A. (Witness viewing document.) Yes.                   2   met -- 1, honestly, thought we had met in, like,            I
 3      Q. When you met with David, did he give you           3   December or January about this. I just didn't have a        I
                                                                                                                              I
 4   this particular document?                                4   recollection of -- of the timeline.
 5      A. (Witness viewing document.) I believe so.          5      Q. Okay. ls it possible that you met with him
 6      Q. Bear with me. I'm going to ask you a               6   in December and January and then went -- met with him
 7   couple -- I'm going to show you a couple more            7   again to specifically go over these?
 8   documents before I ask you questions.                    8      A. A hundred percent accurate. I mean. it
 9          MS. KNIPPER: If we could mark this. We'll         9   could be that -- I mean, I met with David all the
10   mark this as Exhibit Number 9.                          10   time, so I don't necessarily have a timeline and what
11          (Exhibit-9, Distribution, marked for             11   we talked about at every meeting.
12   identification.)                                        12      Q. Okay. And looking at Exhibit Number 7.
13      Q. Now, before I ask you questions about these       13   does --
14   -- further questions, do you have Exhibit 9 in front    14      A. (Witness viewing document.) Oh, sorry.
15   of you?                                                 15   Yeah.
16      A. (Witness viewing document.) Yes, I do.            16      Q. Looking at Exhibit Number 7 where you say
17      Q. And it's your signature on each page of           17   you're going to go meet with David --
18   Exhibit Number 9.                                       18      A. (Witness viewing document.) Uh-huh.
19      A. (Witness viewing document.) Yes.                  19      Q. -- and those are March 29 and March 30th:
20      Q. And it reflects a date of March 27, 2020.         20   correct
21   Do you see that?                                        21      A. (Witness viewing document.) Correct.
22      A. (Witness viewing document.) Yes.                  22      Q. Is it possible that your date of March 27,
23      Q. Is that why you believe that you met with         23   2020 on Exhibit Number 9 is a mistake?
24   him before?                                             24      A. (Witness viewing document.) I can't answer


                                             Page 48                                                       Page 49
 l   that. It could be. It could not be. I--I don't           1      A. I have no memory of that.
 2   know how I would have been there two days before I       2      Q. You went with -- you went to see David all
 3   said I was coming, but...                                3   the time: correct?                                      I
 4      Q. It's plausible that it's a mistake.                4      A. I did.
 5      A. Absolutely.                                        5      Q. Even on weekends sometimes; correct?
 6      Q. Correct?                                           6      A. Correct.
 7      A. Absolutely.                                        7      Q    He made himself available to you all the
 8      Q. All right. And neither -- and neither you          8   time.
 9   nor David picked up on the fact --                       9      A. He --
10      A. Checked --                                        10          MS. ZERNER: Objection.
11      Q. -- that you --                                    11          Go ahead.
12      A. Sorry.                                            12      A. He was always there for me.
13      Q. -- put the wrong date; correct?                   13      Q. And when he sat down with you, he explained
14      A. Correct.                                          14   to you --
15      Q. Okay.                                             15          MS. ZERNER: Hold on one second.
16          MS. ZERNER: Take a breath.                       16          THE WITNESS: You stole my water.
17      A. Sorry.                                            17          MS. ZERNER: Oh, sorry. Shit.
18      Q. Pease wait until we're completely done with       18          THE WITNESS: It's okay.
19   the question. Thank you so much.                        19          MS. ZERNER: Excuse me.
20          Now, when you -- Was anybody else with you       20          THE WITNESS: Sorry. Go ahead.
21   when you met with David to go over what's been marked   21      Q. And when he sat down with you, he explained
22   as Exhibit Number 9 and Exhibit Number 8 in person?     22   to you each one of these categories; is that correct?
23      A. No.                                               23      A. I don't recall if he explained them all in
24      Q. And how long was your meeting?                    24   detail, but I'm sure we went over it.




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                                                                                        (Pages 54 to 57)
                                             Page 54                                                       Page 55
 1     Q.    -- page 3 --                                     1      A. (Witness viewing document.) Yes.
 2     A.    (Witness viewing document.) Yes.                 2      Q. Okay. And so going through these, the third
 3     Q.    -- Kira Wahlstrom Okay.                          3   line Advocate Capital.
 4          And so under Kira Wahlstrom, that's the           4      A. Which one are we on
 5   amount that you received; is that correct?               5      Q. Exhibit Number 8.
 6      A. (Witness viewing document.) Yes.                   6      A. (Witness viewing document.) Okay. Yes.
 7      Q. And then under attorney fee, that's the            7      Q. Okay. And you understood at the time that
 8   amount that was the attorney fee; correct?               8   this was the lender.
 9      A. (Witness viewing document.) Correct.               9      A. (Witness viewing document.) Yes.
10      Q. Which were breakdown -- which were broken         10      Q. And the entity that was helping finance your
11   down on page 1; right?                                  11   case?
12      A. (Witness viewing document.) Correct.              12      A. Yes.
13      Q. Okay. With 3.275 million to Keenan Law            13      Q. And you understood that interest was being
14   Firm, 750 to Attorney Hoey, 250 of which went to        14   charged by Advocate Capital for the amount that was
15   Austin O'Toole; correct?                                15   taken out.
16      A. Correct.                                          16      A. Yes.
17      Q. Okay. And if you look at Exhibit Number 8,        17      Q. Okay. Do you know how much money was
18   those are the same case expenses as reflected on page   18   borrowed from Advocate Capital?
19   2 with a further explanation.                           19      A. At the time, I assumed it was just 238--
20      A. (Witness viewing document.) Yes.                  20   839,000.                                                I
21                                                           21
        Q. And if you go to page 2 of Exhibit Number 8,              Q. Okay. What's your understanding today?            I
22   those are the same expenses as reflected on page 3 of   22      A. That's what I know it to be.
23   Exhibit 9 with some further explanation on the          23      Q. Did you understand that 238 to be the amount
24   right-hand column: correct?                             24   that was for the interest or the amount that was to


                                             Page 56                                                       Page 57
 1   fund the case?                                           1      A. Yes.
 2      A. I don't know if! knew it. I mean. it says          2      Q. And then if you go down to the line of Amy
 3   it was for the litigation expenses, so I guess I         3   Goganian, do you see that?
 4   assumed it was for -- to fund the case.                  4      A. (Witness viewing document.) Where is she?
 5      Q. Did you ask David any questions about it?          5   Oh, I see it, yeah.
 6      A. I don't believe I did.                             6      Q. Where there's a number of 41,000 and change,
 7      Q. And you understood at the time that there          7   do you see that?
 8   would be financing charges associated with the           8      A. (Witness viewing document.) Yes.
 9   Advocate Capital loan; right                             9      Q. And it says next to it "This is who we hired
10          MS. ZERNER: Objection.                           10   to fight the Sobczak lien." Do you see that?
11          Go ahead.                                        11      A. (Witness viewing document.) Yes.
12      A. I assumed -- I'm sure I did, yes. I don't         12      Q. Did you understand at the time that
13   know.                                                   13   Ms. Goganian was representing you with respect to the
14      Q. And there's a line for Ms. DeJuneas;              14   Sobczak lien?
15   correct'?                                               15      A. David told me that she was handling it. I
16      A. (Witness viewing document.) Yes.                  16   don't know ifl had it -- I don't know if! had a
17      Q. And you understood that Ms. DeJuneas was          17   thought process about it at this time.
18   being paid while the appeal was pending: correct?       18      Q. You understood that the Sobczak lien was
19      A. Yes.                                              19   against you; right?
20      Q. And who was paying Ms. De.Juneas. out of what     20      A. Yes. I was told it was against -- there was
21   funds?                                                  21   a lien on -- a lien on my money, and it -- that's..
22      A. I don't know out of what fonds, but I assume      22      Q. You understood that it had to be fought;
23   David Hoey's law office was paying for it.              23   correct?
24      Q. Same thing for Mr. Cordy?                         24      A. Yes.




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                                              Page 62                                                       Page 63
 1      Q. Okay. You understood that a number of               1      Q. And you agreed to pay his fee.
 2   people looked at your briefs for purposes of the          2      A. Yes.
 3   appeal; right?                                            3      Q. And that was something that was fronted by
 4      A. To be honest with you, no. I don't know who         4   my client's office; correct?
 5   looked at them.                                           5      A. I'm assuming. I don't know.
 6      Q. Did you ever ask David what type of work            6      Q. And you don't have a signed agreement with        l
 7   went in to doing the appeal?                              7   Mr. Cordy; correct?
 8      A. I don't believe so. I'm sure we talked              8      A. No.
 9   about it. We talked about a lot of things, and I          9      Q. The only person on this list that you say
10   talked with Patty a little bit about it, but I didn't    10   you have a signed agreement with is Ms. DeJuneas and
11   -- we didn't have -- I didn't go into, like, details I   11   Ms. Goganian in relation to the O'Toole litigation:
12   don't believe.                                           12   correct?
13      Q. While the appeal was ongoing, did you mainly       13      A. At this time, I didn't have a signed --
14   talk to David or Patty?                                  14   anything signed with Amy. I didn't sign anything with
15      A. I think maybe David but Patty also. but            15   Amy until after I went to California.
16   David and I were together a lot.                         16      Q. So the only -- the only attorneys on this
17      Q. Did you also talk to Mr. Cordy?                    17   list that you had a signed agreement with was
18      A. I don't think we ever talked in person.            18   Ms. DeJuneas' firm.
19
20
        Q. You understood that he was on board; right?
        A. Yeah. I talked to him when we were at
                                                              19
                                                              20
                                                                      A. And David Hoey at this time.                      I
                                                                      Q. And Don Keenan?
21   court, but I don't think I talked to him before that.    21      A. Oh, yes, and Don Keenan.                          I
22      Q. And you understand that he was helping for         22      Q. But in terms of the ones listed under this
23   your case.                                               23   first page, expenses, you did not have an agreement
24      A. Yes.                                               24   with Mr. Cordy; right?


                                              Page 64                                                       Page 65
 1      A. No, r did not.                                      1       Q. There's a paragraph about the percentages
 2      Q. Okay But you understood that he was                 2   being increased if an appeal. Do you see that
 3   working on your appeal; correct?                          3       A. (Witness viewing document.) Yes.
 4      A. Yes.                                                4       Q. And I'm paraphrasing. of course.
 5      Q. And you understood that he was expecting to         5          And you initialed on the right-hand side;
 6   be paid; correct?                                         6   right?
 7      A. Yes.                                                7       A. (Witness viewing document.) Yes.
 8          MS. KNIPPER: Okay. I have to take a short          8       Q. Okay. And you read this before you signed
 9   break.                                                    9   it.
10          THE YIDEOGRAPHER We are going off the             10       A. (Witness viewing document.) Yes.
11   record. The time is 10:59 a.m.                           11       Q. And you read it before you initialed it.
12          (Brief break from I 0:59 a.m. to 11 :08 a.m.)     12       A. (Witness viewing document.) Yes. I looked
13          THE VIDEOGRAPHER: We are back on the              13   over it.
14   record. The time is 11 08 a.m.                           14       Q. And you previously testified that you read
15      Q. (BY MS. KNIPPER) Ms. Wahlstrom, if you could       15   the 2010 agreement before you signed it; correct?
16   go back to Exhibit Number 3, it's the 2015 fee           16       A. Yes.
17   agreement with --                                        17       Q. And that agreement did not have that
18      A. Okay.                                              18   contingency in it; is that correct?
19      Q. -- Keenan Law Firm.                                19       A. Correct.
20      A. (Witness viewing document.) Got it                 20       Q. I told you the wrong hotel, and I apologize.
21      Q. You have it. Okay. If you can go to the            21   I said -- I can't remember what I said.
22   second page, and in the paragraph number 4 under 33      22       A. DoubleTree.
23   and a half percent, do you see that                      23       Q. DoubleTree. Thank you, ma'am.
24      A. (Witness viewing document.) Yes.                   24          Do you remember meeting with Mr. Keenan in




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                                             Page 70                                                       Page 71
 1   the appeal, but I don't remember specific                1   privilege that attaches, so we can argue about it on    I
 2   conversations.                                           2   another day, but note my objection to your objection.
 3      0. Okay. Did you ask her if David had done any        3          MS. ZERNER: Okay. And I -- and you can ask
 4   work on the appeal"                                      4   the question again because I'll have to hear because,
 5          MS. ZERNER: She's asking you if you asked         5   of course, there's a difference too between factual
 6   the question.                                            6   issues versus legal advice, and -- but I would just,
 7      A. I did not ask that question.                       7   for the record. say Ms. DeJuneas does not have to
 8      0. Okay. Did Patty DeJuneas relate to you any         8   appear in a case to have -- for there to be a
 9   information about the amount of work David did on the    9   privilege between a client and counsel.
10   appeal?                                                 10      Q. Does Ms. De.Juneas represent you in this
11          MS. ZERNER: I'll just make an objection to       11   case"?
12   the extent you consulted with her on legal advice       12      A. No.
13   related to the new case.                                13      Q. Do you have a fee agreement with
14      A. Yeah. I don't have an answer for that. I          14   Ms. De.Juneas concerning this case?
15   don't remember.                                         15      A. No.
16          MS. KNIPPER: Okay. I don't think there's a       16      Q. Do you have any current fee agreement with
17   privilege that attaches to that, and so we can argue    17   Ms. DeJuneas related to any case?
18   about it on another day, and I know you've noted your   18      A. No.
19   objection, but I disagree that the privilege attaches   19      Q. Did Ms. DeJuneas receive any type of
20   because Ms. DeJuneas represented Ms. Wahlstrom on the   20   referral fee in relation to your children's case'7
21   appeal along -- at the same time that Attorney Hoey     21      A. No.
22   represented Ms. Wahlstrom on the appeal.                22      Q. Did you enter into any type of agreement
23          And if she does not represent Ms. Wahlstrom      23   with Ms. De.luneas in relation to the bad faith case?
24   in this case. I do not believe that there's a           24      A. I don't believe so, no.


                                             Page 72                                                       Page 73
 1     Q.     Is that case still ongoing?                     1      A. I don't think I went through any e-mails. I
 2     A.     The bad faith case, yes.                        2   mean, I have learned of things that were in e-mails
 3      Q. Okay. The children's case is not ongoing:          3   that my attorney has shared. but I don't...
 4   is that correct?                                         4      Q. Are you aware that Ms. DeJuneas and David
 5      A. That is correct.                                   5   communicated regularly concerning your appeal?
 6      Q. That case settled; correct?                        6      A. I'm not -- I'm sure they did. I don't --
 7      A. That is correct.                                   7   I'm not -- I don't have that information though.
 8      Q. Okay. And it's your testimony that                 8      Q. Okay. Are you aware that they had strategy
 9   Ms. DeJuneas did not receive a pan of that fee.          9   calls concerning your appeal?
10      A. It is my understanding, yes.                      10      A. Firsthand knowledge, no. but I'm --I am
11      Q. Okay. And I think I just asked you this. so       11   sure they did.
12   I apologize. The bad faith case is ongoing: correct?    12      Q. Okay. Did you ever learn that -- prior to
13      A. Yes.                                              13   Ms. Zerner being retained, did you ever learn during
14      Q. What is your understanding as to when it's        14   the pendency of your appeal, after the appeal, when
15   scheduled for trial?                                    15   the expenses were disbursed, did you ever learn that
16      A. I don't have an understanding. We don't           16   they were having strategy calls?
17   have a date, as far as I know.                          17      A. David and I talked about -- all the time.
18      Q. Ifl'm understanding you correctly, is it          18   and we did talk about my appeal, but I don't remember
19   your testimony that you've never asked Ms. DeJuneas     19   if-- or know or I can't say right now that -- if we
20   about David's involvement in the appeal                 20   talked in detail about phone calls him and Patty had.
21      A. I never asked her that question, no.              21      Q. Okay. But you understood that they were
22      Q. Did you review any e-mails between                22   having those phone calls.
23   Ms. DeJuneas and David prior to the filing of the       23      A. I understood they talked, yes.
24   complaint'?                                             24      Q. Okay. Are you aware that David reviewed and

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                                                                                         (Pages 82 to 85)
                                              Page 82                                                       Page 83
 1       A. (Witness viewing document.) Yes.                   1      A. (Witness viewing document.) Okay.
                                                                                                                           I
 2       Q. You're not on this e-mail chain, but have          2      Q. -- in the middle, and I know it's a little
 3   you ever seen this e-mail before"?                        3   bit hard to read so I'm going to point right here.
 4       A. (Witness viewing document.) I will have to         4      A. (Witness viewing document.) Please do, yes.
 5   read it. I don't know.                                    5      Q. Okay. There's an e-mail from Patty to
 6       Q. Yeah. Take your time.                              6   Mr. Sobczak and David and Don Keenan and Andrew Gould
 7       A. (Witness viewing document.) I don't think          7   and Ashley Leavitt. Do you see that?
 8   I've ever seen it.                                        8      A. (Witness viewing document.) Yes.
 9       Q. Okay. I'm going to direct you -- it's a            9      Q. And it's dated July 20, 2016. Do you see
10   long e-mail chain between Patty, Kris Sobczak, David.    10   that
11   Don Keenan. Andrew Gould. Do you remember who            11      A. (Witness viewing document.) Yes.
12   Mr. Gould is?                                            12      Q Okay. And Patty says she attaches a
13       A. Yes. I do.                                        13   document and it's a simplified version. I'm
14       Q. Okay. And he worked for Mr. Keenan's              14   paraphrasing. Do you see that?
15   office; correct                                          15      A. (Witness viewing document.) I do.
16       A. Yes.                                              16      Q. Okay. And then she writes "Also, comma. I
17       Q. Okay. And Patty's on these e-mails, and           17   very strongly believe that from this point on and
18   it's about the appeal; correct'?                         18   until the appeal is resolved, comma, that your name
19       A. (Witness viewing document.) It appears to         19   should not appear on any pleadings, briefs,
20   be, yes.                                                 20   et cetera." Do you see that
21       Q. Okay. And they're going back and forth on         21      A. (Witness viewing document.) I do.
22   various things. and that's not -- I'm not going to ask   22      Q. Okay. Did you know that before reading this
23   you questions about that, but if you go to the very      23   today?
24   first page --                                            24      A. I don't think so, no.


                                              Page 84                                                       Page 85
 1      Q. Okay. And then she says "When counsel's             1   and David were there --
 2   conduct is at issue, I think their continued              2      A Yes.
 3   involvement is a distraction." Do you see that?           3      Q. -- for sure. Okay.
 4      A. (Witness viewing document.) Yes.                    4          Why didn't you ask Patty before you tiled
 5      Q. Did you understand at the time of both JPA's        5   your lawsuit why David or Kris were not on any of the
 6   motion for a new trial and the judge's decision that      6   pleadings, the appeal briefs?
 7   part of the issue, according to JPA and Judge Wilson,     7      A. Why didn't I?
 8   was counsel's conduct                                     8      Q Yes.
 9      A. Yes.                                                9      A I -- I just assumed she was my appellate
10      Q. And you understood that at the time.               10   lawyer, and that's how it worked. Her name was on it,
11      A. Yes.                                               11   and David was my -- David and Kris were my lawyers for
12      Q. And you went to the hearing for the motion         12   the other case, so they had that.
13   for the new trial.                                       13      Q Did you ever ask David what his involvement       I
14                                                                                                                        I
        A. Yes.                                               14   was in the appeal once you started raising concerns
15      Q. And was Ms. DeJuneas and Mr. Hoey sitting at       15   about the expenses in your own mind?
16   counsel's table?                                         16      A. No. I never talked to David about that.
17      A. I don't remember where everyone was sitting.       17      Q. Did you ever ask David why his name was not
18      Q. Okay. Was Ms. DeJuneas there?                      18   on the appeal briefs?
19      A. Yes.                                               19      A. No.
20      Q. Okay. Was Mr. Hoey there"                          20          MS. KNIPPER: If we can mark this as the
21      A. Yes.                                               21   next exhibit.
22      Q. Was Mr. Sobczak there?                             22          (Exhibit- 12, February 22, 2017 memo to file,
23      A. I don't remember.                                  23   marked for identification.)
24      Q. Okay. But you remember that Ms. DeJuneas           24      Q Do you have Exhibit 2 in front of you




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 1   appeal                                                    1   David, and one from David to you and Patty. Do you
 2      A. I did read the appellate briefs from Patty.         2   see that
 3   yes.                                                      3      A. (Witness viewing document.) Yes.
 4      Q Again, you have no reason to dispute that            4      Q And it's on March 6, 2017
 5   Attorney Hoey made changes. comments. and was involved    5      A. (Witness viewing document.) Yeah.
 6   in the drafting of the appellate briefs; correct?         6      Q. Do you see that?
 7                                                             7                                                         I
            MS. ZERNER: Objection.                                        And it -- and your -- your e-mail says "!
 8      A. 1 don't-- I can't answer that either way.           8   received this text today from Kris. What would you
 9   I don't know.                                             9   like me to do%"
10      Q. You don't know; correct                            10      A. (Witness viewing document.) Yes, l see that.       Ii
11      A. Correct.                                           11      Q. Okay. And is that when you referenced when
12      Q Okay. And you didn't check any of Patty's           12   Mr. Sobczak texted you or communicated with you about
13   file before you filed your complaint; correct?           13   you not being on the -- him not being on the case
14      A. I personally did not, no.                          14   anymore?
15          (Exhibit- I 5, March 6, 2017 e-mail, marked       15      A I don't -- yes. Yes. I do remember that he
16   for identification.)                                     16   contacted me. 1 don't remember what it said.
17          MS. KNIPPER Bridget, did I give you a             17      Q Okay.
18   copy"                                                    18      A But, yes.
19          MS. ZERNER: Yes.                                  19      Q. And it's not attached.
20      Q Do you have Exhibit Number 1 S in front of          20      A. Yeah.
21   you                                                      21      Q. Okay. But does this refresh your
22      A. (Witness viewing document.) I do.                  22   recollection that you got a text from Kris"?
23      Q. Okay. This is an e-mail chain, so it's two         23      A. Yes.
24   e-mails, one back and forth; one from you to Patty and   24      Q Okay. And then David responded "wail for


                                             Page 100                                                      Page 101
 1   Patty's direction"; correct'?                             1      A. Correct.
 2      A. (Witness viewing document.) Correct.                2      Q. Okay. Did Ms. DeJuneas ever tell you at the
 3      Q. Okay. And that's what you did.                      3   time -- before the appeal issue, that she was helping
 4      A. I'm sure l did, yes.                                4   fight the Sobczak lien?
 5      Q. Okay. And that was on how you needed to             5      A. I'm sorry. Before the appeal issue for the
 6   deal with Mr. Sobczak and whether he was going to         6   original case Or --
 7   remain on your case; correct?                             7      Q. No.
 8      A. I--I don't know what her follow-up from             8      A. -- for the Sobczak?
 9   this was. l would have to see it to refresh my            9      Q. For the Sobczak lien.
10   memory, but I'd assume so.                               10      A. Did she ever tell me, I don't recall.
11      Q. Are you alleging in this case that you did         11      Q. Do you know either way if she was involved
12   not know at the time Ms. Goganian filed papers on your   12   in helping to fight the Sobczak lien before it went up
13   behalf in the Kris Sobczak lien dispute that the lien    13   on appeal"
14   was filed in your case?                                  14      A. l don't know that.
15      A. David said she was doing work, but I didn't        15      Q. Did you go to any of the hearings
16   know that she was -- l didn't understand the whole ins   16   involving -- well, the hearing for sanctions on the
17   and outs of that case, no.                               17   Sobczak lien
18      Q. So you understood she was involved; correct?       18      A. Yeah. I was there. That was the one via
19      A. Correct.                                           19   Zoom l believe.
20      Q. Okay. And you understood that the lien was         20      Q. And Ms. Goganian argued, correct, on your
21   in your case; correct'?                                  21   behalf?
22      A. Yes.                                               22      A. Yes.
23      Q. And you understood that the lien was against       23      Q. Okay. And did you hear her say that she was
24   you; correct?                                            24   your lawyer?

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                                            Page 106                                                     Page 107
 1   2020. I don't remember my first time speaking to her.     1      Q. You believe -- you have an allegation in
 2      Q. And when you spoke with her, did you                2   your case that the motions for sanctions was
 3   understand that she was acting as your lawyer?            3   unsuccessful; correct?
 4      A. I signed a fee agreement with her at some           4      A. In the Sobczak case?
 5   point in 20--I think it was late 2020.                    5      Q. In your complaint --
 6      Q. Okay. And was that relating --                      6      A. I'm sorry.
                                                                                                                         I
 7      A. I don't remember.                                   7      Q. -- here you have --
 8      Q. -- to what case                                     8      A. Yes.
 9      A. The O'Toole case I think.                           9      Q. -- an allegation; correct?
10      Q. And when you signed the fee agreement with         10      A. Yes.
11   her on the O'Toole case, did you ever ask her at that    11      Q. That the motion for sanctions was
12   particular point in time about the Sobczak lien and      12   unsuccessful; correct?
13   her role as your lawyer in the Sobczak lien?             13      A. Correct.
14      A. No, I did not.                                     14      Q. And Ms. Goganian drafted and argued that
15      Q. Did you ask her why she wasn't making you          15   motion; correct?
16   sign a fee agreement in that -- in relation to the       16      A. Correct.
17   Sobczak lien                                             17      Q. So why aren't you suing Ms. Goganian in
18      A. No.                                                18   relation to that unsuccessful motion?
19      Q. And she had you sign one for the O'Toole           19      A. I don't have an answer for that.
20   case; right?                                             20      Q. You didn't like Mr. Sobczak much; is that
21      A. Correct.                                           21   correct?
22      Q. Why aren't you suing Ms. Goganian?                 22      A. At what point?
23      A. I--I don't have an answer for that. I'm            23      Q. Well, did you ever like him?
24   not...                                                   24      A. Yes.


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 1      Q. Okay. When did you stop liking him?                 1       Q. And it concerns the SOB lien on the subject
 2      A. I don't know if I stopped liking him, but I         2   line. Do you see that?
 3   guess around the time that we asked him to leave my       3       A. (Witness viewing document.) I do.
 4   case.                                                     4       Q. What do you understand the SOB lien to be?
 5      Q. And why did you stop liking him at that             5       A. The Sobczak lien.
 6   time                                                      6       Q. And then David says "He cost you 35,000 in
 7      A. I was learning that he was -- I don't know          7   filing the lien he filed." Do you see that?           I
 8   if hindrance is the right word, but it was detrimental    8       A. (Witness viewing document.) I do.
 9   to my case.                                               9       Q. And you understood that at the time;
10          (Exhibit-18, February 25, 2020 e-mail,            10   correct?
11   marked for identification.)                              11       A. Correct.
12      Q. Do you have Exhibit 18 in front of you?            12       Q. And he goes on to state, David to you, says
13      A. (Witness viewing document.) I do.                  13   "The lien was found to be invalid and it was
14      Q. And it's an e-mail back and forth between          14   dismissed." Did I read that correctly?
15   you and David; correct?                                  15       A. (Witness viewing document.) Yes.
16      A. (Witness viewing document.) It is.                 16       Q. And then he outlines -- he says a number of
17      Q. And the bottom is on February 25, 2020, and        17   other things, and then he outlines four options.          I
18   your last response is on February 25, 2020 as            18   Number 1, do nothing; Number 2, 93A demand letter;
19   well; correct?                                           19   Number 3, move for cost by motion; Number 4 do both
20      A. (Witness viewing document.) Correct.               20   motion and 93A. Did I read that correctly?
21      Q. And at the bottom. David outlines various          21       A. (Witness viewing document.) Yes.
22   options and says "We have to decide on the next step."   22       Q. Okay. And you respond with some choice
23   Do you see that?                                         23   words. You say "Yeah. Fuck him."
24      A. (Witness viewing document.) I do.                  24       A. (Witness viewing document.) Uh-huh.




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                                                                                    (Pages 110 to 113)
                                            Page 110                                                      Page 111
 1      Q. Did I read that correctly?                         1   working on your case were getting paid from funds that
 2      A. (Witness viewing document.) Yes.                   2   Attorney Hoey's office were fronting.
 3      Q. And you say "Let's do option 4, a motion and       3           MS. ZERNER: Objection.
 4   93A"; correct?                                           4      A. Yeah. I don't -- I thought -- for the most
 5      A. (Witness viewing document.) Yes.                   5   part, I thought some of it was coming out of the
 6      Q. All right. And you understood that doing a         6   reserve from the -- the winning -- the -- the money
 7   motion would be done by Ms. Goganian: correct?           7   from the first case. but other than that, I don't
 8      A. I don't think I had that thought process           8   think I had a process -- thought process on that. no.
 9   when I read this. no.                                    9      Q. Meaning you understood that there had been
10      Q. Okay. You understood somebody had to do it:       10   money set aside from the verdict in the case against     I
11   right?                                                  11   JPA --                                                   I
12      A. I did, yeah. Someone was going to do it.          12      A. Yes.
13      Q. Somebody was going to do it and somebody was      13      Q. --right, in order to fight the Sobczak
14   going to get paid for it, just not Mr. Hoey; correct?   14   lien; correct?
15      A. I don't know. I don't know if that was my         15      A. I don't know if it was just for that, but
                                                                                                                           I
16   thought process at this time.                           16   I -- we had had discussions about paying for other
17      Q. Okay. But you understood that the -- all          17   things.
18   the individuals who are working on your case were       18      Q. Okay. So you understood that a certain
19   getting paid by -- from funds that Mr. Hoey was         19   amount of money was set aside, and it's reflected in
20   fronting; correct?                                      20   the exhibits we've talked about before, and that was
21          MS. ZERNER: Objection.                           21   going to go for both the Sobczak lien and cost of the
22          MS. KNIPPER: I'll rephrase it.                   22   other things.
23      Q. Did you -- you understood that the other          23       A. Yes.
24   lawyers, besides Mr. Hoey and Mr. Keenan. who were      24       Q. Correct? Okay.


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 1          But aside from that money that was set            1      Q. And then you said. "Thank you. Yes, I think
 2   aside, prior to that and prior to the funds being        2   I will attend."
 3   received. the individuals working on your case. aside    3      A. (Witness viewing document.) Yes.
 4   from Attorney Hoey and Mr. Keenan, were being paid       4      Q. And that's the hearing that you attended
 5   from funds that were being advanced by Mr. Hoey's        5   that you talked about earlier.
 6   firm; correct                                            6      A. Yes.
 7      A. I don't -- yes, from that paper, but I don't       7      Q. Okay. Did you file an affidavit for that
 8   -- did not have that thought process at the time.        8   hearing?
 9      Q. Okay.                                              9      A. I believe we did. I don't remember exactly
10          (Exhibit-19, September 2, 2020 e-mail.           10   what it said.
11   marked for identification.)                             11      Q. Okay. But you filed an affidavit.
12      Q. And showing you Exhibit Number 19. this is        12      A. I don't remember if that's what it's called.
13   an e-mail chain in September 2020: correct              13   but I filed something that I was going to say at the
14      A. (Witness viewing document.) Yes.                  14   -- at the hearing, but I don't remember.
15      Q. And David forwards an e-mail from Amy. Do         15      Q. And you don't remember what the affidavit
16   you see that?                                           16   said.
17      A. (Witness viewing document.) Yes.                  17      A. Right at this second, no. I would have to
18      Q. And it's about the hearing on the motion for      18   look at it.
19   fees and costs and Sobczak's violation of the           19      Q. But it was against Mr. Sobczak; correct?
20   impounding orders. Do you see that?                     20      A. Yes.                                               I
21      A. (Witness viewing document.) Yes.                  21      Q. All right.
22      Q. And then David says to you "You're allowed        22           (Exhibit-20. July 2020 e-mail chain. marked
23   to attend by Zoom if you wish"; correct?                23   for identification.)
24      A. (Witness viewing document.) Yes.                  24      Q. Showing you Exhibit 20. here, again, David




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                                             Page 118                                                      Page 119
 1   distress which continues to this day; correct?            1   appeal?
 2      A. (Witness viewing document.) Correct.                2      A. I don't -- no, I don't know.
 3      Q. And in number 11, you say that you were             3      Q. Did-- do you know if anybody notified the          I
 4   offended when Mr. Sobczak said that he was the victim     4   court about your resolution -- the appeals court about
 5   here.                                                     5   your resolution with Mr. Sobczak?
 6      A. (Witness viewing document.) Yes.                    6      A. I thought Patty did, but I -- as far as I
 7      Q. And nothing can be further from the truth.          7   know.
 8   Is that -- did I read that correctly?                     8      Q. You believe Ms. De.Juneas notified the
 9      A. (Witness viewing document.) Yes.                    9   appeals court.
10      Q. And then number 9, you say lawyers should          10      A. I'm -- I'm -- don't know that for a fact.          I

11   not be able to do what Sobczak -- what Mr. Sobczak has   11   I'm assuming.
12   done to me. Did I read that correctly?                   12          (Exhibit-22, Undated e-mail, marked for           I
13      A. (Witness viewing document.) Yes, you did.          13   identification.)
14      Q. And you signed this affidavit under the            14      Q. Do you have Exhibit 22 in front of you?
                                                                                                                            I
15   pains and penalties of perjury.                          15      A. (Witness viewing document.) I do.                  I

16      A. Correct.                                           16      Q. This was produced by your counsel in this
17      Q. And you believed it.                               17   case. It's an e-mail chain between -- well, at the
18      A. Yes.                                               18   bottom, it's Mr. Sobczak, and then it's an e-mail from
19      Q. And you haven't sued Mr. Sobczak.                  19   Patty to you. You're animation studios; correct?
20      A. No.                                                20      A. (Witness viewing document.) Well, I'm not
21      Q. And you let go of the cross-appeal with him;       21   really, but I am. My daughter messed with my e-mail a
22   correct"                                                 22   hundred years ago, and I've never been able to get
23      A. Yes.                                               23   that out of there.
24      Q. Are you aware that he's continuing with his        24      Q. Okay. But that's you.


                                             Page 120                                                      Page 121
 1      A. It is me.                                           1      A. At my --
 2      Q. Okay. And it's -- Ms. Zerner is copied;             2      Q. -- in general?
 3   correct?                                                  3      A. -- house. I think that's -- I believe I do,
 4      A. (Witness viewing document.) I can't see.            4   yes.
 5   Oh, yes.                                                  5      Q. Okay. And attached to the draft release is
 6      Q. Okay. And there's no date on this e-mail,           6   an affidavit of you.
 7   which I can't explain, but do you remember getting        7      A. (Witness viewing document.) Okay. Hold on.
 8   this e-mail?                                              8   ls this Exhibit A?
 9      A. (Witness viewing document.) Let me just look        9      Q. Yes.
10   at it real quickly. Yes.                                 10      A. (Witness viewing document.) Okay.
11      Q. And this attaches a draft or what I                11      Q. And this one is unsigned. Do you see that?
12   understand to be a draft of your general release         12      A. (Witness viewing document.) I don't know
13   agreement with Mr. Sobczak.                              13   what this is in regards to. Yeah. Yes, I see that.
14      A. Yes.                                               14      Q. Okay. And did you sign this document?
15      Q. Did you sign this document?                        15      A. I don't have a recollection if -- I'm
16      A. I believe I did.                                   16   assuming I did. I don't remember.
17      Q. Did you sign the same version that's               17      Q. Did you make any changes to the affidavit
18   attached to this e-mail'?                                18   before you signed it?
19      A. I would have to go through and read it and         19      A. I don't remember. I have -- I have to read
20   then look at the one that I signed just to be sure.      20   this.
21      Q. Do you have a copy of the one you signed'          21      Q. If you could look at paragraph 9 and 10?
22      A. With me, no.                                       22      A. (Witness viewing document.) Okay. Okay.
23      Q. No.                                                23      Q. This resolution with Mr. Sobczak was reached
24           But do you have a copy --                        24   with the help of Ms. DeJuneas; correct?




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                                             Page 122                                                    Page 123
 1      A. (Witness viewing document.) Yes.                    1   it was recommended by my lawyer, and I would have to
 2      Q. Okay And nowhere does it say between                2   have a conversation with her. I don't remember.
 3   paragraphs 9 and 10 that Ms. DeJuneas recommended that    3      Q. And that would be --
 4   Attorney Sobczak should withdraw from your case.          4      A. I'm sure we talked about it.
 5      A. (Witness viewing document.) [ don't -- is           5      Q. -- Patty.
 6   that a question?                                          6      A. Yes.
 7     Q.   Yes                                                7      Q. And is it your understanding that
 8     A.    Does it say it                                    8   Mr. Sobczak is trying to continue with his appeal?
                                                                                                                          I
 9      Q. Nowhere does it say in your draft affidavit         9      A. I didn't know that. no.
10   that Attorney DeJuneas or at the recommendation of       10          MS. ZERNER: And, Christine. if! can ask,
11   Attorney DeJuneas you instructed Attorney Sobczak to     11   did you not get a signed version of these in the
12   withdraw from the case.                                  12   production? Did you get a copy
13      A. It doesn't say that, no.                           13          MS. KNIPPER: As far as we can tell, we have
14      Q. But it says before that that you responded         14   not received a signed version.
15   to both Attorneys Hoey and Sobczak that, yes, you        15          MS. ZERNER: Okay. Then I'll check on that
16   wanted him to stay on your case --                       16   and make sure you have it.                             I
17      A. Originally, yes.                                   17          MS. KNIPPER: Thank you.
18      Q --right Okay.                                       18      Q. And at the same time you're doing this,
19          What's the purpose of this affidavit              19   reaching this resolution with Mr. Sobczak, you are
                                                                                                                          I
20      A. I--I don't know what the purpose is, [             20   preparing to sue Mr. Hoey; correct?
                                                                                                                          I
21   mean.                                                    21      A. I don't remember the timeline. I don't know
22      Q. Why did you agree to sign this affidavit?          22   ifwe were doing it at the same time.
23      A. [f I-- if-- I don't even know when it was          23          (Exhibit-23, January and February 2022
24   sent in. If it was sent in with the other one, then      24   e-mail chain, marked for identification.)


                                              Page 124                                                    Page 125
 1      Q. Do you have Exhibit 23 in front of you?             1   entering into an agreement with Mr. Sobczak; correct?
 2      A. (Witness viewing document.) Yeah.                   2      A. I guess it's about the same time. I just --
 3      Q. And these -- the first page shows e-mails in        3   1 wouldn't know the exact time line.
 4   February 2022: correct?                                   4      Q. What I'm saying is correct, it's
 5      A. (Witness viewing document.) Correct.                5   approximately the same time.
 6      Q. And at the top -- well, right before your           6      A. (Witness viewing document.) Yes. I'm
 7   e-mail at the top, Patty says to you that she saw a       7   looking at the dates on these two, and they are --
 8   draft today of B's 92A letter and it's good. Do you       8      Q. Yes, February 2022; correct?
 9   see that?                                                 9      A. (Witness viewing document.) Yes.
10      A. (Witness viewing document.) Yes, I do.             10      Q. And so, as you sit here today, besides
11      Q. And do you understand B to be Ms. Zerner?          11   speaking with Ms. DeJuneas., as you expressed before,
12      A. Yes.                                               12   what changed from your dislike of Mr. Sobczak to
13      Q. And do you understand 92A letter to                13   resolving with Mr. Sobczak and now having a dislike
14   technically be the 93A letter that you sent to           14   for Mr. Hoey?
15   Attorney Hoey and his firm?                              15      A. I don't-- I never stopped having a dislike      l
16      A. Yes.                                               16   for -- for Kris necessarily. I just needed -- I just
17      Q. Okay. And you respond "OMG. I can't wait           17   --I don't want to keep paying for cases that I didn't  Ii
18   to read it too" with seven exclamation points;           18   need to be involved in.
19   correct?                                                 19           It was my understanding I didn't need to be
20      A. (Witness viewing document.) Yes.                   20   involved in the Sobczak case. that we could come --
21      Q. And you sound happy about the prospect of          21   that could come to an end, so why would I not want to
22   asserting a claim against Attorney Hoey. Fair to say?    22   end it.
23      A. I guess I was excited to read it.                  23      Q. At the time Mr. Sobczak filed his lien, at
24      Q. And this is at the same time that you're           24   that particular time he was pursuing it; correct?




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                                            Page 126                                                     Page 127
 1      A. At the time he filed'                             1      Q. Okay. And at no point in time -- when did
 2      Q. Filed his lien.                                   2   you first go speak to Patty when you first had
 3      A. I'm assuming he was pursuing it, yes.             3   concerns according to you?                               I
 4      Q. And he continued; correct?                        4      A. I--I spoke to Patty in October, but I went
 5      A. He did continue. I don't know ifhe still          5   to Amy first actually.
 6   is. That I don't know. I don't have knowledge of        6      Q. Okay. And that was in the summer 2021.             I
 7   that.                                                   7      A. Yes.                                               I


 8      Q. So you don't want to fight with Mr. Sobczak       8      Q. Okay. And in the summer 2021, your
 9   anymore; correct?                                       9   children's case was ongoing: correct?
10      A. No.                                              10      A. Yes.
11      Q. That's correct what I'm saying.                  11      Q. And the bad faith case was ongoing: correct
12      A. That is correct.                                 12      A. Yes.
13      Q. Okay. But you're willing to fight with           13      Q. And you were in regular communications with
14   Mr. Hoey and Mr. Keenan and the Keenan's Kids          14   Mr. Hoey during that time frame
15   Foundation; correct?                                   15      A. Yes.
16      A. Yes.                                             16      Q. And in the children's case, the defense was
17      Q. And why is that?                                 17   trying to depose your mother and your sister,
18      A. Because they destroyed my trust in them I        18   correct --
19   feel.                                                  19      A. Yes.
20      Q. After you approved all the expenses, you         20      Q. -- during that time frame?
21   went to speak to Patty; correct?                       21      A. I don't know the exact times, but, yes. they
22      A. No, not right after, no.                         22   were.
23      Q. Okay. Sometime after actually; right?            23      Q. But at some point in time?
24      A. Sometime after, yes.                             24      A. Yes. Yes.


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 1      Q. And when you started, according to you,           1      A. I don't remember the exact date, but. yes.
 2   having concerns during summer of 2021 --                2      Q. February or March 2022?
 3      A. Yes.                                              3      A. It was sometime in -- in early February
 4      Q. -- at any point in time. did you call David       4   2022.
 5   and just ask him                                        5      Q. Okay. And at no point in time during that
 6      A. No. I didn't feel I could ask him about the       6   entire time period, phone calls, e-mails, did you ever
 7   expenses or about my concerns with the other cases.     7   raise the issue with him.
 8      Q. Why?                                              8      A. No. I did not.
 9      A. Because I thought that we were too closely        9      Q. And did you ever go back and look at those
10   connected to them and that he -- I needed an outside   10   spreadsheets that he gave you and send them to him and
11   opinion.                                               11   say, hey. David. I have concerns about X. Y. Z. can we
12      Q. Did you ever even broach the issue with him,     12   talk?
13   I want this money back. why did you charge me for      13      A. I did go back over them. No, I did not send
14   this --                                                14   them to David.
15      A. No.                                              15      Q. Okay. Instead you went to Amy; correct?
16      Q. -- anything like that?                           16      A. Uh-huh. Yes.                                           I
17      A. I did not.                                       17      Q. Who got paid on the case; correct"
18
19
        Q. You continued to talk to him on the other
     cases; correct?
                                                            18
                                                            19
                                                                    A. Yes.
                                                                        MS. ZERNER: Objection.
                                                                                                                              l
                                                                                                                              I

20      A. Correct.                                         20      A. I mean.
21      Q. For months; correct?                             21      Q. And you went to Ms. De.Juneas; correct'?
                                                                                                                          I
                                                                                                                              l
22      A. Correct.                                         22      A. I did.
23      Q. And you didn't terminate him until March of      23      Q. And she was paid also for her work on the
24   2022; correct?                                         24   case.




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 1     A.      Except for what's on that paper.                1      A. Yes.
 2     Q.      Those papers?                                   2      Q. Okay. And so that would not be based upon
 3       A. The -- the spreadsheet.                            3   any appeal; correct?
 4       Q. Okay. All right. You were given multiple           4      A. That would not be based on an appeal. I
 5   papers; correct?                                          5   don't understand.
 6       A. I was.                                             6      Q. Meaning the amount of money you received was
 7       Q. Okay. Do you have any reason to dispute the        7   not based upon any appeal; correct'.'
 8   accuracy of how the money was distributed between         8          MS. ZERNER: Objection.
 9   counsel?                                                  9      A. I-- yeah. I don't have -- I don't -- no.
10           MS. ZERNER: Objection.                           10      Q. Meaning you understand"?
11       A. I have no knowledge to that.                      11      A. I--I understand. I don't know the answer
12       0. Did you look at any of the documents that         12   to that question.
13   were produced in the case?                               13      Q. Okay. So you don't know either way.
14       A. I've looked at -- I've seen some documents.       14      A. I don't know.
15   I have not seen all of the documents, no.                15      Q. Now, back to the O'Toole litigation,
16       Q. And you understand that in the O'Toole            16   Ms. Goganian represented you in that case; correct
17   litigation, Attorney Hoey has represented in discovery   17      A. For a while, yes.
18   responses that the fee was based upon the last offer     18      Q. Okay. And you were ultimately dismissed
19   at trial, his percentage of the fee.                     19   from the case; correct
20       A. I did -- I believe I did read that. I don't       20      A. I was.
21   remember exactly the wording.                            21      Q. And there were multiple motions in that case
22       Q. It's included in your --                          22   and multiple hearings. Do you remember that?
23       A. Yes.                                              23      A. I'm sure there were.
24       Q. -- complaint; correct?                            24      Q. Okay.


                                             Page 140                                                     Page 141
 1      A. I- don't remember all of them. no.                  1   Mr. O'Toole present?
 2      Q. Do you remember the November 2021 hearing on        2      A. I don't remember, but I think he was.
 3   the first motion to dismiss?                              3      Q. Okay. And he was on the Zoom too.
 4      A. I don't. I would have to -- I don't                 4      A. Yeah. I believe he was on the Zoom.
 5   remember it exactly.                                      5      Q. And you and Mr. O'Toole were silent;
 6      Q. Do you remember participating in the hearing        6   correct?
 7   by Zoom?                                                  7      A. Yeah. I didn't say anything.
 8      A. I believe I did, but I don't remember. I            8      Q. Okay. And do you understand that Mr. Foy is
 9   don't remember the...                                     9   Mr. O'Toole's lawyer?
10      Q. Do you remember participating in at least          10      A. Yes.
11   one Zoom hearing?                                        11      Q. Okay. And do you remember, during that
12      A. I believe I did.                                   12   particular Zoom hearing, that the judge showed clear
13      Q. Okay.                                              13   displeasure towards Mr. O'Toole at keeping you in the
14      A. But I'm not -- I really don't have a               14   case?
15   recollection.                                            15      A. I don't remember what happened during that.
16      Q. And Ms. Goganian, do you remember                  16   I remember there was -- I don't remember the
17   Ms. Goganian arguing on your behalf'?                    17   discussions. I don't.
18      A. Yeah. Yes.                                         18      Q. Did you--
19      Q. And I argued on behalf of Attorney Hoey.           19      A. I would have to go back and -- and ifwe had
20      A. Yes.                                               20   the transcript, read it. but I don't remember.
21      Q. And then there was Mr. Foy arguing on behalf       21      Q. Okay. Do you remember learning from
22   of Mr. O'Toole.                                          22   Ms. Goganian that the judge was not pleased with you
23      A. Yes.                                               23   being in the case?
24      Q. And at that particular hearing, was                24      A. I don't remember exactly. I remember I




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                                             Page 142                                                     Page 143
 1   think it was a woman judge and I remember that she       1   firm did not sue you in that case.
 2   wasn't happy, but I don't remember what was said.        2      A. No. I mean, yes, I agree they did not.
 3      Q. And do you remember did you ever learn --          3      Q. Okay. And, in fact, they worked with Amy to
 4   welL strike that.                                        4   try to get you out of the case; is that correct?
 5          Are you aware that Mr. Foy indicated that         5      A. That is-- yes.
 6   his client would not agree to voluntarily dismiss you    6      Q. That's your understanding.
 7   from the case?                                           7      A. That's my understanding.
 8      A. I don't remember it from that time.                8      Q. Okay. How is Mr. Hoey responsible for
 9      Q. Okay. Do you remember ever learning that?          9   another person suing you?
10      A. I think there was some discussion about it        10      A. Because -- I feel because he -- I got
11   at some point. I don't remember when.                   11   included in it because I was in the -- because of our
12      Q. And you're aware that there had been              12   contract.
13   multiple requests for you to be dismissed from the      13      Q. You understand that Mr. Hoey does not
14   case --                                                 14   control Mr. O'Toole.
15      A. I believe so.                                     15      A. Yes, I do.
16      Q. -- by your counsel.                               16      Q. Okay. You understand that Mr. Hoey cannot
17      A. I'm sorry. I believe so, yes.                     17   make Mr. O'Toole not sue you even ifhe wishes that.      I:
18      Q. Okay. And Mr. O'Toole would not agree;            18      A. I-- well, at the time, I didn't know that,
19   correct                                                 19   but I also was aware that he could of -- I believe the
20      A. To my knowledge, yeah.                            20   word is indemnify me or release me from that, and that
21      Q. And, ultimately, the court made the               21   had never happened.
22   decision; correct?                                      22      Q. What is your understanding of what
23      A. Correct.                                          23   indemnification is?
24      Q. Okay. And you agree that Mr. Hoey and his         24      A. I wouldn't -- sorry. I'm not going to say


                                             Page 144                                                     Page 145
 1   it in the right terms, but release me from the -- he     1   Mr. Sobczak's affidavit?
 2   could of --I don't know how to explain it because I'm    2      A. I don't remember.
 3   not very good at it, but it was, I believe, so that      3      Q. You asked Amy about it.
 4   he -- it would release me out of the case.               4      A. I don't remember.
 5       Q. Meaning Mr. Hoey would have released you out      5      Q. Okay. Did you ask Patty about it?
 6   of the case of somebody else who was not willing to      6      A. I don't remember.
 7   release you out of the case?                             7      Q. Mr. O'Toole was your friend at some point.
 8           MS. ZERNER: Objection.                           8      A. Yes, he was.
 9       A. Yeah. I don't know how to explain it. I'm         9      Q. And are you still friends?
10   not savvy in the real legal terms, so I don't want to   10      A. No, we are not.
11   say the wrong words. but, from my understanding. is     11      Q. Why aren't you friends?
12   this last judge said that there was a way that Hoey     12      A. We haven't talked in many years since --
13   could have indemnitied me out of the case.              13   basically since he sued me.
14       Q. And did you ever look on what theory that        14      Q. And why aren't you blaming Mr. O'Toole for
15   would have been"                                        15   the fees incurred in defending you from his lawsuit?
16       A. Did I ever look? I might have looked it up.      16      A. I don't -- say that one more time. I'm
17   I don't remember.                                       17   sorry.
18       Q. Okay. Do you have an understanding if there      18      Q. Why aren't you blaming Mr. O'Toole for the
19   is such a legal theory in Massachusetts in the          19   fees that you incurred in defending the lawsuit that
20   circumstances of this case?                             20   he brought?
21       A. I don't have knowledge to that, no.              21      A. I don't have an answer for that I guess.
22       Q. And you don't know; correct?                     22      Q. Do you agree that Mr. Hoey cannot control
23       A. No, I don't.                                     23   either Mr. O'Toole or Mr. Sobczak; correct?
24       Q. Did you ever ask Attorney Hoey about             24      A. I agree to that, yes.

                 ·'




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                                            Page 146                                                     Page 147
 1     Q.     Okay. Do you own the home where you live?       1      A. I did.                                            I
 2     A.     Yes, I do.                                      2      Q. Okay. Did you read and sign those
 3     Q.     Is it a ranch?                                  3   documents"?
 4     A.     Yes.                                            4      A. I did.
 5     Q.     And when did you purchase it?                   5      Q. Were you represented by counsel when you did
 6     A.     In May of 2020.                                 6   that?
 7     Q.     And did you take out a loan for that?           7      A. No, I was not.
 8     A.     Yeah, I did.                                    8      Q. Okay. Did your dyslexia preclude you from
 9     Q.     Okay. And did you read and sign --              9   reviewing and understanding those documents?            [
10          MS. ZERNER: Objection.                           10      A. I read them, and then I had my investor read
11          I want to know how much further you're going     11   them to me so that I understood them and they           I

12   to go into this. We've made an objection about the --   12   explained them.                                         ;

13   you know, what's the relevance of her purchasing her    13      Q. Okay. And who's your investor?
14   home with money that she was entitled to receive?       14      A. New England Wealth Group or New England
15          MS. KNIPPER: I didn't ask that.                  15   Investment.
16          MS. ZERNER: Okay. But --                         16      Q. Okay. Do you own the truck?
17          MS. KNIPPER: I did not ask that question.        17      A. Do I own a truck, yes.
18          MS. ZERNER: I'm just wondering where it's        18      Q. Yes.
19   going.                                                  19          And did you purchase that truck"
20          MS. KNIPPER: I'm going to ask the                20      A. I did.
21   questions, and you can object --                        21      Q. And did you sign any documents in relation
22          MS. ZERNER: All right. Well --                   22   to that truck?
23          MS. KNIPPER: -- if you disagree.                 23      A. Yes.
24      Q. But did you take out a loan                       24      Q. And did you read and sign those documents?


                                            Page 148                                                     Page 149
 1      A. Yes, I did.                                        l      A. I don't think I did.
 2      Q. Did you have somebody read those to you?           2      Q. Okay. And did your dyslexia preclude you
 3      A. I did have someone -- I don't remember if I        3   from working at Target and understanding what you had
 4   had someone look over those. I don't have a              4   to do there?
 5   recollection.                                            5      A. I've always had to go back over things more
 6      Q. Okay. Did your dyslexia preclude you from          6   than one time.
 7   reviewing and understanding those documents?             7      Q. You haven't gone back over things today.
 8      A. I don't remember at the time, but I'm sure I       8      A. I've -- I've relooked at them from before,
 9   reread them.                                             9   yes.
10      Q. Okay. And we talked about you worked at           10      Q. Okay. Do you have any trouble understanding
11   Target; correct?                                        11   anything that you read today?
12      A. I did work at Target.                             12      A. No, I don't think I did.
13      Q. And we've already talked about you had            13      Q. Okay. After you received the funds from the
14   various steps in your career there. How many            14   verdict, you met with a financial advisor; correct?
15   promotions or jobs that would have promoted you that    15      A. Yes.
16   you sought out to get?                                  16      Q. And you entered into agreements with that
17      A. I think only two from my original position.       17   financial advisor.
18      Q. And you had to apply for those.                   18      A. I did.
19      A. It's, like, still an interview -- one you         19      Q. Did an attorney represent you with respect
20   don't really -- one you apply for, but there's no.      20   to those transactions?
21   like, interviewer process. The second one I had an      21      A. No.
22   interview process.                                      22      Q. Did you sign paperwork in relation to those
23      Q. Okay. And did you have to fill out any            23   transactions"
24   forms or review any forms for that?                     24      A. I did.




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                                                                                    (Pages 150 to 153)
                                            Page 150                                                      Page 151
 1      Q. Did your dyslexia and difficulty with math,         1   or the book with Stewart Lytle?
 2   as you allege in your complaint, prevent you from         2       A. No, I'm not.
 3   entering into those transactions?                         3       Q. Did you terminate Mr. Lytle?
 4      A. Did they prohibit me? I'm sorry.                    4       A. I don't know if I would call it terminate.
 5      Q. Prevent you.                                        5   We just stopped working together, but...
 6      A. No. They did not prevent me. I reread               6       Q. How did you part ways?
 7   them.                                                     7       A. The -- it wasn't going the way I wanted it     I
 8      Q. Okay. You're not suggesting that people             8   to.
 9   with dyslexia cannot enter into contracts; right?         9       Q. Okay. Did you find somebody else"?
                                                                                                                         I
10      A. I'm not suggesting that, no.                       10       A. No. I have not found someone else to help
11      Q. Okay. And you read the documents before you        11   me with my book.
12   signed them as you testified today.                      12       Q. Are there -- is there anything in the works
13      A. Yes.                                               13   in terms of agreements with anybody to do the book or
14      Q. And you had the opportunity to ask                 14   do the movie'
15   questions; correct?                                      15       A. Not to do the book, to do the movie.
16      A. Correct.                                           16       Q. Okay. And with whom to do the movie?
17      Q. And you understood them when you signed            17   Somebody besides Mr. Lytle?
18   them; correct?                                           18          MS. ZERNER: What's the relevance of this?
19      A. All the documents I've ever signed or these        19          MS. KNIPPER: Are you instructing her not to
20   documents"                                               20   answer?
21      Q. The documents that we've talked about today.       21          MS. ZERNER: I'm just asking--
22      A. Yes.                                               22          MS. KNIPPER: We're in a deposition. Are
23      Q. Yes. Okay.                                         23   you instructing her not to answer?
24          And are you still planning to do the movie        24          MS. ZERNER: I know that we're in a


                                            Page 152                                                      Page 153
 1   deposition, and I'm not going to have -- and I know we    1   questions, and you can continue to object.
 2   have the reservations, but I'm not going to -- I am       2      Q. Did Ms. DeJuneas find you an entertainment
 3   going to object if it's going to go into completely       3   lawyer?
 4   irrelevant matters and take time on that. so ...          4      A. No.
 5          MS. KNIPPER: Are you instructing -- are you        5      Q. She did not. Okay.
 6   instructing her not to answer? I'm sorry.                 6          Did Ms. DeJuneas help you find anybody in
 7          MS. ZERNER: I think you can explain if you         7   order to get the movie or the book in place'?
 8   think it has relevance to --                              8      A. No.
 9          MS. KNIPPER: I do think it's relevant, but         9      Q. Does Ms. DeJuneas have any agreement with
10   I think the witness needs to answer the question.        10   you for purposes of the book or the movie?
11          MS. ZERNER: You won't give me any                 11      A. No.
12   explanation of why it's relevant --                      12      Q. Who currently is working on the movie?
13          MS. KNIPPER: Not at this time.                    13          MS. ZERNER: Objection.
14          MS. ZERNER: -- whether she has new                14          MS. KNIPPER: Are you instructing her not to
15   agreements now with anybody else or in a movie to the    15   answer"
16   claims of --                                             16          MS. ZERNER: Yes. I'm going to instruct her
17          MS. KNIPPER: Correct.                             17   not to answer. We can have a conversation off the
18          MS. ZERNER: -- your client breaching his          18   record --
19   fiduciary duty and taking money wrongfully from her.     19          MS. KNIPPER: We'll reserve.
20          MS. KNIPPER: Are you instructing her not to       20          MS. ZERNER: -- to see if we can resolve
21   answer                                                   21   this today or not.
22          MS. ZERNER: I'm just asking if you'll give        22          MS. KNTPPER: We'll reserve.
23   me a basis so we can cover this ground.                  23      Q. When you met with -- did you meet with
24          MS. KNIPPER: I'll go back to some other           24   Mr. Lytle?




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                                                                                  (Pages 154 to 157)
                                           Page 154                                                     Page 155
 1       A. Yeah, I met with him, yeah.                      1      A. I did.
 2       Q. Okay. Did you turn over your boxes of the        2      Q. And that was when you were moving to              I

 3   file to him?                                            3   California.
 4       A. I did.                                           4      A. Correct.
 5       Q. Did you get them back?                           5      Q. And you put them in your car.
 6       A. I did.                                           6      A. Correct.
 7       Q. Did you turn them over to this new person?       7      Q. And you drove down to California.                 I
 8       A. No.                                              8      A. Yes.
 9       Q. What of your file have you turned over to        9      Q. Okay. Did you make photocopies of it before
10   these -- this new person for the movie?                10   you gave it to Mr. Lytle or you gave it to him as is?
11           MS. ZERNER: Objection.                         11      A. I did not make photocopies. He only took
12
13
             Go ahead.
         A. Yeah. I don't-- I don't remember. There
                                                            12
                                                            13
                                                                 part of -- or I don't remember how much of it he
                                                                 took -- he kept, but he had some of it.
                                                                                                                         I
14   was maybe a couple things -- I'm sorry. What's it      14      Q. I will represent to you that he wrote in an       I
15   called -- from my testimony. I'm drawing a blank.      15   e-mail that you dropped off l 2 boxes.                  I
16           MS. ZERNER: Transcripts.                       16      A. That -- that could be --
17       A. Transcripts from the testimony, and that was    17      Q. Does that comport with your memory?
18   it.                                                    18      A. That could be true. I don't know how many
19       Q. That's the only thing you've turned over.       19   it was.
20       A. That I can remember right now. I don't know     20      Q. Okay. And did you do any type of recorded
21   off the top of my head.                                21   statements or interviews that were transcribed with
22       Q. At some point. you picked up all of your        22   Mr. Lytle"?
23   boxes, your file materials from Attorney Hoey's        23      A. I don't know if he took notes, but other
24   office; correct?                                       24   outside -- like. an outside person. no.


                                           Page 156                                                     Page 157
 1     Q. No. No. No. Meaning you met with -- I              1      A. I don't believe so.
 2   apologize. I was not clear. You met with Mr. Lytle      2      Q. Okay. You didn't fill out, like. background
 3   by phone or in person --                                3   about the case or anything like that in writing that
 4     A. Yes. Yes.                                          4   you would have given.
 5     Q. -- or by Zoom; correct?                            5      A. I don't believe in writing.
 6     A. In phone and person and Zoom.                      6      Q. Okay. And what is the status of the movie?
 7     Q. And then did he ever transcribe what you and       7      A. It's in -- the script is in development.
 8   him talked about either in an e-mail or in notes, in    8   That's -- that's it. It's just a script at this -- or
 9   memos?                                                  9   not even a script yet.
10     A. I don't have knowledge what he --                 10      Q. And is it your understanding that you're
11     Q. That you ever saw?                                11   supposed to give more information to these people for
12     A. I don't-- I don't know. I don't remember.         12   purposes of them doing the movie or they have all the
13     Q. Okay. And how about with this new person,         13   information from you that they need?
14   have you done that?                                    14      A. I don't have an answer for what -- for what
15     A. Have I had meetings with them?                    15   they need. I don't know.
16     Q. Yes.                                              16      Q. Do you plan on honoring the 2.5 percent fee
17     A. Yes.                                              17   that you had promised to Mr. Hoey?
18     Q. And have they transcribed what you said and       18      A. With the book with Stewart Lytle --
19   wrote?                                                 19      Q. Yes.
20     A. I don't know.                                     20      A. No, because I'm not making a book with
21     Q. Okay. Did you write anything and turned it        21   Stewart Lytle anymore.
22   over to these new people?                              22      Q. So the answer is, no, you don't plan on
23     A. No.                                               23   honoring it.
24     Q. Okay.                                             24      A. There is nothing to honor because there's no

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                                                                                   (Pages 162 to 165)
                                            Page 162                                                     Page 163
 1   Bear with me.                                           1   David about that money being kept aside in part for
 2          If you look -- if you go back to Exhibit         2   fees of Ms. Goganian.
 3   Number 9-- actually, Exhibit Number 8. I apologize.     3      A. I don't remember if it was exactly. We used
 4     A. It's okay. I'm sorry. What number did you          4   her name and said that's what it was for, but I
 5   say"                                                    5   remember we had -- he -- we had a discussion that we
 6     Q. Number 8. It's this one.                           6   were keeping it aside for other expenses.
 7     A. I'm probably looking right at. Oh. okay.           7      Q. Okay. And at the time, there was the bad
 8     Q. It's this one. So on the first page, this          8   faith case that was also ongoing; correct?
 9   one has 41,231 and change to Amy Goganian --            9      A. Correct.
10     A. (Witness viewing document.) Correct.              10      Q. And the children's case
11     Q. -- right?                                         11      A. I don't remember. I think we filed after
12          So this was taken out and had already been      12   this. I think we filed in June of 2020. but I don't
13   paid to Amy Goganian.                                  13   remember the exact date, but I'm sure there was work
14     A. Right.                                            14   being done on it. I just don't remember when we
15     Q. And then were -- Was included in the case         15   started it.
16   expenses: correct?                                     16      Q. If you can go to paragraph 92, it's on page
17     A. Correct.                                          17   28 of Exhibit Number I.
18     Q. Okay. And then if you look at the last            18      A. Page 92?
19   page, there's $83,387.53. Do you see that?             19      Q. No, page 28.
20     A. (Witness viewing document.) I do.                 20      A. (Witness viewing document.) 28.
21     Q. And that's -- is that what you mean?              21      Q. Paragraph 92?
22     A. That's what I meant by the reserve. Sorry.        22      A. (Witness viewing document.) Okay.
23   Yes.                                                   23      Q. And this is your fraud count, if you look at
24     Q. And you had a discussion at that time with        24   the prior page, and if you can read the paragraph'?


                                           Page 164                                                      Page 165
 1      A. (Witness viewing document.) Okay.                 1   probably looking right at it. Fourth from the bottom
 2      Q. So at the time the 20 IO CFA was signed,          2   of the paragraph you said. Do you see it? Can you
 3   there was no case even filed: correct?                  3   just show me, point?                                     I
 4      A. I don't remember. but I believe there was         4       Q. Right.
 5   not.                                                    5       A. (Witness viewing document.) All right. Oh,
 6      Q. Okay. At the time the 2015 CFA was signed,        6   though he knew. Okay.
 7   the case hadn't yet gone to trial; correct?             7       Q. Okay. So if you read at the top, you allege
 8      A. Correct.           -                              8   that the defendants had you sign this 2015 agreement;
 9      Q. All right. So the case had not gone to            9   right?
10   trial, and there was no appeal; correct                10       A. (Witness viewing document.) Correct.
11      A. Correct.                                         11       Q. And did not alert or explain to you that
12      Q. All right. And there's -- what's the basis       12   this charge -- this change would be used to charge her
13   -- there's no basis for your allegation that in June   13    for other attorneys associated and working with the
14   of 2015 the defendants knew that there would be a      14   team. Did I read that correctly?
15   charge for the services for the appeal.                15       A. Yes.
16      A. I'm sorry. I don't understand.                   16       Q. Okay. And then I'm skipping the paragraph,
17      Q. What--                                           17   the parentheses. Sorry.
18      A. Can you say that one more time?                  18       A. (Witness viewing document.) Okay.
19      Q. There was no basis for your -- in this           19       Q. And then you go "though he knew he would
20   paragraph --                                           20   charge her for the services of these other attorneys."
21      A. Right.                                           21       A. (Witness viewing document.) Correct.
22      Q. -- right, if you look at the word though. do     22       Q. Right
23   you see that, fourth line before down?                 23           At the time you signed the agreement, there
24      A. (Witness viewing document.) No, and I'm          24   were no other attorneys that had been retained. Patty




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                                                                                    (Pages 166 to 169)
                                            Page 166                                                      Page 167
 1   DeJuneas had not been retained. Amy had not been             true.
 2   retained; correct?                                       2      Q. Meaning as you've outlined in your
 3          MS. ZERNER: Objection.                            3   complaint
                                                                                                                           !
 4      Q. Amy Goganian had not been retained.                4      A. Yes, as I've outlined in my complaint.
 5      A. As far as -- yeah. No, I don't think they          5      Q. Okay. Any other basis for the fraud claim
 6   had.                                                     6   besides the allegations you've made in your complaint?
 7      Q. Okay. So this sentence is incorrect:               7      A. No.
 8   correct?                                                 8          (Exhibit-24, Answers to David J. Hoey's
 9           MS. ZERNER: Objection.                           9   interrogatories, marked for identification.)
10      A. I don't know. I don't have an answer for          10      Q. And do you have Exhibit 24, ma'am?
11
                                                                                                                           I
     that if it's incorrect or not.                          11      A. (Witness viewing document.) I do.
12      Q. How can somebody know that certain charges        12      Q. Okay. And these are your answers to David          I
13   for certain attorneys would be charged if the event     13   Hoey and the Law Offices of David J. Hoey, P.C.'s
14   has not yet happened?                                   14   interrogatories.                                         I
15      A. I can't answer that.                              15      A. (Witness viewing document.) Correct.
16      Q. You disagree that this paragraph is               16      Q. And you signed these on page 15; is that
17   incorrect.                                              17   correct?
18      A. I do.                                             18      A. (Witness viewing document.) Correct.
19      Q. But you can't explain why.                        19      Q. And you read these before you signed them.
20      A. No.                                               20      A. Correct.
21      Q. What's your basis of the fraud claim?             21      Q. And you signed them under the pains and
22      A. My basis for it is that they didn't tell me       22   penalties of perjury; is that correct?
23   the truth. that they gave me -- some of these charges   23      A. Correct.
24   and some of the things that I read were not entirely    24      Q. Going to your Answer Number 4, it's on page


                                            Page 168                                                      Page 169
 1   5.                                                       1   the appeal?
 2      A. (Witness viewing document.) Yes.                   2      A. (Witness viewing document.) I'm sorry.
 3      Q. And I've already asked you about the appeal        3      Q. Yes. Take your time, if you need to.
 4   and I won't go over that again. But in the second        4      A. Okay. I'm sorry. Can you just ask me?
 5   paragraph, you admit that you're not -- that you were    5      Q. Sure.
 6   not party to all the communications between Patty,       6          In the first paragraph, you say that you are
 7   Hoey, and Keenan; correct'?                              7   not claiming as damages the loss of use of the funds
 8      A. As I've said, yes. I already said that.            8   as the recovery --
 9      Q. We've already covered that. And then you           9      A. Correct.
10   say "I am now aware of specific communications that     10      Q. -- right?
11   reinforce that Hoey and Keenan were not acting as       11          So you're not claiming that in this case;
12   appellate attorneys or handling my appeal": is that     12   correct?
13   correct                                                 13      A. Correct.
14      A. (Witness viewing document.) Correct.              14      Q. Okay. In the second paragraph, you say that
15      Q. Okay. And you outline one e-mail.                 15   you suffered from emotional distress. Do you see
16      A. (Witness viewing document.) Yes.                  16   that
17      Q. Okay. Anything else that you're aware of          17      A. (Witness viewing document.) Yes.
18   besides this one e-mail?                                18      0. Okay. Have you sought treatment for that?        .
19      A. (Witness viewing document.) Not that I'm          19      A. I have not.
20   aware of.                                               20      Q. Okay. And you state here that you
21      Q. Did you see -- Strike that.                       21   suffered -- if I'm understanding this correctly --
22          If we can go to number 6--5--I                   22   emotional distress because of the uncertainty of how
23   apologize -- page 6, you're not claiming as damages     23   the appeal would turn out and the prospect of a second
24   the loss of use of the funds, correct, as a result of   24   trial and you having to testify; is that correct?




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                                                                                     (Pages 170 to 173)
                                             l?age 170                                                    Page 171
 1     A.     Yes.                                             1         And this is when you say when you started
 2      Q0. Okay. During the appeal, do you remember           2   becoming suspicious or questioning what was involving
 3   that JPA offered 3.5 million dollars to settle the        3   in your case; right?
 4   case?                                                     4      A. Correct.
 5      A. During the appeal, yes, I do remember that.         5      Q. For the Kris Sobczak lien?
 6      Q. And you declined.                                   6         Now, in the second paragraph, in October
 7      A. Yes.                                                                                                             I
                                                               7   2021, you went to speak to Boston College; correct       I

 8      0. And you understood that if the case didn't          8      A. Correct.
 9   settle and you lost the appeal, that you would have to    9      Q. And that was at the request of Ms. Burgess.        '
10   testify again; correct?                                  10      A. Yes.                                               I
11      A. That I might have to, yes.                         11      Q. Okay. And you had done that on a number of
12      Q. Okay. But you still declined the 3.5               12   times before; right?
13   million dollars.                                         13      A. I've done it since 2015.
14      A. I did.                                             14      Q. Okay. And she works there; is that correct?
15      Q. If you can go to page 7, the bottom is the         15      A. Yes, she does.
16   Question Number I 0, and your answer starts on Number    16      Q. And she's an expert who helped you in your
17   8, on page 8, but just to orient you.                    17   case.
18      A. (Witness viewing document.) Okay.                  18      A. Correct.
19      Q Did you read your answer?                           19      Q. And she was found by David; is that correct?
20      A. I did.                                             20      A. Yes.
21      0. And this is -- we've already talked about          21      Q. And she's one of the best in the country, if
22   some of this --                                          22   I understand --
23      A. Yes.                                               23      A. Yes.
24      Q. -- today: correct"?                                24      Q. -- correctly.


                                             Page 172                                                     l?age 173
 1          And what type of setting is it                     1      Q. Okay. And, generally, do you talk about
 2           ls it you speaking to college students about      2   what happened to you and the litigation?
 3   your case?                                                3          Is that what you talk about?
 4      A. Yes.                                                4      A. Every time is a little bit different
 5      Q. Okay. And you previously invited David to           5   depending on -- I don't like -- I don't prepare
 6   attend them.                                              6   something ahead of time.
 7      A. Yes. David's gone.                                  7      Q. And is it fair to say that when you've
 8      Q. And you invited David this time, is that            8   spoken to these college students, you praised Attorney
 9   correct, but he couldn't attend"                          9   Hoey and Attorney Keenan?
10      A. In October of 2021?                                10      A. Yes. absolutely.
11      Q. Yes.                                               11      Q. Okay. And did you do that again in October
12      A. Yes.                                               12   2021°
13      Q. Yes.                                               13      A. I--I don't remember, but probably. I
14          So you invited him to go, but he couldn't         14   don't remember. I don't remember what I said every
15   attend.                                                  15   time.
16      A. Correct.                                           16      Q. Okay. And by then, you had already grown
17      Q. And so he did not attend; correct?                 17   concerned; right
18      A. Correct.                                           18      A. Yes.
19      Q. But on the other times, he had attended.           19      Q. But you still praised them.
20      A. On some of them, yes. not all of them.             20      A. Because what they did for my -- the work on
21      Q. Okay. Do you remember -- do you remember           21   my case and winning, yes. I-- they won that case for
22   how many times                                           22   me. They did a great job. That wasn't in question.
23           Is it once a year that you go?                   23      Q. And in your last sentence -- I think it's              I
24      A. I go once a year, yes.                             24   one sentence, of this paragraph, you talk about the




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                                                                                   (Pages 178 to 181)
                                           Page 178                                                      Page 179
 1     A. That he was represented.                           1      Q Okay.
 2     Q. That he --                                         2      A My memory is that I met with David.
 3     A. That he --                                         3      Q Okay. But is it possible -- and I know
 4     Q. That Attorney Goran's participation in the         4   we've covered this -- is it possible that it was
 5   case was strictly limited'?                             5   Mr. Sobczak
 6     A. I--I spoke to my lawyers about that. I             6      A. I don't have a memory of that. I-- my              I
 7   don't know.                                             7   memory is going in the office and signing it at the
 8     Q. So aside -- and I don't want to hear what          8   front desk with David, but that also could be a
 9   your --                                                 9   different paper. I went in the office millions of
10     A. No.                                               10   times.
11     Q. -- what Ms. Zerner said, but aside from what      11      Q Okay. So, as you sit here today, you can't
12   you learned from your lawyer, you don't have an --     12   say who spoke with you when you signed that agreement.
13     A. I don't have --                                   13      A. I thought -- I believe it to be David.
14     Q. -- independent basis.                             14      Q Okay. But you can't say --
15     A. -- an opinion, no.                                15      A. That's my memory.
16     Q. Okay. Now. when I originally asked you            16      Q. -- with certainty; correct?
17   about who you met with in 2015 when you signed the     17      A. That's my memory for that, yeah.
18   2015 Keenan fee agreement, you indicated David,        18      Q. Meaning you can't say with certainty?
19   correct --                                             19      A. No, I guess l cannot.
20     A. I --                                              20      Q As you sit here today, do you have a memory
                                                                                                                          I


21     Q. --ifI remember correctly                          21   of Attorney Hoey discussing that fee agreement with
22     A. Sorry. I didn't mean to jump on you.              22   you, not the e-mail but discussing it with you           t

23     Q. That's fine.                                      23      A. l thought that we discussed it when I went
24     A. I'm so sorry. Yes. I thought it was David.        24   in, but that was my memory.


                                           Page 180                                                      Page 181
 1      Q. Okay. If you look at your response on page        1   signed it with.
 2   12. under number 14, middle of the paragraph?           2      Q. You've used the word induced a lot in your
 3      A. (Witness viewing document.) Uh-huh.               3   papers. What do you mean by that?
 4      Q. Where you reference that June 11, 2015            4      A. I--I can't answer that. I don't know.
 5   e-mail, do you see that?                                5          MS. KNIPPER: If I can take a short break.
 6      A. (Witness viewing document.) Yeah.                 6   Thank you.
 7      Q. Yeah.                                             7          THE VIDEOGRAPHER: We are going off the
 8          And then you talk about going in the office.     8   record. The time is L:26 p.m.
 9      A. (Witness viewing document.) Uh-huh.               9          (Lunch break from I :26 p.m. to 2: I I p.m.)
10      Q. Do you see that?                                 10          THE VIDEOGRAPHER: We are back on the
11          And then you say Attorney Hoey reiterated       11   record. The time is 2:11p.m.
12   then the same thing.                                   12      Q. (BY MS. KNIPPER) Hi, Ms. Wahlstrom.
13      A. (Witness viewing document.) Uh-huh.              13      A. Hi.
14      Q. Do you see that?                                 14      Q. Just a couple of things.
15      A. (Witness viewing document.) I do. I'm            15          MS. KNIPPER: If we could mark this as the
16   reading it. I'm sorry. I'm reading it right now.       16   next exhibit. I believe it's 25.
17      Q. No. Go right ahead.                              17          (Exhibit-25, March 6, 2017 e-mail. marked
18      A. Okay.                                            18   for identification.)
19      Q. As you sit here today, you can't say either      19      Q. Do you remember we talked about the e-mail
20   way if that happened.                                  20   back and forth between you and David and Patty where
21      A. I -- to my memory, I believe I talked to         21   you received a text message from Kris?
22   David about it and I went in and signed it with him.   22      A. Yes.
23      Q. But, again, you could be mistaken.               23      Q. Do you remember that?
24      A. I believe that I -- that David is the one I      24          Okay. If you can take a look at Exhibit 25,




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                                                                                     (Pages 190 to 193)
                                             Page 190                                                     Page 191
 1      A. I don't recall. I don't-- I don't think we          1      A. (Witness viewing document.) Yes.
 2   talked about it.                                          2      Q. And you read it at the time you received it.
 3      Q. Do you have an understanding that he intends        3      A. (Witness viewing document.) Did I read it
 4   on trying to pursue Attorney Hoey or his firm?            4   thoroughly, I can't answer to that.
 5      A. I don't know anything about it after I--I           5      Q. But you received it.
 6   didn't follow it.                                         6      A. I did receive it.
 7      Q. Did you ask any questions about why of your         7      Q. Okay. And you would have glanced over it at
 8   counsel -- it was Patty; correct?                         8   least.
 9      A. Patty.                                              9      A. Sometimes it was too hard for me to read
10                                                                                                                    I
        Q. Okay. About why you needed to provide this         10   things that came from the other side so I didn't   I

11   affidavit                                                11   always read them.
12      A. I am sure we talked about it. I don't              12      Q. Okay. Do you know either way if you glanced
13   remember the exact conversation, no.                     13   at this?
14      Q. Just a couple of exhibits that I intended to       14      A. I can't speak to that right now. I don't
15   mark before and did not.                                 15   know.
16          (Exhibit-29. June 6, 2018 e-mail. marked for      16      Q. You don't remember either way.
17   identification.)                                         17      A. No.
18      Q. Do you have in front of you Exhibit 29?            18      Q. Okay. But you received it.
19
20
        A. (Witness viewing document.) I do.                  19      A. Yes.                                              :
        Q. And it's an e-mail from David to you on June       20      Q. Okay.
21   6th, 2018; is that correct?                              21          (Exhibit-30, June 24, 2016 e-mail, marked
22      A. (Witness viewing document.) Yes.                   22   for identification.)
23      Q. And it attaches the brief by JPA. correct,         23      Q. And we've marked the next exhibit as Number
24   or the JPA defendants"                                   24   30. Do you have it in front of you, ma'am?


                                             Page 192                                                     Page 193
 1      A. (Witness viewing document.) I do.                   1       Q. And there it's outlined what is alleged to
 2      Q. And this is another e-mail from David to            2   have been counsel misconduct: correct?
 3   you; correct                                              3       A. (Witness viewing document.) Yes.
 4      A. (Witness viewing document.) Yes.                    4       Q. And during this time, you understood that
 5      Q. And it includes two documents, according to         5   Attorney Hoey's firm was funding the payment of the
 6   the first page. the memo in support of the petition       6   fees of Ms. DeJuneas; correct?
 7   for interlocutory review. Do you see that?                7      A. Correct.
 8      A. (Witness viewing document.) Yes, I do.              8       Q. And you understood that back in at least the
 9      Q. And it includes the petition for                    9   time of these in 2016: correct?
10   interlocutory review; correct?                           10       A. Correct.
11      A. (Witness viewing document.) Yes.                   11       Q. Going back to the WIN Interactive animation,
12      Q. And if you flip to the first -- sorry -- the       12   do you remember any of your lawyers explaining to you
13   second page of this exhibit?                             13   that there was a question as to whether Judge Wilson
14      A. (Witness viewing document.) Yes.                   14   would allow Mr. Rivera to testify?
15      Q. That's the brief or part of it on -- filed         15       A. I remember we did have some conversation
16   on your behalf; correct?                                 16   about whether or not he -- they would allow him to
17      A. Correct.                                           17   testify, yes.
18      Q. And did you read this brief?                       18       Q. And do you remember them explaining to you
19      A. Yes, I did at the time.                            19   the benefit or the potential benefit of the animation
20      Q. You did read that brief.                           20   if that occurred?
21          And if you look at page 6 of the brief, of        21       A. I don't remember that conversation.
22   the first one, do you see the rationale for allowing a   22       Q. But you're not saying it didn't happen. You
23   new trial? Do you see that?                              23   just don't remember.
24      A. (Witness viewing document.) Yes.                   24       A. Yeah. I just don't remember that




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                                                                                   (Pages 194 to 197)
                                             Page 194                                                   Page 195
 1   conversation.                                             1      A. I don't.
 2      Q. Okay. Does Mr. Lytle have all the original          2      Q. But--
 3   trial exhibits, like the boards and everything of that    3      A. I don't --
 4   sort?                                                     4      Q. Sorry. Were you done?
 5      A. No. I--I believe he mailed everything               5      A. No. I was just going to say I don't
 6   back to me.                                               6   remember. I don't know.
 7      Q. He sent it back to you so you have them.            7      Q. Okay. Did you testify in the hell making
 8      A. Yes.                                                8   case?
 9      Q. Okay. Do you remember that you filed a              9      A. Did I testify?
10   judicial complaint against Judge Wilson?                 10      Q. Yes, ma'am.
11      A. Yes.                                               11      A. No.
12      Q. Do you know the outcome of that?                   12      Q. Okay.
13                                                            13
                                                                                                                    I
        A. Is that the one where we recused him? I                    A. We didn't go to trial.
14   don't remember. I'm sorry.                               14      Q. Okay. Did you -- were you deposed?        1
15      Q. Do you remember sending -- your counsel            15      A. Yes.
16   sending on your behalf -- well. strike that.             16      Q. When were you deposed?                         i
17          There was a motion to have Judge Wilson           17      A. I don't remember the date. It was last
18   recused. Do you remember that?                           18   year.
                                                                                                                   J
19      A. Yes.                                               19      Q. Okay.
20      Q. Okay. Do you remember also filing a                20      A. Sorry.                                     I
21   complaint with the supervisory governance, so to         21      Q. In 2022?
                                                                                                                    I
22   speak, over judges concerning Judge Wilson?              22      A. Yes.
23
24
        A. Yes.
        Q. Okay. Do you know the outcome of that?
                                                              23
                                                              24
                                                                      Q. Okay. Attorney Hoey was no longer
                                                                   representing you in that case at that time.    I
                                                                                                                        I
                                             Page 196                                                   Page 197
 1        A. Correct.                                          1   just don't --
 2        Q. Are you aware that Attorney Goran became          2       A. I--
 3   involved in the case because the defendants attached      3       Q. -- remember.
 4   copyrighted and trademarked documents to certain          4       A. -- don't know.
 5    tilings?                                                 5           MS. ZERNER: Just take a breath. Let her --
 6           Do you remember that?                             6           THE WITNESS: I know. I know. I know.
 7        A. No.                                               7           MS. ZERNER: -- finish the question.
 8        Q. Okay. Are you aware that he became involved       8           THE WITNESS: I always rush. I don't mean
 9   because the defendants when they did that, were trying    9   to. It's not on purpose by any means.
10   to argue and generate a wedge between you and your       10       Q. Has Ms. DeJuneas gone to visit you in
11   lawyers and in addition lo unduly influence the trial    11   California?
12   judge?                                                   12       A. No.
13           Do you remember that?                            13       Q. When did you fly in?
14           MS. ZERNER: Objection.                           14       A. Like this week?
15           Go ahead.                                        15       Q. Yes.
16        A. I wasn't at trial. I don't-- I don't             16       A. Sunday.
17   remember that.                                           17       Q. Okay. And where are you staying?
18        Q. Do you remember did you ever become aware of     18       A. At the Omni Seaport.
19   that through your lawyers?                               19       Q. Ina hotel?
20        A. I--I can't speak to that. I don't                20       A. Uh-huh.
21   remember.                                                21       Q. Mr. O'Toole didn't do any work on the case:
22        Q. Meaning you don't know either way.               22    is that correct?
23        A. I don't remember either way.                     23       A. On the original --
24        Q. Okay. It's possible they told you. You           24       Q. Yes.




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                                                                                     (Pages 198 to 201)
                                             Page 198                                                      Page 199
 1      A. -- case? After David took it, no, not that          1   truthful, he was -- necessarily truthful in where the
 2   I'm aware.                                                2   money was and if it was really for my case or my -- my
 3      Q. Meaning what I'm saying is correct?                 3   needs, so, yes, I think some are. No, I don't think
 4      A. Yeah.                                               4   others are.
 5      Q. Okay. And he didn't do any work at all on           5       Q. Are you saying some of the expenses or fees
 6   the appeal: correct?                                      6   that you were charged were not related to your case'?
 7      A. No, not that I'm aware of, no.                      7       A. Yes. That's what I'm saying.
 8
                                                                                                                             I
        Q. Did he come to trial?                               8       Q. Okay. Which ones were not related --
 9      A. I don't remember. I wasn't there every day.         9       A. The ones --
10      Q. You heard of him as soon as the verdict came       10       Q. -- to your case?
11   down; correct?                                           11       A. Oh, I'm sorry. I did not mean to jump on           I
12      A. I heard of him.                                    12   you again. I can't help it.
13      Q. Meaning he contacted you?                          13           Like, the -- I can't -- I don't know which
14      A. I don't remember if I talked to him after          14   one it is. When the -- the ones where we paid for,       'j
15   the verdict came down.                                   15   like, the constitutional lawyer and things like that,
16      Q. Okay. Are you grateful for the verdict in          16   I believe, weren't.
17   your case?                                               17       Q. Meaning--
18      A. Very.                                              18       A. And the --
19      Q. Then you understand that all of the expenses       19       Q. -- Mr. Vail?
20   and the time that went into the verdict were necessary   20       A. And -- I'm sorry. Where -- I'm looking for
21   to achieve that result.                                  21   it just so I can see the names so I know what I'm
22          MS. ZERNER: Objection.                            22   halfway talking about, so I know what I'm talking
23      A. Yeah. I don't know how to answer that              23   about here.
24   because I believe some of them weren't necessarily       24       Q. It's Exhibit 6. 7, or 8.


                                             Page 200                                                      Page 201
 1       A. (Witness viewing document.) I'm looking for        1      Q. Okay. And you had an opportunity to ask or
 2   it. so. yeah. like, you know. James Bolan and things      2   dispute any of these charges at the time; correct?
 3   like that I don't believe were charges that should        3      A. I did, correct.
 4   have been -- that weren't my responsibility to pay        4      Q. Okay. And you did not.
 5   for, I guess, is the way to say it.                       5      A. No, I did not.
 6       Q. Okay. So Attorney Bolan you've said; right         6      Q. Okay. Besides Mr. Bolan, what other ones do
 7       A. Uh-huh.                                            7   you believe were not related to your case?
 8       Q. And is that a yes"                                 8      A. I think we outlined that in my complaint, so
 9       A. Yes. I'm sorry.                                    9   should I go back and read my complaint?
10       Q. Okay. That you do not think were related to       10      Q. No. I'm asking you if you can look at
11   your case. is that what you're saying?                   11   Exhibit Number 8 and say which ones you believe are       '
12       A. Yes.                                              12   not related to your case?
13       Q. Okay. And I believe you've testified that         13      A. Well, I would need to refer to my complaint
14   you don't -- well, do you know what Attorney Bolan did   14   to get all of that -- them accurate. I don't want to
15   on your case?                                            15   misspeak, and is Exhibit I the complaint?
16       A. No, I do not.                                     16          MS. ZERNER: Exhibit I is the first amended
17       Q. Okay. And his name was on Exhibit 8 when          17   complaint.
18   you were given Exhibit 8; correct                        18      A. (Witness viewing document.) Is it in this
19       A. (Witness viewing document.) His name is on        19   one? Why am I looking through this for no reason? So
20   here, yes.                                               20   we have the list on page 14 of all the in -- right. on
21       Q. Yes. With an explanation; correct?                21   page 14 of all the in -- what we believe -- I believe
22       A. (Witness viewing document.) Uh-huh.               22   to be incorrect charges.
23       Q. Is that correct?                                  23      Q. So the question was not what you're claiming
24       A. Yes.                                              24   should not have been charged to you. You were talking




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                                             Page 202                                                   Page 203
 1   and you -- you just testified unrelated to your case,     1   lawyer; that's Mr. Vail; right?
 2   so my question is: Which are the charges that you say     2      A. Yeah.
 3   were unrelated to your case?                              3      Q. Okay. Are you aware that he reviewed your
 4      A. I'm -- then I must have misunderstood. I            4   brief for the appeal?
 5   thought you meant -- you were referring to this. I        5      A. No.
 6   wasn't -- I mean, some of these have to do with my        6      Q. Are you aware that Patty approved him           I
 7   case, but they -- he represented David, so I don't        7   reviewing the brief for the appeal?
 8   know how to answer that.                                  8      A. No.
 9      Q. When you say that. what are you talking             9      Q. So you're disputing that charge, but you're
10   about?                                                   10   not saying it's not related; correct?
11      A. (Witness viewing document.) Like, James            11      A. Yeah. I--yes. I--I mean, I just don't
12   Bolan and -- and Richard Goran, I don't know who those   12   -- yeah, I don't know if I'm using the right word.
13   people were and what they did for my case, so I just     13      Q. As you sit here, you can't say which ones       I
14                                                            14   are or are not related.
15
     assume they represent David. I don't know how to
     answer that then. I mean, 1 -- we outlined it in the     15          MS. ZERNER: I just didn't hear the end of
                                                                                                                         I
16   complaint.                                               16   her last answer.
17      Q. Okay. So Attorney Goran, Attorney Bolan,           17          THE WITNESS: I said I don't know if I'm
18   any of the other charges you've outlined in your case    18   using the right words. Sorry.
19   that you say were unrelated to your case?                19      Q. As you sit here, you cannot say which ones
20      A. I suppose -- I know that -- I don't know how       20   are the ones you believe are related or are not
21   to answer that because I'm sure they're related, but     21   related.
22   they're not my -- I don't know how to answer it. I       22          MS. ZERNER: Objection.
23   feel like I'm running in circles here.                   23      Q. Am I understanding you correctly?
24      Q. Okay. So you referenced the constitutional         24      A. Yes.


                                             Page 204                                                    Page 205
 1      Q. Attorney Hoey represented you for 12 years;         1      A. He did.
 2   correct"?                                                 2      Q. When you needed medical care, he helped you
 3      A. Yes.                                                3   find doctors when doctors wouldn't see you.
 4      Q. You retained him in February 2010 and you           4      A. When I couldn't find a therapist. yes.
 5   terminated him in early 2022.                             5      Q. Okay. When your children needed medical
 6      A. Correct.                                            6   care at one point?
 7      Q. Correct?                                            7      A. A therapist, when we were looking for
 8          And during that time, did you need money           8   therapists for the case, yes.
 9   from time to time to help you live?                       9      Q. Okay. And when the school where you were
10      A. Yeah.                                              10   working wanted to fire you, he helped you; correct?
11      Q. And did you go to David for that?                  11      A. He did.
12      A. Yeah. David helped me secure a loan.               12      Q. And you reached an agreement with the
13      Q. Okay. And he helped you get that loan.             13   school; correct?
14      A. Yes, he did.                                       14      A. Yes.
15      Q. And when you didn't have enough money on the       15      Q. Right?
16   loan, you went back to him to ask him to get you more    16      A. Sure.
17   money either on that loan or another loan; correct?      17      Q. And when -- well, you didn't get fired.             I

18      A. Correct.                                           18      A. Well, I did not, no.
19      Q. And he did that --                                 19      Q. And when you needed a financial manager, he
20      A. Yes.                                               20   helped you find one; correct?
21      Q. -- right?                                          21      A. He did, yeah. I trusted David.
22      A. He did.                                            22      Q. And he found Anne Burgess.
23      Q. And when you were being evicted, he helped         23      A. He -- yes, he found the expert witness for
24   you; correct?                                            24   my case, yes.




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                                                                                         (Pages 206 to 209)
                                             Page 206                                                          Page 207
 1      Q. And he worked on your case for 12 years and             1          THE WITNESS: I think I'm okay.
 2   he left his family on holidays to meet with you,              2          MS. ZERNER: Do you want to take a break"?
 3   Sundays, vacations; correct?                                  3          MS. KNIPPER: We're good.
 4      A. I--well, I-- yes, I don't...                            4          MR. TAYLOR: Off the record for a minute.
 5      Q. And he spent a lot of time and effort.                  5          THE VIDEOGRAPHER: Going off the record.
 6      A. Yes. There's no doubt.                                  6   The time is 2:38 p.m.
 7      Q. Okay. And he did all those things and now               7          (Brief break from 2:38 p.m. to 2:40 p.m.)
 8   you say he broke your trust.                                  8          THE VIDEOGRAPHER: We are back on the
 9      A. Yes.                                                    9   record. The time is 2:40 p.m.
10      Q. Okay. And you didn't -- seven years after              10          EXAMINATION                                       I
11   the verdict and two years after the -- you received          11          BY MR. O'CONNOR:
12   the funds is when you brought your claim; correct?           12       Q. Good afternoon. Ms. Wahlstrom. My name's
13      A. Correct.                                               13   Jack O'Connor.
14          MS. KNIPPER: Okay. I have no more                     14       A. Hi, Jack.
15   questions. Thank you.                                        15       Q. I represent Don Keenan and the Keenan Law
16          MR. O'CONNOR: Do we need a break or are we            16    Firm. I only have three or four hours of questions so
17   just going to carry right on?                                17   we'll move through it as quickly as I can.
18          MS. ZERNER: How are you doing"?                       18          MS. ZERNER: That's one of my favorite
19          MS. KNIPPER: Do you want to come here?                19   jokes.
20          MS. ZERNER: How are you doing, the court              20       Q. I just want to ask you who brought you and
21   reporter, are you okay?                                      21   Patty DeJuneas together?
22          THE COURT REPORTER: I'm okay, yeah. I                 22          How did you folks first meet?
23   would prefer it if you guys switched places.                 23       A. David Hoey.
24          MS. ZERNER: It's up to you.                           24       Q. And when was that roughly?


                                            Page 208                                                           Page 209
 1       A. Oh, I don't have a date. but it had to have            1      Q. Okay. But at some point, she became your
 2   been some time in 2015. I think the first time I met          2   appellate --
 3   her was at court.                                             3      A. Appellate --
 4       Q. Okay. Was it after the verdict?                        4      Q. -- counsel handling the appeal; correct?
 5       A. After the original verdict?                            5      A. Sorry. I didn't mean to jump on you. Yes.
 6       Q. Yes.                                                   6      Q. Okay. And what I'm trying to get an             I
 7       A. Yes.                                                   7   understanding of is how did that transition occur and
 8       Q. Okay. And what was -- did you and David                8   why did that transition occur, as you understand it,
 9   talk about getting her involved?                              9   as you recall it
10           Can you explain to me how her name came up           10      A. Because I needed an -- it was going to
11   and what he said to you about her?                           11   appeal so you had an appeal lawyer. I mean, that's my
12       A. I don't remember conversations that we had            12   understanding of it.
13   about her. I believe the first time I saw her and            13      Q. Did you ever talk with David Hoey or with
14   knew that she -- he might have mentioned something, I        14   Don Keenan about the concept of them handling the
15   don't recall -- but the first time I met her and the         15   appeal?
16   first time I knew about her is when we went for the          16      A. I did not speak to them about them handling
17   hearing in front of Judge Wilson -- and I'm going to         17   the appeal, no.
18   say the wrong thing -- when he was going to overturn         18      Q. How come?
19   it. the verdict, I don't -- the hearing --                   19      A. David recommended Patty, we went to the
20       Q. Okay.                                                 20   office and met her, and that's who I went with.
21       A. -- in December.                                       21      Q. Okay. And when he recommended her, what did
22       Q. What was your understanding as to why she             22   he say?
23   was brought into the case at that point?                     23          What do you recall about that conversation?
24       A. I don't know. I don't remember.                       24      A. I don't remember the exact conversation.

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                                                                                     (Pages 230 to 233)
                                             Page 230                                                      Page 231
 1   strategies that your counse I used; right?                1      Q. Okay. Well, do you recall that defendant's
 2      A. Yes.                                                2   counsel raised challenges to what was referred to as
 3      Q. And you referenced the complaints that those        3   the Reptile playbook?
 4   defendants raised in your complaint; right?               4      A. I heard about it after. but I was not there
 5      A. Correct.                                            5   for when any of that happened.
 6      Q. As part of the -- the efforts that your             6      Q. Okay. You're aware now that defendant's
 7   counsel made, they had to rebuff those challenges that    7   counsel did raise that issue.
 8   defendant's counsel made; right?                          8      A. Correct.                                             I
                                                                                                                              I
 9      A. Can you just say that one more time? I'm            9      Q. And that -- you're aware that your counsel
10   sorry.                                                   10   had to fight those efforts: right?
11      Q. Sure. Yeah.                                        11      A. I am now, yes.
12          Your -- the defendant's counsel attacked the      12      Q. And those efforts were ultimately
13   strategies that your attorneys were using: right?        13   successful; right?
14      A. Correct.                                           14      A. I don't know. I can't even say. I assume.
15      Q. And then your attorneys had to fight those         15   I don't know the outcome of those. I don't know off
16   cha llenges--                                            16   the top ofmy head.
17      A. Correct.                                           17      Q. Now, are you aware that when -- now, that
18      Q. -- right?                                          18   when those challenges were made by defendant's counsel
19          And they successfully fought those                19   to your counsel's strategy, that defendant's counsel
20   challenges; right                                        20   attached some materials related to that strategy and
21          MS. ZERNER: Objection.                            21   what they filed in to court"
22          Go ahead.                                         22      A. I vaguely remember at one point David
23      A. I--I don't remember the outcome of what            23   telling me something about it, but I don't remember.
24   they fought in court.                                    24      Q. Okay. But you're aware --


                                             Page 232                                                      Page 233
 1      A. But I'm aware now that it had to do with the        1      Q. And so your counsel had to fight those
 2   Reptile book or something like that.                      2   efforts: right
 3      Q. Now, are you aware that Attorney Goran was          3      A. Correct.
 4   brought in to address the defendant's counsel's use of    4      Q. And they did so: right
 5   those materials?                                          5      A. Yes.
 6      A. At the time, I don't believe I was, but if I        6      Q. And they ultimately won the case; right?
 7   was told about it, I don't remember.                      7      A. Correct.
 8      Q. And are you aware of that now?                      8      Q. And as part of those efforts, they had to
 9      A. lam now, yes.                                       9   defend the litigation strategies that they used during
10      Q. And you'd agree that it was important for          10   the case; right?
11   your counsel to fight the efforts that defendant's       11      A. Yes, I guess they would have to. I don't
12   counsel had made with respect to your -- your            12   know.
13   counsel's litigation strategies.                         13          MR. TAYLOR: No further questions.
14      A. I don't know if I can answer if it was             14          THE WITNESS: Okay. Thank you.
15   important. It was -- can you say it one more time?       15          MS. ZERNER: I have very brief.
16   I'm sorry.                                               16          EXAMINATION                                     l
17      Q. Sure. Sure.                                        17          BY MS. ZERNER:
18          So defendant's counsel, as we've                  18      Q. When Mr. Sobczak was involved in your trial,
19   established, was -- was attacking the strategies that    19   did you have an understanding of whether or not he
20   your counsel was making.                                 20   worked for Hoey Law?
21      A. Right.                                             21      A. I believe he did work for Hoey Law. yes.
22      Q. The reason defendant's counsel was doing           22      Q. And if you take a look at Exhibit 21.
23   that was so that they could win the case; right?         23      A. (Witness viewing document.) Oh, boy.
24      A. Correct.                                           24   They're not in order. Which one does it look like?




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                                                                                           (Pages 242 to 244)
                                               Page 242                                                                  Page 243
 1         MS. ZERNER: Objection.                              1             CERTIFICATE
 2         Excuse me. Go ahead.                                2         I, KIRA WAHLSTROM, hereby certify under the
 3     A. I-- no.                                              3   pains and penalties of perjury that I have read the
 4     Q. You don't know.                                      4   foregoing transcript of my testimony and further
 5         MS. KNIPPER: Okay. Thank you.                       5   certify that said transcript is a true and accurate
 6         THE VIDEOGRAPHER: AII right. This                   6   record of my testimony (with the exceptions of the
 7   concludes today's deposition. The time is 3: 17 p.m.      7   corrections noted below.)
 8   We are going off the record.                              8   PAGE LINE               CORRECTIONS
 9         (Audiovisual deposition of KIRA WAHLSTROM           9
10   concluded at 3: 17 p.m.)                                 10
11                                                            11
12                                                            12
13                                                            13
14                                                            14
                                                                   --     --      ----------------
15                                                            15
                                                                   -- -- ----------------
16                                                            16
17                                                            17
18                                                            18
19                                                            19
20                                                            20         Signed under the pains and penalties of
21                                                            21   perjury this       day of20_
22                                                            22
23                                                            23

24                                                            24                  KIRA WAHLSTROM


                                               Page 244
 1               CERTIFICATION
 2
 3           I, Jennifer M. Vaillancourt, a Certified
 4   Shorthand Reporter, Registered Professional Reporter,
 5   and Notary Public, within and for the State of
 6   Massachusetts, do hereby certify:
 7           That, KIRA WAHLSTROM, the witness whose
 8   examination is hereinbefore set forth, was first duly
 9   sworn by me and that this transcript of said testimony
10   is a true record of the testimony given by said
11   witness.
12           I further certify that I am not related to
13   any of the parties to this action by blood or
14   marriage, and that I am in no way interested in the
15   outcome of this matter.
16
17         IN WITNESS WHEREOF, I have hereunto set my
18   hand this 10th day of February, 2023.
19
20
21
22         Jennifer M. Vaillancourt, Notary Public in
23         and for the Commonwealth of Massachusetts.
24         My Commission Expires June 29, 2023.

                                                                                                                               -·   _,
                                                                                                                                62
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 KIRA WAHLSTROM                                            )
                                                           )
                                         Plaintiff,        )
 v.                                                        )
                                                           )
 DAVID J. HOEY, LAW OFFICES OF DAVID J.                    )
 JOEY, P.C., DON C. KEENAN, D.C. KEENAN                    )
 & ASSOCIATES, P.C. d/b/a THE KEENAN                       )
 LAW FIRM, P.C., and KEENAN'S KIDS                         )   Civil Action No.: 1:22-CV-10792-RGS
 FOUNDATION, INC.,                                         )
                                                           )
                                      Defendants.          )
                                                           )

      DON C. KEENAN'S RESPONSE TO PLAINTIFF'S QUESTIONS IN LIEU OF
        APPEARING FOR A DEPOSITION PER AGREEMENT OF PARTIES

1.      Identify the date that you first started working on Kira Wahlstrom's premises liability
        case that was filed in Suffolk Superior Court, Civil Action No. SUCV2010-01022 in
        Massachusetts (herein, the "Wahlstrom premises liability case") and describe your role.

RESPONSE: The Keenan Law Firm accepted the Wahlstrom matter in the Referring Attorney

Group as a Premise Case in about June 2012. At that time, my role was to mentor David Hoey

and help him with the preparation of the Wahlstrom case.


2.      Confirm that you and/or your firm charged the expenses reflected on the attached
        document (Bates No. LDH 0000194-195) in the Wahlstrom premises liability case and
        explain why each expense was necessary, including the administrative fee.

RESPONSE: I confirm that those are my expenses. The admin fee is a charge I charge all

clients. It is the fee for my firm to create binders we use, organize the file, add everything to our

database, and other tasks necessary to open and maintain a file. The research fee was related to

issues that came up during trial that needed to be researched. The "silhouette cut-out" was

demonstrative evidence we created for trial. "Copies" refer to the photocopies made in 2015

once I transitioned from mentoring David Hoey to representing Ms. Wahlstrom. The "Focus



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Groups" are how I test information to better understand how a jury will process the information

at trial. Finally, the trial costs are the costs of traveling to Boston, staying in Boston during trial,

meals, and supplies.


3.      See the attached Contract for Legal Representation (Bates No. KEENAN 08658-8663
        with cover letter and attachments) and state whether you signed the document and agreed
        to the terms stated in the contract.

RESPONSE: I agreed to the terms at the time I signed it, but that changed as the case

proceeded.


4.      Describe any and all in-person, telephone, and/or videoconference conversations you had
        with Kira Wahlstrom concerning fee agreements, concerning retention of any additional
        counsel, and/or concerning any expenses incurred for the Wahlstrom premises liability
        case (including pre-trial, during trial, and post-trial) by identifying the date of the
        conversation and describing the topics discussed and all specific details you recall
        discussing with Ms. Wahlstrom.

RESPONSE: I met with Ms. Wahlstrom in February 2015. I was assessing her case in my mind

as to the extent of her damages and I was obtaining factual verification. The remainder of the

time was spent getting to know one another. I asked if she had any questions. She did not. I later

learned that she agreed to retain me as additional counsel for the purposes of trial. I extensively

prepared Kira Wahlstrom for her trial testimony.


         I would discuss retention of additional counsel and expenses pre-trial, during trial, and

post-trial with Hoey Law and they would discuss with Ms. Wahlstrom.


5.      Confirm that you signed the attached 2015 Contingent Fee Agreement (Bates No.
        LDH0000093-98) on June 1, 2015 and describe who drafted the agreement and why this
        fee agreement was entered when Ms. Wahlstrom had already executed a fee agreement in
        2010 with the Law Offices of David J. Hoey for the case.

RESPONSE: I did sign the 2015 Fee Agreement. The agreement was drafted by my office with

the assistance of Mr. Sobczak. The agreement was entered into because ethically I cannot

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represent a client that I do not have a signed agreement with. I was also unwilling to try the case

without a written fee agreement in place.


6.       Explain how you and David Hoey agreed to divide the attorneys' fee recovered as
         referenced in the 2015 Contingent Fee Agreement.

RESPONSE: We agreed that he would get 100% of the attorney fee from last offer prior to

closing and that I would get the remaining attorney fee.


7.       Describe any and all conversation(s) you had with David Hoey about the expenses
         itemized on the attached breakdown of expenses (Bates No. LDH 0000007-9) before it
         was provided to Ms. Wahlstrom.

RESPONSE: I discussed with Mr. Hoey that I could not ethically disburse any funds for costs or

attorney fees unless the client approved the disbursement. Once Mr. Hoey provided me with the

documents showing that Ms. Wahlstrom approved in writing the costs, I paid said costs from my

trust account to Hoey Law.


8.       Explain why a 40.33% attorneys' fee was taken from the total recovery in the Wahlstrom
         premises liability case.

RESPONSE: I object to the word "taken." This was a fee that was earned. That is what the

contract provides. I was involved in all strategy decisions related to the appeal and read and

commented on the draft when necessary or called upon to do so.


9.       Identify and explain all compensation paid to David Hoey and/or his law firm by you
         and/or your law firm in 2019 and in 2020 including the date(s) and amount(s).

RESPONSE: Don C. Keenan specifically objects to Request No. 9 on the grounds that it seeks

personal and confidential information unrelated to the underlying subject matter of the case and

is not reasonably calculated to lead to the discovery of admissible evidence. Subject to and

without waiving these objections, Don C. Keenan responds as follows: In March of 2020 Mr.

Hoey was paid $750,000 as his share of the fee in the Wahlstrom matter. Later that year Mr.
                                                3
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Hoey joined the Keenan Law Firm as a partner. He was paid a $1 million advance on fees and

was also paid $26,924.24 in fees on cases he worked as part of the Keenan Law Firm.


10.      Do you disagree with anything stated in the Affidavit of Krzysztof Sobczak filed in this
         case at Dkt. No. 11-6 as Exhibit F to Plaintiff's Amended Complaint and, if so, explain
         what statements you disagree with and why.

RESPONSE: All statements made by Mr. Sobczak related to an alleged conversation between

Mr. Hoey and me are a figment of Mr. Sobczak's imagination. Specifically, I deny the

statements regarding my involvement made in paragraphs 4-8, 10-12, 14, and 18 of Mr.

Sobczak's February 6, 2022 Affidavit, which was filed as part of Plaintiff's Amended

Complaint.


11.      Describe any and all conversations you had with David Hoey concerning how David
         Hoey and/or his law firm would be compensated in any way for his legal services
         provided for the Wahlstrom premises liability case including but not limited to through
         any arrangements related to other cases involving you and Hoey and/or Hoey's
         partnership with Keenan Law Group.

RESPONSE: Don C. Keenan specifically objects to Request No. 11 on the grounds that it seeks

personal and confidential information unrelated to the underlying subject matter of the case and

is not reasonably calculated to lead to the discovery of admissible evidence. Subject to and

without waiving these objections, Don C. Keenan responds as follows: The only conversation

related to compensation for the Wahlstrom case is set forth in response to number 6. There are no

other arrangements related to other cases or through the partnership regarding the Wahlstrom

case.




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I, Don C. Keenan, hereby certify that these answers are true and accurate to the best of my

knowledge, I am of sound mind and memory to certify the truth and accuracy of these written

responses under oath, and I have taken no medication that w uld impair my memory. SO

SWORN UNDER THE PENALTIES OF PERJURY TH                      2ND DAY 0        AY, 2023.



                                                      on C. Keenan




Dated: May 23, 2023                                 On behalf of Defendant Don C. Keenan


                                                    John M. Bowler (pr•o hac vice)
                                                    Danni Shanel (BBO #710378)
                                                    TROUTMAN PEPPER HAMILTON
                                                    SANDERS LLP
                                                    High Street Tower — 19th Floor
                                                    125 High Street
                                                    Boston, MA 02110-2736
                                                    (617) 204-5100
                                                    (617) 204-5150 - facsimile
                                                    William.Taylor@troutman.com
                                                    Danni.Shanel@troutman.com


                                                    Counsel for Keenan's Kids Foundation, Inc.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 22, 2023, a true copy of the foregoing document was served

via e-mail upon the following parties:

 Bridget A. Zerner                                 Christine A. Knipper
 Markham Read Zerner LLC                           John P. Liberty
 One Commercial Wharf West                         Wilson Elser Moskowitz Edelman & Dicker
 Boston, MA 02110                                  260 Franklin Street, 14th Fl.
 617-523-6329                                      Boston, MA 02110
 Email:Bzerner@markhamreadzerner.com               617-422-5300
                                                   Christine.Knipper@wilsonelser.com
 Counsel far Kira Wahlstrom                        John.Liberty@wilsonelser.com

                                                   Counselfor David J. Hoey and the Law Offices
                                                   of David J. Hoey


                                                   John J. O'Connor
                                                   Kristyn St. George
                                                   Peabody & Arnold LLP
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                                                   Boston, MA 02210-2261
                                                   617-951-4724
                                                   Joconnor@peabodyarnold.com
                                                   Kstgeorge@peabodyarnold.com

                                                   Counsel for Don C. Keenan and the Keenan
                                                   Law Firm



                                                     Is/ Danni L. Shanel
                                                     Danni Shanel (BBO #710378)




                                               6
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                                                DAVID J. HOEY

                                                CONFIDENTIAL PORTION OF PROCEEDINGS WILL BE
                                                FOUND ON PAGES 330-34.


                                                                EXHIBITS




APPEARANCES:
                                                                EXHIBITS


MARKHAM READ ZERNER LLC




WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP




PEABODY & ARNOLD LLP




TROUTMAN PEPPER HAMILTON SANDERS




ALSO PRESENT:
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     E X H I B I T S
                                                      PROCEEDINGS




     E X H I B I T S




                                                DAVID J. HOEY




                                                    Good morning.




                                                    Sure, David John, J-o-h-n, Hoey,

                                         H-o-e-y.



                                                    I live at 8 Jill, J-i-l-l, Circle,

                                         North Reading, Massachusetts.
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         That's a good question. I often get       talk to you for a second. He said sure. So we
asked that question. It's a little lengthy so      went into the hallway. I said I'm sorry but I
bear with me for a second.                         can't stay for your second half today. He goes
                                                   why not and I said I'm going down to the
         I was very involved in ATLA,              Connecticut chapter of the National Wrestling
Association of Trial Lawyers of America, which     Hall of Fame dinner which was in Foxwoods at a
eventually changed their name to AAJ,              casino, I explained to him, so I can't stay for
Association of American Justice, and during        your second part today. I have to go to this
those -- that process Mr. Keenan was well-known    dinner. He goes you were a wrestler. I said I
as a national trial attorney and in the late       was. He goes me, too.
Nineties or early 2000s at one of the annual                 He said I'll tell you what. We're
conventions in Atlanta he spoke and after he       putting on this presentation again in New York
spoke, you know, it's like a swarm of people go    in a week or two -- I forget what it was. I
and chase the speaker down because they want to    think it was the beginning of March and he said
talk to him or meet him.                           come down, be my guest and we'll have dinner. I
         So I was patient and I waited and I       said great. So that started our relationship.
caught up to him and he was walking back to his
office and I went -- on Nassau Street and I
said, Mr. Keenan, I want to introduce myself.                So that would have been 2010. We
I'm from Massachusetts. I enjoyed your             didn't really work together on cases yet, but he
presentation. He had some small kind words and     was -- we took a liking to each other. He felt
he went off to his -- so that was the first time   that my passion which he didn't see much in
I met him in person, but I knew of him and his     trial lawyers anymore was still present and we
reputation prior to that.                          started -- we didn't work on cases.




         Then come around 2009 the Rules of                  So I had cases at that time that were
the Road book came out by Friedman and then the    getting ready for trial and I would ask for his
Reptile book came out and Paul Reizen, The Case,   advice and consult and he would provide it
came out. All three of those publications came     without any fee and I had some early success
out at the same time. So I had read all three      there and so he invited me down and that's when
of those books and the one that made the most      we started a working relationship. So, actually
sense was the book called Reptile and then in      working on cases together, I think Wahlstrom was
February of 2010 the seminars about the book       the first -- was the first one.
were going around the country and they came to
Cambridge, Mass. They advertise it as Boston,
but it was actually located in Cambridge. And                Oh, yeah, yeah.
that was David Ball which is a jury consultant
and Don Keenan were doing two days of                        And at that time he was --
presentation so I went and it was lawyers from
all over the country there, two others lawyers
from Massachusetts, and on day two -- so back
then David Ball did the morning and then there               Simply that he had this professional
was a lunch break and then Don Keenan presented    trial lawyers college idea floating in his head.
in the afternoon and then on day two they did
the same thing.                                              Yeah. We -- he asked me if I would
         So on day two it was almost lunch         participate in it and he would only do this if I
break and Mr. Keenan was standing in the doorway   would help and I often asked him why me and he
and I was in the last row so I turned around and   said it had to do with the passion and my work
I went over to him and I said, Mr. Keenan, can I   ethic and coming from Massachusetts which he
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unless Mr. Keenan is going to go to trial and     different rules and stuff. So then after that
the appearance is necessary or the pro hac is     it was probably 12 cases but only five or six
necessary.                                        are what I call cleaned up, meaning resolved on
                                                  the short.


         Oh, yeah.                                         On the short.


                                                           The dollar value -- the dollar value
                                                  of the cases that the Keenan Law Firm usually
                                                  takes in is seven-figure, plus, you know, seven,
         Exactly.                                 eight-figure cases and these weren't in that
                                                  realm. So I did what I can to move those out
                                                  and then focus on the ones that should stay.
         You got it.
                                                           Yeah.


         Well, I have my own practice still.               Yes.


         And I'm a partner in the Keenan Law
Firm. I'm not an employee of the Keenan Law
Firm.


         Yeah.




         I think it was September of 2020.




                                                           No, so the dean of the Keenan Trial
         Not as a partner but on cases in         Institute and now a partner on those out-of-
which I'm assigned or work on for those out-of-   state cases.
state lawyers.


         Not the time. It's all on
percentage.                                                Not entirely. I was transitioning.
                                                  COVID kind of hindered my nursing home part of
                                                  my practice. The governor had put immunity in
         No, a standard percentage.               place and the nursing home industry got hit hard
                                                  with COVID and so it was uncertain as to whether
         I think I have 30 percent of the         that line of work was going to survive COVID and
Keenan Law Firm fee.                              I made a decision that it was not in my best
                                                  interest to -- after 27 years or whatever doing
                                                  nursing home cases, a lot of nursing home cases,
         Well, COVID was around so, you know,     that it would be worthwhile.
I inherited cases from somebody else who left              So I was starting to make the
and so I had to -- it took me over a year to      transition and that transition was two-fold. I
get familiar with those cases and those           would maintain my own practice but only carry
jurisdictions because each jurisdiction has       about three cases at a time, three eight-figure
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Mr. Keenan's seminars when Mr. Keenan came here    highest of its kind in all of New England by the
to Massachusetts. As a favor to -- I was on the    way, and all of a sudden he had an ego and it
board of MATA, Mass. Academy of Trial Attorneys,   went to his head. So 2014 was fine. 2015
for a long time and I was also on the board with   started the -- it started to become difficult.
Freddie Halstrom. Freddie is well-known to the
plaintiff's bars, I guess, both bars, plaintiffs
and defense bars, in Massachusetts and Mr.                   Yeah, summer, like, July and -- July
Sobczak was working for Freddie.                   or August.
          So as a favor to me and Mike Rezendes
was a lawyer out of Braintree and Quincy -- he
has passed away from esophageal cancer, but we
were both on the board together. We had asked
Mr. Keenan and Mr. Ball if they would come and
do seminars to the Massachusetts -- Mass.                    I thought he was admitted to both
Academy of Trial Attorneys attorneys and they      Illinois and Massachusetts and he was only three
did. They agreed to do that.                       years admitted to bar.
          They came up. They did depositions.
They did voir dire because voir dire became new
in Massachusetts and a couple other ones and                 No.
Mr. Sobczak attended and we kind of took a
liking to him and then he quit Freddie and then              Whatever time he did have it was with
he called me for, you know, do I need help, and    Freddie Halstrom's office.
we met a couple times and talked in January of
2014 and so in February, beginning of February,




of 2014 he came over to me. He left Freddie.
He came over to me as an "of counsel" role by                Correct.
his choice because he wanted to maintain his own
practice out of Newton. He was only three years
admitted.
                                                             I can't put specific time frames on
          Yeah, yeah, the beginning of 2014,       it, but it started to become repetitive.
and I had a need. I needed -- at that point I
was very busy and I needed someone to -- I                   Yeah, it started to become
wanted someone I could mentor. Mr. Keenan was      repetitive. Then it got really worse in 2016.
mentoring me. I wanted someone I could mentor
and I can teach to try cases and I thought that
that would be somebody.                                      Oh, God, he was reprimanded by a
                                                   discovery master. That could have been '15 or
          The first year it was fine. 2014, he     '16. I'm just going to try to put them all
was fine. He was a gentleman. Everything was       together for you a little bit.
yes, sir, yes, sir, followed direction, followed             He was reprimanded by a discovery
advice. I gave him a couple cases to try on his    master for his deposition techniques and
own with some office help. He lost them and        questioning. There was a time when he made the
that's when I started to hear some complaints      defending female attorney leave a deposition
from clients and defense counsel and judges        room and cry to the parking lot in which I had
about his behavior.                                to go to her rescue and I got yelled at by her
          But that 2014 year we had a              senior partner at Morrison Mahoney. I had to
substantial verdict in Middlesex County, the       remove him from that process and take over the
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interrogatories, very reluctant to have her        triggered it. She had a bunch of different
deposition taken. That was a lot of hand           triggers. So she would often call me mostly --
holding, a lot of hours with her, a lot of         she wasn't big on a lot of e-mail stuff,
visits with her to get her just enough to do       one-sentence, two-sentence stuff, but not, you
that, those things, but later on she -- I was      know, getting her emotions out that way.
adamant that you need to get help and nobody
would see her because she was on Medicaid at one             So she'd always ask if I was around,
time and no one who saw her -- M.D.s, I'm          Saturdays, Sundays, holidays, night times,
talking, doctors, wouldn't see her because she     mornings, afternoons, and if I could make the
had the stigma of a lawsuit hanging over her       time, I'd make the time. It's probably
head.                                              estimated that I've lost over a year's time from
          I found somebody for her in              my family and friends dedicated to her, but that
Lexington, a doctor that she could see, and she    was her comfort zone, my office -- and she
saw that doctor -- she needed to see the doctor    testified to this in the trial -- my office was
at least every week or every other week but she    her comfort zone. My staff treated her nicely
was missing those appointments all the time.       and well. They knew not to talk about the rape.
She didn't want to go through the process. I       Sometimes she'd bring coffee. Sometimes we'd
don't blame her. So I found her somebody that      walk over and go get coffee, whatever made her
she did have some visits with.                     comfortable.




          Yeah. She started to distrust -- how               No. This one was -- this one was a
do you put this? I don't know if it was            hard case to move through the system and the




distrust. I guess that's not the right word.       court wasn't very helpful in this process, and
She started to -- started to dislike Todd. She     I mean, if you look at the transcripts, this
started to have a conflict with her mother. She    case was defended by four tall-building,
started to have a conflict with her sister. She    mahogany-and-brass law firms. You had Jones Day
started to have a conflict with some of her        sitting in here. You had Sloane & Walsh whose
friends. I don't know if they were distrust        office was right next door to the courthouse.
issues but some kind of conflict was occurring     You had Litchfield Cavo and you had Boyle
in all these facets and she would come to me for   Shaughnessy. So the bullets were coming at us
comfort. I guess that's the best way to            from every damn direction.
describe it.


                                                             Oh, yeah. My wife had never met Kira
          As I trusted her and I trusted the       but my daughters have.
court.




          Oh, yeah.




                                                             Well, I knew of it. So, if somebody
                                                   came up behind her -- let me break it down. I
          Yes. She would have anxiety days,        knew not to hug her unless she asked for a hug
especially when it got closer to -- if something   or initiated the hug; same with shaking her
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         June 11th?                              March of -- did I say '20? I'm sorry, '15 --
                                                 his pro hac and then it's my understanding that
         At 10:56 a.m.?                          either his lawyer in Atlanta or his insurance
                                                 company requires him to have a fee agreement
                                                 with the client before he tries a case. I also
         Yes.                                    believe that's his custom and practice.




         Yes.
                                                          It superseded all prior agreements.


         Yes.                                             I don't recall. I'm sure I did.
                                                 There was lengthy discussions on all -- on
         Yes.                                    everything.




                                                          Because that's correct. The
                                                 underlining fee in the first fee agreement is
         Oh, I got it, okay.                     33.3 percent of the underlining recovery. Mr.
                                                 Keenan's is 33 percent on the underlining
         Mm-hmm.                                 recovery. There was no vision or thought that
                                                 the case would ever go to an appeal and it's a




                                                 separate paragraph.
         Mm-hmm, yes.


                                                          Which one, exhibit --




         Yes.




         That's the one up above, yes.




                                                          That's correct.


                                                          I did not draft this.
         Correct.
                                                          Not specifically. What I do know
                                                 is that Mr. Keenan needed a Massachusetts
         It's my understanding that Mr. Keenan   contingency fee agreement and I believe he had
met with Kira Wahlstrom in February and she      somebody from his office contact our office for
agreed for him to come on board to be part of    a sample Massachusetts contingency fee agreement
the trial team. His pro hac was allowed in       which in all likelihood we provided to him and
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                                                               I believe that's correct.
            For that, that's correct.


            For -- to me, to the law office.
                                                               No.


            That's correct.


                                                               Yeah, shortly -- not too long after
            I personally did not, but she was       that. The case was tried in August. The case
aware that Mr. Keenan and I were going to share     was mediated in July.
in a fee.


                                                               It was either right after the
            No, because I don't have to.            mediation or right around the last offer at
                                                    trial which Kira rejected and the position that
                                                    we might lose the case.
            No, not at that time. I do later.


            December -- I think December, 2019.                That was July.


            The money came in -- the money was




about to come in, I think, or maybe just came
in.                                                            Yes.


            Did it come in November, okay, so
then November it came in.
                                                               Yeah, some -- I mean, you're crossing
                                                    over to the bad-faith case. We have to be
                                                    careful.
            And the sticker shock of the expenses
and the way the money would be distributed and
how is she doing health-wise and what's the next
plan and where else does she need help, yeah,                  Zurich and One Beacon were both
everything. It was December -- around               present.
December 19th of 2020 and then she came back in
March. Oh, we had to pay off her personal loan.
We had to get that paid off.


            Yes.
                                                               Yeah, give me a second here. I think
                                                    a couple brackets were exchanged. I do remember
            Okay.                                   what the last number was.




                                                               Yup.
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                                                            I do believe it's somewhere in
                                                   writing and it's probably down in Atlanta and
                                                   I haven't been there since pre-COVID and Mr.
                                                   Keenan hasn't been to the Atlanta office in
         That's -- I think you're right            probably three years, plus, and Mr. Gould no
because then the weekend -- we had the weekend     longer works there. He and his wife had a
to talk to her about it. We had the weekend        couple children and I'm not sure what he's doing
with the media and we had -- Kira on the media,    right now.
I mean, and we had the weekend to assess. I
think you're right.


                                                            No.


         Yeah, I think you're right.                        Well, the building is still there.
                                                   The office address is still there. There's two
         That weekend.                             individuals that work in there for the Keenan
                                                   Kids Foundation. They're -- I don't even know
                                                   if they have a title but they're not lawyers.
                                                   The executive director is no longer there. It's
                                                   a historic building so it kind of has to stay
         Yes. David, you got us this far so        its image or it's, you know, you can't do much
you should get the fee.                            to it.




                                                            Right, right, right.
         Right. Our value -- I mean, bridge
debt, I don't want to cross over into the
bad-faith world, but our assessment was possibly
could be less than that.
                                                            We didn't have any discussions about
                                                   renegotiating because -- just because the
                                                   verdict came in doesn't mean we were going to
         That was the biggest part and having      get to keep it. We were certain that the
that conversation with Kira was very hard          defense was going to appeal because that was
because she had just testified, but also at that   their chatter except Larry Kenney went on TV and
point she had just testified. So now she wanted    said they don't have any -- that they disagree
a jury to believe her.                             with the jury's verdict but will respect it and
                                                   do not anticipate an appeal, but we felt that
                                                   they were going to appeal for certain.
         That's a good question. I believe so               So, no, it did not become a further
because Andrew Gould was there and I actually      discussion and, quite frankly, Mr. Keenan is the
think Sobczak was there at the same time but I     reason that the verdict was as high as it was.
can't be certain of that because he tended to go   Larry Kenney said it was one of the best closing
home for a day on the weekend and be with his      arguments he's ever seen.
wife and kids, but Mr. Gould was there and I can
remember Mr. Keenan telling Mr. Gould get Hoey
confirmation.                                               Very effective and the silent
                                                   witness, if you read the transcript, which was
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all those books that she read and reread, very     to the right, and he balled his eyes out and
powerful.                                          Kira started to cry. Then she went to the
                                                   ladies' room with one of the females, I think,
                                                   from my office, and both of them -- both of them
                                                   had to regain their composure before we could go
                                                   back and finish the examination.
                                                            I think it was very telling about how
         I didn't, you know. I was ready to        much Mr. Keenan cared for her and how passionate
move on. It was a long haul. It was a long         he was about this. I mean, other than seeing my
battle, multiple, multiple, people involved. I     father cry at his father's funeral, I've never
was ready to move on. This case -- and you'll      seen a grown man cry. That's an image I can't
see it in the e-mail discovery -- was never        erase.
about the money for me. It was about winning
and it was about protecting Kira and she knew it
and -- I don't know. You want me to think back,
yeah, I probably should have went back and got
more money, but it was over, I thought.


                                                            Yes. But there's other facets to it.
                                                   You just can't win the case with her alone. You
                                                   had to have -- we had before and after
         We interviewed a lot of jurors. I         witnesses, people --
think, yeah, Kira went through a lot of prep.
We role-played this at Suffolk Law School




courtroom. I played the judge. Sobczak played
Larry Kenney. Attorney Wendy Beth Kahn played
Bethany Minick. Mr. Keenan did his direct exam.
Kira sat in the witness box and we had some law
students kicking around, used them in the jury              I've never given her discredit for
box, so that she can have the most closest         anything. I've always given her credit. She's
real-life experience to what it would be like to   very strong, she's very smart, and we knew this
testify, and once she got emotional Mr. Keenan     was going to be very hard for her and that's why
shut it down.                                      we prepared her extensively, including putting
         Her testimony at trial was because of     the animation together which was a major part of
the witness prep that he did with her in the       her preparing for her testimony and a way for us
hotel room and in the role-playing that we did     to, at least, make an effort that she wouldn't
for Kira. It was -- it got so emotional and it     have to testify and we made that effort and it
was so quiet in there you could hear a pin drop    educated the judge who was doubtful of her story
and Judge Wilson wasn't very kind. We still        and educated the defense who was doubtful of her
don't believe he believed Kira.                    story.
         So Mr. Keenan asked if we could take               Up until that animation was made and
a break and the judge was reluctant to give the    presented to them they were still calling it an
break but finally conceded and gave the break.     alleged sexual assault. They wouldn't even put
And, of course, Kira and Don leave first -- the    the word rape in their description.
jury leaves first, Kira and Don leave second,
and then everybody else flows right behind them,
and Mr. Keenan and Kira went around the corner,
over by where judge's chambers are up in Suffolk            No.
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                                                   accurate. You can't have anything that's not
                                                   accurate when you're doing animation so --
          I don't know but we had to protect
her. We had to do what's in the best interest
of Kira and there was many, many, many decisions             I believe we did because we needed to
that had to be made within the best interests of   have it 100 percent accurate and she had to sign
Kira. She did not want to be part of the           off on it. I know she said in her deposition
day-to-day operations of the case because it       that she doesn't recall doing that. There's a
upset her, so we had to, at least, try.            lot of things that she intentionally put out of
                                                   her mind because it's, you know, it triggers
                                                   stuff. It brings stuff back that she doesn't
          I'd have to go back to the               really want to do it.
memorandum.                                                  And if I can remember correctly, she
                                                   started to watch it and didn't want to finish it
          Oh, yeah.                                and I think I went back to Mr. Keenan and said
                                                   she doesn't want to finish watching it. He said
                                                   you know what, it's okay, we'll deal with it in
          Yes, and it was an oral -- oral          the witness prep.
argument. The judge took it into chambers,
reviewed it, came out -- came back, had oral
argument on it, and then part of it was would be             This -- it was either I or Sobczak.
harmful to her, detrimental to her, and there      Let me think about that for a second. You know,
was other arguments about its admissibility. So    Bridget, I don't recall. For some reason I can
there's oral argument and there's, I believe, a    remember sitting on this side of a computer and




memorandum, a legal memorandum, on its             she watching something on the computer.
admissibility or opposing their motion to keep
it out at the time.
                                                             Yeah, I think so, because the
                                                   work-in-progress version, you know, they were
                                                   building it with her. They were building it
          It's not the primary purpose. It had     with her and then they had the final product.
multiple purposes. So, if it wasn't going to be
used in stay of Kira's testimony, it prepared
her -- this was the first time she was getting               Right.
the details out of the case, I mean, the
nitty-gritty details, having her car keys in her             And it helped in the witness prep
hand, trying to trigger her car alarm and the      because we had the animation and if she forgot
trunk popped open and the alarm never went off     something we knew it was missing because we had
and, you know, dragged by her hair 40 feet, and    it already done in the animation.
this is the only way to educate the court,
educate Kira and for us to preserve for her
witness prep the nitty-gritty details of what                Which ones did I describe? An
happened.                                          attempt for her not to have to testify because
          Kira is the one that spent about five    she'd be more traumatized and hurt, to prepare
or more hours with Win Interactive putting this    her for her -- oh, yeah, to prepare her for her
together, just the two of them. We left them       live testimony if the animation was denied and
alone because we wanted no influence on what       to educate the judge. That was a big piece.
this animation -- it has to be a hundred percent
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           No, no, not at all, sexual assault
versus rape.                                               We have to.


           Now, he's supposed to be impartial,
but we can tell by his body language and rulings
and what have you that he wasn't a hundred
percent on board with her situation.




           Oh, yeah.




           I felt that it was going to do its
job for educating the judge and helping us
prepare Kira for witness prep. I felt that it
was hard to watch. I felt that it was -- I
learned things from it. I learned how many
times she was hit. I didn't know that prior to             I used my own money and Advocate
going through that process. I had a better         Capital money, a combination.
understanding of where the condom ended up. So
I learned things from it.


                                                           That I -- I'm sorry.




           Based upon what I saw, yeah, it was             No, I don't know.
like CSI. But we would have focus-grouped it.
We would have put it before a focus group at
night or an opening day or opening afternoon and
got a focus group's opinion on it.


                                                           Yes.
           An opening day like a Saturday or
Sunday or afternoon where you have two hours to
do that.
                                                           Correct.




           Absolutely.                                     I have.


           Absolutely.




                                                           Not to me personally, office.
           I don't know as we didn't go down
that road.
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           That's correct.                                  I do.




           No.




           I have not.




                                                            Sure.


           I see that it's a letter, dated                  Sort of, 2013.
July 3rd, 2012, to me, but, other than seeing it
right now, I don't have any independent
recollection of it.                                         That's mine.


                                                            Correct.
           Yes.




                                                            Yes.


           The parking garage was adjacent to               Yes.
and connected to the Radisson Hotel. That's
correct.
                                                            Not necessarily familiar with it, but
                                                   I would -- it looks like Mr. Keenan's.
           2012, I think so, as, like, what we
discussed before, consultant-type relationship.             Yes. It's usually a scribble.




                                                            Yes.
           We had a proposed one that never came
to fruition.


           It was co-counsel or consult                     Yes.
agreement.




                                                            Correct.
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           When we argued the motion for new               That's one her options.
trial, against the motion for new trial, we did
not have -- only Patty and I sat at counsel
table. We did not have Sobczak sit at counsel              That's correct.
table. We had him sit in the back and we made
sure Wilson knew it. We were pulling Sobczak
away from the Wilson conflict.


                                                           Oh, yeah, yeah. He took the verdict
           Oh, yeah.                              away and then the issue has to be whether we
                                                  could appeal and then you have to start with the
                                                  interlocutory. If you're successful, then you
           For -- yeah. They even went out and    go to the panel. If you're not successful, you
got drunk together the night of the verdict.      have to retry the case.




                                                           Yes.
           Yeah.




                                                           I'm not sure, back then, 2015, '16,
                                                  probably.




           Yeah.                                           Just her and I, no. There was one
                                                  with Mr. Keenan, Mr. Sobczak, myself, Mr. Gould
                                                  where Mr. Sobczak recorded it. It went to
                                                  SpeakWrite. It got transcribed and everybody
           Sure.                                  got a copy of it.


           That's right.
                                                           Yeah.
           I was worried about her stability,
you know, because this is a big thing. This is             It was, like, the early planning
a big thing. Somebody had to be in contact with   stage or the early meeting.
her every single day. I think I was getting
ready to try my next case. May, '16, I think
right around that time I was getting ready.                Yeah, they -- we all knew right away
                                                  but I needed confirmation of it that Wilson made
           Yes.                                   an error, that he applied the wrong standard.
                                                  So now we had to go out and confirm that that
                                                  was the case and Patty believed it and it ended
                                                  up being confirmed by Judge Cordy. So that was
                                                  going to be the issue from day one.
           That's correct. That was one of her
options.


                                                           Did more than that.
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                                                  I felt and Patty believed that he was doing this
                                                  because he feels that he was wrongfully
                                                  discharged by Kira. We also felt that he was
                                                  doing this because he already lost his pursuit
                                                  against me where he was seeking a piece of the
                                                  Wahlstrom fee from me in Middlesex. He lost.
                                                  He appealed it. He lost. His appeal was found
         Yes.                                     frivolous. He had to pay me 15,500 -- 15,750
                                                  bucks, something like that. He then refused to
                                                  pay it. I had to file a complaint for contempt
         I talked with Judge Cordy after that     of court. He eventually paid it and then was
on all sorts of things. He lived in North         found to owe me another $3200 for a complaint
Reading. I'm sure I -- I'm sure we specifically   for contempt.
talked about it.                                           He then filed the exact same lawsuit
                                                  in Suffolk County, again seeking a piece of the
                                                  Wahlstrom fee from me. He lost. He appealed
                                                  it. He lost. Then he filed a Notice of an
                                                  Attorney's Lien against Kira Wahlstrom. It was
                                                  a slap in her face. He's an officer of the
                                                  court. He had no right to do it. It was two
         It is.                                   years after he was terminated. That's contrary
                                                  to the law. Choice words were said by Kira and
         That's what it's dated.                  Patty.




         Right, right, right.




                                                           The certificate of service went to
         No.                                      Patty. So Patty and I discussed that, yes, we
                                                  felt that it had to be addressed and that it
                                                  shouldn't be addressed by me or her.


                                                           That she shouldn't be -- that Patty
                                                  shouldn't be the one where she was the lawyer on
         That's correct.                          the appeal and I shouldn't be the one because
                                                  I'm the lawyer on the underlining case and this
                                                  is a direct hit against Kira and we felt it
         Correct.                                 would be better in Kira's best interest if
                                                  neither Patty or I represented Kira in defending
                                                  the attorney's lien against Mr. Sobczak. We
                                                  believed from the get-go that this was done in
         I was appalled. I called Patty.          bad faith.




                                                           No, because I was already done. All
         I felt it was a slap in Kira's face.     his avenues against me were over, complete, in
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         Not like that. We have it in             Sobczak was going to go.
specific -- I shouldn't say specific. We have
it in the general sense. Hey, Kira, I got to                  Yes. Attorney-client privileged
pay -- I forget the name of the doctor in         information, he was going to -- we were in fear
California -- 10,000 per kid. Hey, Kira, we got   that he was going to take attorney-client
deposition transcripts. Here's a copy of the      privileged information and disseminate it, and,
deposition I just took. Hey, we had to use        in fact, our fear came true because that's what
31,000 towards the defense of the lien, that      he did.
kind of acknowledgment and notice.




         Right, right, right.


                                                              That's right. Let me elaborate a
                                                  little bit more. The notice of lien, although
                                                  it was not a proven lien, we felt, was going to
                                                  affect Zurich in a defense.




                                                              The excess -- the excess carrier.


         Yes.
                                                              That one is that when the day comes




                                                  to release the money, they weren't going to
                                                  release the money if they knew there was a lien
                                                  in the case. That was one fear. Another fear
                                                  is we don't need them to know what's going on in
         That's correct, for Kira Wahlstrom's     our tent.
benefit, behalf, by the way.


                                                              Yes.
         Yes.




                                                              No, but all the client references are
         Probably. I would envision that I        redacted. All the attorney-client privileged
probably would do that.                           information is redacted. So the public record
                                                  has multiple, multiple redactions in it. Oh,
                                                  and the Suffolk case is impounded. I'm sorry.
                                                  Lawsuit No. 1 up in Middlesex is a redacted
         Yeah.                                    file. Any attorney-client privileged
                                                  information, any client names, that's all
                                                  redacted, business transactions, work product,
         Anything with Kira's name on it.         all that kind of thing, all redacted in
                                                  Middlesex file.
                                                              The Suffolk file was impounded and
         The basis was where we believed          he lost the appeal and he didn't appeal the
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                                                     CERTIFICATE
***CONFIDENTIAL PORTION OF PROCEEDINGS***
                                                  DAVID J. HOEY




                                                        DAVID J. HOEY




                                                     CERTIFICATE
***CONFIDENTIAL PORTION OF PROCEEDINGS***




                                                    DAVID J. HOEY
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